       Case 4:24-cv-00012-WMR              Document 1-1      Filed 01/10/24       Page 1 of 141
                                                                                            EFILED IN OFFICE

1                                                                                       CLERK OF SUPERIOR COURT
                                                                                        BARTOW.COUNTY, GEORGIA-
                                                                                      SUCV2023001640
                       IN THE SUPERIOR COURT OF BARTOW COUNTY
                                   STATE OF GEORGIA                                     DEC 13, 2023 02:10 PM

                                                                                        C.A
                                                                                          ( LelteI      140
                                                                                                  melba
                                                                                                  Bartow. IGeorgia
                                                                                                             erk
     JAMES JOHN DUNCAN,JR.
                              Plaintiff,
     VS.                                                  Civil Action File No:
     BARTOW COUNTY,a political subdivision
     ofthe State of Georgia;
     CLARK MILLSAP,in his individual capacity
     and in his official capacity as Sheriff of
     Bartow County, Georgia;
     CORRECTHEALTH BARTOW,LLC;
     MADISON BANKSTON;
     CHARLOTTE HALL;
     TONYA JOSEPH;
     CHRISTINA CATRON;
     REBECCA HAMILTON;
     SHEILA WILLIAMS;
     PATRICIA LEE;
     KELLY KURTZ;
     PHILLIP NOWLIN;
     FLESHA MYRICKS;
     JENNIFER PULIDO;
     CHANTAL DESSOURCES;
     CALLIE EVANS; AND
     FIRST NAME UNKNOWN SHIRLEY
                           Defendants.


              COMPLAINT FOR DAMAGES AND DEMAND FOR ..RJRY TRIAL
           COMES NOW,Plaintiff James John Duncan,Jr.(hereinafter "Plaintiff' or "Mr. Duncan")

    and files this Complaint for Damages and Demand for Jury Trial against the named Defendants,

    and shows the Court as follows:
   Case 4:24-cv-00012-WMR            Document 1-1        Filed 01/10/24      Page 2 of 141




                                            FACTS

                                                 1.
          On August 15, 2022, Mr. Duncan went through the intake process at Bartow County Jail,

located at 104 Zena Dr,Cartersville, GA 30121 ("the Jail"). Defendants checked his vitals, finding

that his initial blood pressure was 168/100 and an immediate recheck revealed a blood pressure

reading of 162/98.

                                                2.

       On August 18, 2022, Mr. Duncan submitted a written medical request to Defendants

requesting blood pressure medication for his hypertension.

                                                3.

       On September 1,2022, Mr.Duncan reported to the Jail infirmary complaining ofchest pain

and shortness of breath for the past two days. His vitals were taken but no further medical

treatment was provided by Defendants.

                                                4.

       Later the same day on September 1,2022, Mr. Duncan submitted a written medical request

again informing Defendants he was experiencing chest pains and shortness of breath. No further

medical evaluation or treatment was provided to him by anyone. Instead, Bartow County Jail

Nurse Defendant Bankston responded to him through the written messaging system with the

following: "Seen in medical today. I have you scheduled to follow up with our medical provider

next week. Please continue taking medications as prescribed and notify staff if symptoms begin

again."




                                                2
    Case 4:24-cv-00012-WMR           Document 1-1        Filed 01/10/24     Page 3 of 141




                                                5.

        Chest pain and shortness of breath are two cardinal signs of angina. Patients exhibiting

these symptoms, like Mr. Duncan was, should be promptly referred to a cardiologist for further

cardiac evaluation. Mr. Duncan was not referred to a cardiologist.

                                                6.

        Mr. Duncan's symptoms continued and so on September 8,2022,he again told Defendants

of his symptoms. He spoke with Defendant NP Charlotte Hall while at the medcart, telling her

that he was experiencing chest pain that worsened with breathing. Nurse Hall documented this

complaint in his file but no evaluation or treatment was provided.

                                                7.

        On September 23, 2022 Mr. Duncan again submitted a written medical request for

treatment since he still had not received any treatment addressing his symptoms. He informed

Defendants that he was experiencing chest pain and numbness in his left arm, that he could not

feel his hand, and that the pain awoke him from sleep. He further raised that though he was told

by Defendants that it was not a heart problem,he was still concerned that something was happening

that was preventable. Rather than provide any medical treatment or evaluation, Defendants

responded through Nurse Joseph who wrote the following to him in the Jail's messaging system:

"you are on pain med and you have a chronic care clinic visit scheduled to see the doctor."

                                                 8.

        On September 29, 2022, Mr. Duncan again submitted a written medical grievance to

Defendants informing the Bartow County Jail staffand medical team that he had been having chest

pains and that he did not know why the problem was not being addressed. Having been made by




                                                3
   Case 4:24-cv-00012-WMR             Document 1-1        Filed 01/10/24       Page 4 of 141




Defendants to feel that he was annoying them with his medical issues, Mr.Duncan even apologized

"for any inconvenience."

                                                  9.

          Rather than provide appropriate medical treatment, Defendants instead decided that a

written response was sufficient.     Nurse Joseph callously stated the following through the

messaging system: "you have labs ordered and you have a chronic care visit scheduled with the

doctor. Explain the chest pains in more detail. What is it you are wanting? If you feel it is a heart

attack, then tell the tower. Do you need to be in medical? You have been caught hoarding meds.

You are in your 40's and on a few meds, do not be laying down after eating. Get some activity in.

Let the tower know if you arejust hurting so ba[d]that you cannot wait until the scheduled doctor's

visit."

                                                  10.

          Faced with still worsening symptoms, Mr. Duncan submitted yet another written request

for treatment again on October 5, 2022. Mr. Duncan again informed them of his symptoms and

suggested that perhaps his blood pressure medication might need to be changed. Still no treatment

was provided. Instead, Nurse Shirley responded through the system that "you only take it 42% of

the time. I will place you on BP checks for a couple of days." LPN Christina Catron noted in his

medical records that he had an elevated blood pressure reading at his vital sign checks but that no

new orders were entered at the time, and that med compliance was 37%.

                                                  11.

          In addition to the other reported symptoms, Mr. Duncan also began experiencing blurry

vision, burning eyes, and busted blood vessels in his eyes. He reported these symptoms in writing

Defendants on October 7,2022. He was provided with antibiotic eye drops and no other treatment.
   Case 4:24-cv-00012-WMR           Document 1-1       Filed 01/10/24      Page 5 of 141




                                                12.

       On October 17, 2022, Mr. Duncan submitted a written medical request informing

Defendants that he believed his blood pressure medication was causing severe chest pains because

the severity of his pain increased when he took the medication. He requested a change in his

medications because of this and asked when his provider appointment was to take place. Nurse

Bankston responded on the same day in writing with "I've got you down for more vital sign checks

this week,scheduled to see the medical provider and you have a chronic care appointment coming

up as well."

                                                13.

       Mr. Duncan returned again to medical October 18,2022 at 11:34 with a chief complaint of

chest pain. LPN Rebecca Hamilton took his vitals and notified the provider, who ordered an EKG.

Mr. Duncan was sent back to his dorm.

                                                14.

       Mr. Duncan returned to medical again at about at 12:28 still complaining of his symptoms.

His reported that his chest pain had improved some so he was sent back to his dorm.

                                                15.

       Mr. Duncan returned to medical again around 22:00 on October 18, 2022. His chief

complaint again was chest pain. LPN Christina Catron took his vitals and performed an EKG.

She called the EKG the results into the on-call physician, Defendant Phillip Nowlin, MD, who

informed her that he should go to the ER for evaluation. Mr. Duncan went back to his dorm.

                                                16.

       On October 19, 2022 at 21:39, Mr. Duncan reported back to medical, again with a chief

complaint of chest pain. Medical staff refused to assist him and instead told him to take his



                                               5
   Case 4:24-cv-00012-WMR             Document 1-1        Filed 01/10/24      Page 6 of 141




medication. He again reported that his medication made his chest pain worse. Mr. Duncan

requested-to go to the hospital. Defendants refused to provide any treatment and took no action;

they sent him back to his dorm.

                                                  17.

       Left with no other option, Mr. Duncan called his girlfriend of 20 years who was outside

the Jail and asked her to call 911 to get him an ambulance. She did and 911 dispatch called the Jail

around 21:45 to provide help. Instead, Jail staff told the dispatcher that Mr. Duncan was "fine"

and did not need an ambulance. As a result of Defendants' instruction, no ambulance came.

                                                  18.

       It was only after additional,further pleas by Mr.Duncan that Defendants finally transported

him to Piedmont Cartersville Hospital that night. Mr. Duncan arrived at approximately 22:25 and

it was quickly determined by emergency room staff that he was having a heart attack with 100%

blockage in his left anterior descending artery. Emergency surgery was performed to place stents

and during this surgery it was further determined that there was also blockage of his right coronary

artery. A subsequent surgery was scheduled for a few days later to treat the second blockage.

Unfortunately, Mr. Duncan experienced a second heart attack the following day, which resulted in

an acceleration of the second surgery. His right coronary artery was treated by stent placement.

Further evaluation revealed ischemic cardiomyopathy and an ejection fraction of20-34%.

                                                  19.

       On October 21, 2022, Mr. Duncan was discharged from the hospital. The hospital

informed Defendants that he required a Life Vest but Defendants never obtained one for him.




                                                 6
   Case 4:24-cv-00012-WMR               Document 1-1     Filed 01/10/24      Page 7 of 141




                                                 20.

       On November 12,2022, Mr.Duncan was transported again from the fail to the rmergency

Department at Piedmont Cartersville Hospital to be evaluated for possible heart failure after

experiencing episodes of syncope. He was discharged on November 15, 2022. His Ejection

Fraction was 30-35%.

                                                 21.

   The following is what Defendants should have done, which they failed to do:

   A. Diagnose Mr. Duncan as having an evolving cardiac problem and being in cardiac distress;

   B. Properly evaluate Mr. Duncan's changing condition;

   C. Properly assess and evaluate Mr. Duncan as having a heart attack and/or being at increased

       risk of having a heart attack;

   D. Promptly report signs and symptoms ofan emerging cardiac condition to a cardiologist;

   E. Promptly, but no later than September 1, 2022 when Mr. Duncan reported experiencing

       chest pain and shortness ofbreath,refer him to a cardiologist for cardiac workup to properly

       evaluate his emerging cardiac condition; and

   F. Immediately procure a Life Vest for Mr. Duncan upon his return to Bartow County Jail

       from Cartersville Medical Center.

                                                 22.

       Defendants' failure to adhere to the standard of care as outlined above in paragraph 21

resulted in significant injuries and pain and suffering to Mr. Duncan. Had they adhered to the

standard- of care as outlined above, Mr. Duncan would not have experienced his heart attacks and

would not have sustained severe heart damage. As a direct result of Defendants' actions and

omissions, Mr. Duncan now has significant physical limitations due to his heart damage, he



                                                7
   Case 4:24-cv-00012-WMR              Document 1-1        Filed 01/10/24    Page 8 of 141




requires lifelong medical therapy, and his lifespan and quality of life have been reduced. He is

now at a high risk for sudden cardiac death and a 50% risk of dying in the next five years as a

result of the acts and omissions ofDefendants.

                                                 23.

       All Defendants were aware that Mr. Duncan was experiencing symptoms of cardiac

distress and that he required swift medical intervention. And they were further aware that failing

to provide the necessary medical intervention in Mr. Duncan's situation would lead to heart attack,

heart damage, and reduced life span and quality of life.

                                                 24.

       Defendants' reckless failure to provide proper medical care despite knowing Mr. Duncan

was experiencing a potentially lethal cardiac event posed an unreasonable risk of serious injury to

his health and safety.

                                                 25.

       Defendants' actions and omissions led to the injuries ofMr.Duncan,his pain and suffering,

and lost wages and earning capacity.

                                                 26.

       The Defendants named in this lawsuit and discussed below are (1) Bartow County Jail

employees, staff and agents, including medical personnel, who were aware of Mr. Duncan's life-

threatening medical needs (namely, his cardiac condition), and (2) supervisors, policy-makers,

government bodies, and medical entities that created policies and procedures that caused a gross,

systemic lack of basic medical care for Bartow County Jail inmates, including Mr. Duncan.




                                                 8
   Case 4:24-cv-00012-WMR               Document 1-1        Filed 01/10/24       Page 9 of 141




                                                   27.

         In accordance with 0.C.G.A. §§ 36-11-1 and 50-21-26, the appropriate Defendants were

sent an Ante Litem Notice on July 21, 2023 via certified mail, return receipt requested (attached

hereto as Exhibit 1).

                                              PARTIES


   I.       Plaintiff James John Duncan,Jr.

                                                    28.


         Plaintiff James John Duncan, Jr. is a Georgia resident and subject to the jurisdiction of this

Court. He was at all times relevant to this Complaint in the custody and care of Defendants, the

majority of time being at the Bartow County Jail.


   II.      Defendants

             A. Bartow County

                                                    29.


         Defendant Bartow County is a political subdivision of the State of Georgia and subject to

the jurisdiction ofthis Court. Service may be perfected upon this Defendant through the Office of

the County Commissioner Steve Taylor,located at 135 W Cherokee Ave,Bartow County, Georgia

30120. Defendant Bartow County is subject to the jurisdiction of this Court and venue is proper.


                                                    30.


         It is the responsibility ofDefendant Bartow County to maintain its inmates and provide its

inmates with needed medical and hospital attention.


                                                    31.



                                                   9
  Case 4:24-cv-00012-WMR             Document 1-1        Filed 01/10/24      Page 10 of 141




       It is the responsibility of Defendant Bartow County to establish and implement adequate

policies andprocedures which enable the Jail to maintain its inmates and provide its inmates with

timely needed medical and hospital attention, particularly in the context of a potentially fatal

medical condition.


                                                  32.


       Defendant Bartow County was responsible for, and knowingly promulgated, enforced, and

allowed to persist, policies and procedures ofthe Jail that, among other things:


               a. Caused too few qualified employees, staff and agents, including medical

                  personnel, to be hired at the Jail;

               b. Caused the Jail to have inadequate space to enable it to provide adequate

                   medical care to its inmates;

               c. Caused the Jail to have inadequate resources to enable it to provide adequate

                   medical care to its inmates;

               d. Caused the Jail to have inadequate training and supervision of its employees,

                  staff and agents, including medical personnel, resulting in the inadequate

                  delivery of medical care.

                                                  33.


       Defendant Bartow County is also responsible for the training and supervision of Jail

employees, staff, and agents, including medical personnel.


                                                  34.


       Defendant Bartow County failed to adequately train or supervise its Jail employees, staff,

and agents, including medical personnel.

                                                  10
  Case 4:24-cv-00012-WMR             Document 1-1         Filed 01/10/24      Page 11 of 141




                                                  35.


       The Jail staff and employees, including medical physicians, nurses and staff rendering

services to Mr. Duncan were employees/agents of Defendant Bartow County and/or Bartow

County Sheriffs Office("BCSO")acting in the course and scope of their employment/agency.


                                                  36.


       At the times relevant to this Complaint, Defendant Bartow County knew that inmates at

the Jail were not receiving adequate medical care for serious medical needs such as emerging life-

threatening cardiac conditions and failed to take reasonable steps to address the problem.


                                                  37.


       At the times relevant to this Complaint,Defendant Bartow County knew that the Jail would

not be able to provide inmates with adequate medical care for serious and /or emergency medical

needs should the need arise, such as emerging life-threatening cardiac conditions, and failed to

take reasonable steps to address the problem.


                                                  38.


       Defendant Bartow County, through its employees and agents, also had actual knowledge

of Mr. Duncan's condition, specifically that he was experiencing chest pain with increasing

frequency and severity, shortness ofbreath, numbness in his arm,and other symptoms,and that he

was experiencing symptoms of a life-threatening cardiac condition that would lead to serious

injury such as heart attack, heart damage,and shortened lifespan and quality oflife ifleft untreated.

Despite having this knowledge and knowing the risk of failing to provide proper medical care,




                                                 11
  Case 4:24-cv-00012-WMR              Document 1-1       Filed 01/10/24    Page 12 of 141




such as cardiac intervention and treatment, Defendant Bartow County failed to respond reasonably

to address Mr. Duncan's needs.


                                                   39.


       Defendant Bartow County knowingly permitted the policy, custom, and practice of

understaffing to persist throughout the Jail.


                                                   40.


       Defendant Bartow County knowingly permitted the policy,custom,and practice ofdenying

inmates access to medical care at the Jail to persist.


                                                  41.


       Defendant Bartow County knowingly permitted to persist the policy, custom, and practice

of failing to respond to serious and/or emergency medical needs, such as emerging cardiac

conditions, in a timely and adequate manner.


                                                   42.


       Defendant Bartow County knew that its failure to train and supervise reflected deliberate

indifference to serious medical needs.


                                                   43.


       In addition to liability through its own actions, Defendant Bartow County is also liable

under the doctrine ofRespondeatSuperior for the acts and omissions ofits officials and employees,

as well as for the enforcement of its policies, practices, and customs that have violated Mr.

Duncan's rights.



                                                  12
   Case 4:24-cv-00012-WMR             Document 1-1        Filed 01/10/24       Page 13 of 141




                                                   44.


        Defendant Bartow County's actions exhibited deliberate indifference to the safety and

 well-being of Mr. Duncan and subjected him to the unnecessary and wanton infliction of pain,

 which constituted cruel and unusual punishment.


            B. Clark Millsap

                                                   45.


        At all times relevant to this Action, Clark Millsap was the Sheriff of Bartow County

("Defendant Millsap"). Defendant Millsap was responsible for the operations of the BCSO,

 including the Jail. Defendant Millsap was responsible for the day-to-day operations of the Jail,

 and in his official capacity as Sheriff, had custody, control, and charge of the jail and inmates. At

 all relevant times, Defendant Millsap acted under color of state law. Defendant Millsap is being

 sued for damages in both his individual and his official capacities.


                                                   46.


        Defendant Millsap is a resident and citizen ofthe State of Georgia, in Bartow County, and

 may be served with process at 104 Zena Drive, Cartersville, GA 30121. Defendant Millsap is

 subject to the jurisdiction of this Court and venue is proper.


                                                   47.


        The Jail staff and employees, including medical physicians, nurses and staff rendering

 services to Mr. Duncan were employees/agents of Defendant Millsap and/or BCSO, acting in the

 course and scope oftheir employment/agency.


                                                   48.


                                                  13
  Case 4:24-cv-00012-WMR             Document 1-1        Filed 01/10/24      Page 14 of 141




       As the SheriffofBartow County,Defendant Millsap was responsible for furnishing Bartow

County inmates with medical aid.


                                                  49.


       Defendant Millsap was responsible for, and knowingly promulgated, enforced, and

allowed to persist, policies and procedures ofthe Jail that, among other things:


       a. Caused too few qualified employees, staff and agents, including medical personnel, to

           be hired at the Jail;

       b. Caused the Jail to have inadequate space to enable it to provide adequate medical care

           to its inmates;

       c. Caused the Jail to have inadequate resources to enable it to provide adequate medical

           care to its inmates;

       d. Caused the Jail to have inadequate training and supervision of its employees, staff and

           agents, including medical personnel, resulting in the inadequate delivery of medical

           care.

                                                  50.


       Defendant Millsap was also responsible for the training and supervision of Jail employees,

staff, and agents, including medical personnel.


                                                  51.


       Defendant Millsap failed to adequately train or supervise Jail employees, staff, and agents,

including medical employees.




                                                  14
  Case 4:24-cv-00012-WMR            Document 1-1       Filed 01/10/24      Page 15 of 141




                                                52.


       At the times relevant to this Complaint, Defendant Millsap knew that inmates at the Jail

were not receiving adequate medical care for serious medical needs and failed to take reasonable

steps to address the problem.


                                                53.


       At the times relevant to this Complaint, Defendant Millsap knew that the Jail would not be

able to provide inmates with adequate medical care for serious medical needs should the need

arise, such as emerging cardiac conditions, and failed to take reasonable steps to address the

problem.


                                                54.


       Defendant Millsap, through his employees and agents, also had actual knowledge of Mr.

Duncan's condition, specifically that he was experiencing chest pain with increasing frequency

and severity, shortness of breath, numbness in his arm, and other symptoms, and that he was

experiencing symptoms of a life-threatening cardiac condition that would lead to serious injury

such as heart attack, heart damage, and shortened lifespan and quality of life if left untreated.

Despite having this knowledge and knowing the risk of failing to provide proper medical care,

such as cardiac intervention and treatment, Defendant Millsap failed to respond reasonably to

address Mr. Duncan's needs.


                                                55.


       Defendant Millsap knowingly permitted the policy, custom, and practice of understaffing

to persist throughout the Jail.



                                               15
  Case 4:24-cv-00012-WMR              Document 1-1        Filed 01/10/24     Page 16 of 141




                                                    56.


       Defendant Millsap knowingly permitted the policy, custom, and practice of denying

inmates access to medical care at the Jail to persist.


                                                  57.


       Defendant Millsap knowingly permitted to persist the policy, custom, and practice of

failing to respond to serious and/or emergency medical needs,such as emerging cardiac conditions,

in a timely and adequate manner.


                                                    58.


        A reasonable person in Defendant Millsap's position would know that his failure to provide

or cause to be provided medical care to Mr. Duncan,and his failure to train and supervise reflected

deliberate indifference to serious medical needs.


                                                    59.


       In addition to liability through his own actions and omissions,, Defendant Millsap is also

liable under the doctrine of Respondeat Superior for the acts and omissions of his officials and

employees,as well as for the enforcement ofhis policies, practices, and customs that have violated

Mr. Duncan's rights.


                                                    60.


       Defendant Millsap's actions exhibited deliberate indifference to the safety and well-being

of Mr. Duncan and subjected him to the unnecessary and wanton infliction of pain, which

constituted cruel and unusual punishment.




                                                  16
  Case 4:24-cv-00012-WMR              Document 1-1       Filed 01/10/24     Page 17 of 141




             C. CorrectHealth Bartow LLC

                                                  61.


          CorrectHealth Bartow LLC ("CorrectHealth") is a domestic limited liability company

formed under the laws ofthe State of Georgia. CorrectHealth's principal office is located at 1720

Windward Concourse, Ste 300, Alpharetta, GA 30005, and it may be served upon its registered

agent, CT Corporation System, 106 Colony Park Drive Ste 800-B, Cumming GA,30040-2794 in

Forsyth County. Defendant CorrectHealth is subject to the jurisdiction of this Court, and venue is

proper.


                                                  62.


          CorrectHealth, as authorized pursuant to a contract with the Bartow County, Sheriff

Millsap, and/or BCSO,administers medical care for Bartow County Jail inmates.


                                                  63.


          CorrectHealth contracted with Bartow County, Sheriff Millsap, and/or BCSO to provide

administrative services, medical treatment including nursing and physician care, medical records

management, pharmacy supply and services management, and other related services at the Jail.


                                                  64.


          At all times relevant to this Complaint, Defendant CorrectHealth was responsible for the

administration, supervision, and delivery of health and medical services to inmates such as Mr.

Duncan at the Jail.




                                                 17
  Case 4:24-cv-00012-WMR             Document 1-1        Filed 01/10/24       Page 18 of 141




                                                  65.


       The medical physicians, nurses and staff rendering services to Mr. Duncan at the Jail were

employees/agents of Defendant CorrectHealth acting in the course and scope of their

employment/agency.


                                                  66.


       Defendant CorrectHealth was responsible for, and knowingly promulgated, enforced, and

allowed to persist, policies and procedures of the Jail that, among other things:


       a. Caused too few qualified medical personnel to be hired at the Jail;

       b. Caused the Jail to have inadequate space to enable it to provide adequate medical care

           to its inmates;

       c. Caused the Jail to have inadequate resources to enable it to provide adequate medical

           care to is inmates;

       d. Caused the Jail to have inadequate training and supervision of its medical personnel,

           resulting in the inadequate delivery of medical care.

                                                  67.


       Defendant CorrectHealth was also responsible for the training and supervision of Jail

medical personnel. Defendant CorrectHealth, through its employees and agents knows that its

failure to train and supervise reflected deliberate indifference to serious medical needs.




                                                 18
   Case 4:24-cv-00012-WMR             Document 1-1        Filed 01/10/24       Page 19 of 141




                                                  68.


       In addition to direct liability, Defendant CorrectHealth is also liable under the doctrine of

Respondeat Superior for the acts and omissions of its officials, employees, and agents, which

occurred in the ordinary course of their employment/agency with Defendant CorrectHealth.


                                                  69.


       Defendant CorrectHealth, through its employees and agents, also had actual knowledge of

Mr. Duncan's condition, specifically that he was experiencing chest pain with increasing

frequency and severity, shortness ofbreath, numbness in his arm,and other symptoms, and that he

was experiencing symptoms of a life-threatening cardiac condition that would lead to serious

injury such as heart attack, heart damage,and shortened lifespan and quality oflife if left untreated.

Despite having this knowledge and knowing the risk of failing to provide proper medical care,

such as cardiac intervention and treatment, CorrectHealth failed to respond reasonably to address

Mr. Duncan's needs.


                                                   70.


       Defendant CorrectHealth's actions exhibited deliberate indifference to the safety and well-

being of Mr. Duncan and subjected him to the unnecessary and wanton infliction of severe pain,

which constituted cruel and unusual punishment.


           D. Phillip Nowlin

                                                   71.


       Defendant Philip Nowlin (hereinafter "Defendant Nowlin") is a licensed Medical Doctor

who, during the relevant time period, was an employee and/or agent of Bartow County, Sheriff



                                                 19
  Case 4:24-cv-00012-WMR            Document 1-1        Filed 01/10/24      Page 20 of 141




Clark Millsap, and/or Correcthealth Bartow, LLC and was acting in the course and scope of his

employement and/or agency of Defendants Bartow County, Sheriff Clark Millsap, BCSO,and/or

Correcthealth Bartow,LLC. Defendant Nowlin had a doctor-patient relationship with Mr.Duncan

and provided care and treatment to him during the relevant time period at Bartow County Jail.


                                                72.


       Defendant Nowlin is a resident Of Bartow County and is subject to the jurisdiction of this

Court. He may be served with process at Bartow County Sheriff's Office located at 104 Zena Dr,

Cartersville, GA 30121 or anywhere else he may be found.


                                                73.


       Defendant Nowlin is subject to the jurisdiction of this Court and venue is proper.


                                                74:


       At all times relevant hereto, Defendant Nowlin is a physician licensed to practice medicine

in Georgia.


                                                 75.


       At all relevant times, Defendant Nowlin acted under color of state law and pursuant to a

contract with the Jail. Defendant Nowlin was an employee and/or agent and/or ostensible agent of

Bartow County, Sheriff Clark Millsap, BCSO,and/or Correcthealth Bartow, LLC.


                                                76.


       At all relevant times, Defendant Nowlin acted under color of state law and pursuant to a

contract with the Jail. Defendant Nowlin is being sued for damages in both his individual capacity

and official capacities.

                                               20
  Case 4:24-cv-00012-WMR             Document 1-1        Filed 01/10/24      Page 21 of 141




                                                  77.


        At all times relevant to this Complaint, Defendant Nowlin was responsible for the

administration, supervision, and delivery of health and medical services at the Jail.

                                                 78.


       Defendant Nowlin was responsible for,and'Glowingly promulgated,enforced,and allowed

to persist, policies and procedures ofthe Jail that, among other things:


       a. Caused too few qualified medical personnel to be hired at the Jail;

        b. Caused the Jail to have inadequate space to enable it to provide adequate medical care

           to its inmates;

       c. Caused the Jail to have inadequate resources to enable it to provide adequate medical

           care to is inmates;

       d. Caused the Jail to have inadequate training and supervision of its medical personnel,

           resulting in the inadequate delivery of medical care.

                                                 79.


       Defendant Nowlin was also responsible for the training and supervision of medical

personnel at the Jail.


                                                  80.


       Defendant Nowlin knew that his failure to train and supervise reflected deliberate

indifference to serious medical needs.

                                                  81.




                                                21
  Case 4:24-cv-00012-WMR            Document 1-1        Filed 01/10/24      Page 22 of 141




       Defendant Nowlin personally examined Mr. Duncan under conditions in which it would

be obvious Mr. Duncan had serious medical needs and did not respond reasonably to the risk.


                                                82.


       Defendant Nowlin further failed to oversee and supervise the other healthcare practitioners

who were supposed to be providing medical care to Mr. Duncan.


                                                83.


       Defendant Nowlin was aware that Mr.Duncan was experiencing chest pain with increasing

frequency and severity, shortness of breath, numbness in his arm, and other symptoms. He had

actual knowledge that Mr. Duncan was experiencing symptoms of a life-threatening cardiac

condition that would lead to serious injury such as heart attack, heart damage, and shortened

lifespan and quality of life if left untreated. Despite having this knowledge and knowing the risk

of failing to provide proper medical care, such as cardiac intervention and treatment, Defendant

Nowlin failed to provide the proper medical care. Defendant Nowlin failed to respond reasonably

to address Mr. Duncan's needs.


                                                 84.


       Defendant Nowlin's actions exhibited deliberate indifference to the safety and well-being

of Mr. Duncan and subjected him to the unnecessary and wanton infliction of severe pain, which

constituted cruel and unusual punishment.




                                               22
  Case 4:24-cv-00012-WMR             Document 1-1        Filed 01/10/24      Page 23 of 141




           E. Tonva Joseph

                                                 85.


       Defendant Tonya Joseph (hereinafter "Defendant Joseph") is a Health Services

Administrator at Bartow County Jail who,during the relevant time period, was an employee and/or

agent of Bartow County, Sheriff Clark Millsap, and/or Correcthealth Bartow,LLC and was acting

in the course and scope of her employement and/or agency ofDefendants Bartow County, Sheriff

Clark Millsap, BCSO, and/or Correcthealth Bartow, LLC. Defendant Hall had a nurse-patient

relationship with Mr. Duncan and provided/directed the provision of care and treatment to him

during the relevant time period at Bartow County Jail.


                                                 86.


       Defendant Joseph is a resident of Bartow County and is subject to the jurisdiction of this

Court. She may be served with process at Bartow County Sheriff's Office loeated at 104 Zena Dr,

Cartersville, GA 30121 or anywhere else she may be found.


                                                 87.


       Defendant Joseph is subject to the jurisdiction ofthis Court, and venue is proper.


                                                 88.


       At all, times relevant to this Complaint, Defendant Joseph was responsible for the

administration, supervision, and delivery of health and medical services at the Jail.

                                                 89.


       Defendant Joseph was responsible for, and knowingly promulgated, enforced, and allowed

to persist, policies and procedures ofthe Jail that, among other things:


                                                23
  Case 4:24-cv-00012-WMR                 Document 1-1       Filed 01/10/24       Page 24 of 141




                a. Caused too few qualified medical personnel to be hired at the Jail;

                b. Caused the Jail to have inadequate space to enable it to provide adequate

                       medical care to its inmates;

                c. Caused the Jail to have inadequate resources to enable it to provide adequate

                       medical care to is inmates;

                d. Caused the Jail to have inadequate training and supervision of its medical

                       personnel, resulting in the inadequate delivery of medical care.

                                                      90.


        At all relevant times, Defendant Joseph acted under color of state law and pursuant to a

contract with the Jail. Defendant Joseph is being sued for damages in both her individual and

official capacities.


                                                      91.


        Defendant Joseph personally examined Mr. Duncan under conditions in which it

would be obvious to a medical professional that Mr. Duncan had serious medical needs and did

not respond reasonably to the risk.


                                                      92.


        Defendant Joseph was aware that Mr. Duncan was experiencing chest pain with increasing

frequency and severity, shortness of breath, numbness in his arm, and other symptoms. She had

actual knowledge that Mr. Duncan was experiencing symptoms of a life-threatening cardiac

condition that would lead to serious injury such as heart attack, heart damage, and shortened

lifespan and quality of life if left untreated. Despite having this knowledge and knowing the risk

of failing to provide proper medical care, such as cardiac intervention and treatment, Defendant


                                                      24
  Case 4:24-cv-00012-WMR            Document 1-1        Filed 01/10/24     Page 25 of 141




Joseph failed to provide the proper medical care. Defendant Joseph failed to respond reasonably

to address Mr. Duncan's needs.


                                                93.


       Defendant Joseph's actions exhibited deliberate indifference to the safety and

well-being ofMr. Duncan and subjected him to the unnecessary and wanton infliction of severe

pain, which constituted cruel and unusual punishment.


          F. Madison Bankston

                                                94.


       Defendant Madison Bankston (hereinafter "Defendant Bankston") is a Licensed Practical

Nurse who, during the relevant time period, was an employee and/or agent of Bartow County,

Sheriff Clark Millsap, and/or Correcthealth Bartow, LLC and was acting in the course and scope

of her employement and/or agency of Defendants Bartow County, Sheriff Clark Millsap, BSCO,

and/or Correcthealth Bartow,LLC. Defendant Madison Bankston had a nurse-patient relationship

with Mr. Duncan and provided care and treatment to him during the relevant time period at Bartow

County Jail.


                                                95.


       Defendant Madison Bankston is a resident of Bartow County and is subject to the

jurisdiction of this Court. She may be served with process at Bartow County Sheriffs Office

located at 104 Zena Dr, Cartersville, GA 30121 or anywhere else she may be found.


                                                96.


       Defendant Bankston is subject to the jurisdiction ofthis Court and venue is proper.


                                              25
  Case 4:24-cv-00012-WMR              Document 1-1      Filed 01/10/24      Page 26 of 141




                                                 97.


        At all relevant times, Defendant Bankston acted under color of state law and pursuant to a

contract with the Jail. Defendant Bankston is being sued for damages in both her individual and

official capacities.


                                                 98.


        Defendant Bankston personally examined Mr. Duncan under conditions in which it

would be obvious to a medical professional that Mr. Duncan had serious medical needs and did

not respond reasonably to the risk.


                                                 99.


        Defendant Bankston was aware that Mr. Duncan was experiencing chest pain with

increasing frequency and severity, shortness ofbreath, numbness in his arm, and other symptoms.

She had actual knowledge that Mr. Duncan was experiencing symptoms of a life-threatening

cardiac condition that would lead to serious injury such as heart attack, heart damage, and

shortened lifespan and quality oflife ifleft untreated. Despite having this knowledge and knowing

the risk of failing to provide proper medical care, such as cardiac intervention and treatment,

Defendant Bankston failed to provide the proper medical care. Defendant Bankston failed to

respond reasonably to address Mr. Duncan's needs.


                                             100.


        Defendant Banlcston's actions exhibited deliberate indifference to the safety and

well-being of Mr. Duncan and subjected him to the unnecessary and wanton infliction of severe

pain, which constituted cruel and unusual punishment.



                                                26
  Case 4:24-cv-00012-WMR             Document 1-1        Filed 01/10/24      Page 27 of 141




              G. Charlotte Hall

                                              101.


       Defendant Charlotte Hall(hereinafter"Defendant Hall")is a Nuse Practitioner who,during

the relevant time period, was an employee and/or agent of Bartow County, Sheriff Clark Millsap,

BCSO, and/or Correcthealth Bartow, LLC and was acting in the course and scope of her

employement and/or agency of Defendants Bartow County, Sheriff Clark Millsap, BCSO, and/or

Correcthealth Bartow,LLC. Defendant Hall had a nurse-patient relationship with Mr.Duncan and

provided care and treatment to him during the relevant time period at Bartow County Jail.


                                              102.


       Defendant Hall is a resident of Bartow County and is subject to the jurisdiction of this

Court. She may be served with process at Bartow County Sheriff's Office located at 104 Zena Dr,

Cartersville, GA 30121 or anywhere else she may be found.


                                              103.


       Defendant Hall is subject to the jurisdiction ofthis Court, and venue is proper.


                                              104.


       At all relevant times, Defendant Hall acted under color of state law and pursuant to a

contract with the Jail. Defendant Hall is being sued for damages in both her individual and official

capacities.




                                                27
  Case 4:24-cv-00012-WMR              Document 1-1       Filed 01/10/24     Page 28 of 141




                                             105.


       Defendant Hall personally examined Mr. Duncan under conditions in which it

would be obvious to a medical professional that Mr. Duncan had serious medical needs and did

not respond reasonably to the risk.


                                             106.


       Defendant Hall was aware that Mr. Duncan was experiencing chest pain with increasing

frequency and severity, shortness of breath, numbness in his arm, and other symptoms. She had

actual knowledge that Mr. Duncan was experiencing symptoms of a life-threatening cardiac

condition that would lead to serious injury such as heart attack, heart damage, and shortened

lifespan and quality of life if left untreated. Despite having this knowledge and knowing the risk

of failing to provide proper medical care, such as cardiac intervention and treatment, Defendant

Hall failed to provide the proper medical care. Defendant Hall failed to respond reasonably to

address Mr. Duncan's needs.


                                             107.


       Defendant Hall's actions exhibited deliberate indifference to the safety and

well-being of Mr. Duncan and subjected him to the unnecessary and wanton infliction of severe

pain, which constituted cruel and unusual punishment..


           H. Christina Catron

                                             108.


       Defendant Christina Catron(hereinafter"Defendant Catron")is a Licensed Practical Nurse

who, during the relevant time period, was an employee and/or agent of Bartow County, Sheriff



                                               28
   Case 4:24-cv-00012-WMR             Document 1-1      Filed 01/10/24      Page 29 of 141




Clark Millsap, and/or Correcthealth Bartow, LLC and was acting in the course and scope of her

employement and/or agency of Defendants Bartow County, Sheriff Clark Millsap, BCSO, and/or

Correcthealth Bartow,LUC. Defendant Catron had a nurse-patient relationship with Mr. Duncan

and provided care and treatment to him during the relevant time period at Bartow County Jail.


                                            109.


       Defendant Catron is a resident of Bartow County and is subject to the jurisdiction of this

Court. She may be served with process at Bartow County Sheriff's Office located at 104 Zena Dr,

Cartersville, GA 30121 or anywhere else she may be found.


                                            1 10.


       Defendant Catron is subject to the jurisdiction ofthis Court and venue is proper.




        At all relevant times, Defendant Catron acted under color of state law and pursuant to a

contract with the Jail. Defendant Caton is being sued for damages in both her individual and

official capacities.


                                            112.


        Defendant Catron personally examined Mr. Duncan under conditions in which it

would be obvious to a medical professional that Mr. Duncan had serious medical needs and did

not respond reasonably to the risk.


                                            113.


        Defendant Catron was aware that Mr. Duncan was experiencing chest pain with increasing

frequency and severity, shortness of breath, numbness in his arm, and other symptoms. She had

                                               29
   Case 4:24-cv-00012-WMR           Document 1-1        Filed 01/10/24      Page 30 of 141




actual knowledge that Mr. Duncan was experiencing symptoms of a life-threatening cardiac

condition that would lead to serious injury such as heart attack, heart damage, and shortened

lifespan and quality of life if left untreated. Despite having this knowledge and knowing the risk

of failing to provide proper medical care, such as cardiac intervention and treatment, Defendant

Catron failed to provide the proper medical care. Defendant Cation failed to respond reasonably

to address Mr. Duncan's needs.


                                             114.


        Defendant Catron's actions exhibited deliberate indifference to the safety and

well-being of Mr. Duncan and subjected him to the unnecessary and wanton infliction of severe

pain, which constituted cruel and unusual punishment.


           I. Rebecca Hamilton

                                             115.


        Defendant Rebecca Hamilton (hereinafter "Defendant Hamilton") is a Licensed Practical

Nurse who, during the relevant time period, was an employee and/or agent of Bartow County,

Sheriff Clark Millsap, and/or Correcthealth Bartow, LLC and was acting in the course and scope

of her employement and/or agency of Defendants Bartow County, Sheriff Clark Millsap, BCSO,

and/or Correcthealth Bartow,LLC. Defendant Hamilton had a nurse-patient relationship with Mr.

Duncan and provided care and treatment to him during the relevant time period at Bartow County

Jail.




                                               30
   Case 4:24-cv-00012-WMR             Document 1-1       Filed 01/10/24      Page 31 of 141




                                              116.


       Defendant Hamilton is a resident ofBartow County and is subject to the jurisdiction ofthis

Court. She may be served with process at Bartow County Sheriff's Office located at 104 Zena Dr,

Cartersville, GA 30121 or anywhere else she may be found.


                                              1 17.


        Defendant Hamilton is subject to the jurisdiction of this Court and venue is proper.


                                              118.


        At all relevant times, Defendant Hamilton acted under color of state law and pursuant to a

contract with the Jail. Defendant Hamilton is being sued for damages in both her individual and

official capacities.


                                              119.


        Defendant Hamilton personally examined Mr. Duncan under conditions in which it

would be obvious to a medical professional that Mr. Duncan had serious medical needs and did

not respond reasonably to the risk.


                                              120.


        Defendant Hamilton was aware that Mr. Duncan was experiencing chest pain with

increasing frequency and severity, shortness of breath, numbness in his arm, and other symptoms.

She had actual knowledge that Mr. Duncan was experiencing symptoms of a life-threatening

cardiac condition that would lead to serious injury such as heart attack, heart damage, and

shortened lifespan and quality oflife ifleft untreated. Despite having this knowledge and knowing

the risk of failing to provide proper medical care, such as cardiac intervention and treatment,

                                                31
   Case 4:24-cv-00012-WMR            Document 1-1        Filed 01/10/24      Page 32 of 141




Defendant Hamilton failed to provide the proper medical care. Defendant Hamilton failed to

respond reasonably to address Mr. Duncan's needs.


                                              121.


        Defendant Hamilton's actions exhibited deliberate indifference to the safety and

well-being of Mr. Duncan and subjected him to the unnecessary and wanton infliction of severe

pain, which constituted cruel and unusual punishment.


           J. Sheila Williams

                                              122.


        Defendant Sheila Williams (hereinafter "Defendant Williams") is a Licensed Practical

Nurse who, during the relevant time period, was an employee and/or agent of Bartow County,

Sheriff Clark Millsap, and/or Correcthealth Bartow, LLC and was acting in the course and scope

of her employement and/or agency of Defendants Bartow County, Sheriff Clark Millsap, BCSO,

and/or Correcthealth Bartow,LLC. Defendant Williams had a nurse-patient relationship with Mr.

Duncan and provided care and treatment to him during the relevant time period at Bartow County

Jail.


                                              123.


        Defendant Williams is a resident ofBartow County and is subject to the jurisdiction of this

Court. She may be served with process at Bartow County Sheriff's Office located at 104 Zena Dr,

Cartersville, GA 30121 or anywhere else she may be found.


                                              124.


        Defendant Williams is subject to the jurisdiction of this Court and venue is proper.


                                                32
  Case 4:24-cv-00012-WMR              Document 1-1      Filed 01/10/24      Page 33 of 141




                                             125.


        At all relevant times, Defendant Williams acted under color of state law and pursuant to a

contract with the Jail. Defendant Williams is being sued for damages in both her individual and

official capacities.


                                             126.


       Defendant Williams personally examined Mr. Duncan under conditions in which it

would be obvious to a medical professional that Mr. Duncan had serious medical needs and did

not respond reasonably to the risk.


                                             127.


        Defendant Williams was aware that Mr. Duncan was experiencing chest pain with

increasing frequency and severity, shortness of breath, numbness in his arm, and other symptoms.

She had actual knowledge that Mr. Duncan was experiencing symptoms of a life-threatening

cardiac condition that would lead to serious injury such as heart attack, heart damage, and

shortened lifespan and quality oflife ifleft untreated. Despite having this knowledge and knowing

the risk of failing to provide proper medical care, such as cardiac intervention and treatment,

Defendant Williams failed to provide the proper medical care. Defendant Williams failed to

respond reasonably to address Mr. Duncan's needs.


                                             128.


       Defendant Williams's actions exhibited deliberate indifference to the safety and

well-being of Mr. Duncan and subjected him to the unnecessary and wanton infliction of severe

pain, which constituted cruel and unusual punishment.



                                               33
  Case 4:24-cv-00012-WMR             Document 1-1        Filed 01/10/24      Page 34 of 141




              K. Patricia Lee

                                             129.


       Defendant Patricia Lee (hereinafter "Defendant Lee") is a Licensed Practical Nurse who,

during the relevant time period, was an employee and/or agent of Bartow County, Sheriff Clark

Millsap, BCSO,and/or Correcthealth Bartow,LLC and was acting in the course and scope ofher

employement and/or agency of Defendants Bartow County, Sheriff Clark Millsap, BCSO, and/or

Correcthealth Bartow,LLC. Defendant Lee had a nurse-patient relationship with Mr. Duncan and

provided care and treatment to him during the relevant time period at Bartow County Jail.


                                             130.


       Defendant Lee is a resident ofBartow County and is subject to thejurisdiction ofthis Court.

She may be served with process at Bartow County Sheriffs Office located at 104 Zena Dr,

Cartersville, GA 30121 or anywhere else she may be found.


                                             131.


       Defendant Lee is subject to the jurisdiction of this Court and venue is proper.


                                             132.


       At all relevant times, Defendant Lee acted under color of state law and pursuant to a

contract with the Jail. Defendant Lee is being sued for damages in both her individual and official

capacities.




                                                34
  Case 4:24-cv-00012-WMR              Document 1-1      Filed 01/10/24      Page 35 of 141




                                             133.


       Defendant Lee personally examined Mr. Duncan under conditions in which it

would be obvious to a medical professional that Mr. Duncan had serious medical needs and did

not respond reasonably to the risk.


                                             134.


       Defendant Lee was aware that Mr. Duncan was experiencing chest pain with increasing

frequency and severity, shortness of breath, numbness in his arm, and other symptoms. She had

actual knowledge that Mr. Duncan was experiencing symptoms of a life-threatening cardiac

condition that would lead to serious injury such as heart attack, heart damage, and shortened

lifespan and quality of life if left untreated. Despite having this knowledge and knowing the risk

of failing to provide proper medical care, such as cardiac intervention and treatment, Defendant

Lee failed to provide the proper medical care. Defendant Lee failed to respond reasonably to

address Mr. Duncan's needs.


                                             135.


       Defendant Lee's actions exhibited deliberate indifference to the safety and

well-being of Mr. Duncan and subjected him to the unnecessary and wanton infliction of severe

pain, which constituted cruel and unusual punishment.


           L. Kelly Kurtz

                                             136.


       Defendant Kelly Kurtz(hereinafter "Defendant Kurtz")is a Nuse Practitioner who, during

the relevant time period, was an employee and/or agent of Bartow County, Sheriff Clark Millsap,



                                               35
  Case 4:24-cv-00012-WMR              Document 1-1        Filed 01/10/24      Page 36 of 141




BCSO, and/or Correcthealth Bartow, LLC and was acting in the course and scope of her

employement and/or agency of Defendants Bartow County, Sheriff Clark Millsap, BCSO,and/or

Correcthealth Bartow, LLC. Defendant Kurtz had a nurse-patient relationship with Mr. Duncan

and provided care and treatment to him during the relevant time period at Bartow County Jail.


                                              137.


       Defendant Kurtz is a resident of Bartow County and is subject to the jurisdiction of this

Court. She may be served with process at Bartow County Sheriff's Office located at 104 Zena Dr,

Cartersville, GA 30121 or anywhere else she may be found.


                                              138.


       Defendant Kurtz is subject to the jurisdiction ofthis Court and venue is proper.


                                              139.


       At all relevant times, Defendant Kurtz acted under color of state law and pursuant to a

contract with the Jail. Defendant Kurtz is being sued for damages in both her individual and official

capacities.


                                              140.


       Defendant Kurtz personally examined Mr. Duncan under conditions in which it

would be obvious to a medical professional that Mr. Duncan had serious medical needs and did

not respond reasonably to the risk.


                                              141.


       Defendant Kurtz was aware that Mr. Duncan was experiencing chest pain with increasing

frequency and severity, shortness of breath, numbness in his arm, and other symptoms. She had

                                                 36
  Case 4:24-cv-00012-WMR            Document 1-1        Filed 01/10/24      Page 37 of 141




actual knowledge that Mr. Duncan was experiencing symptoms of a life-threatening cardiac

condition that would lead to serious injury such as heart attack, heart damage, and shortened

lifespan and quality of life if left untreated. Despite having this knowledge and knowing the risk

of failing to provide proper medical care, such as cardiac intervention and treatment, Defendant

Kurtz failed to provide the proper medical care. Defendant Kurtz failed to respond reasonably to

addiess Mr. Duncan's needs.


                                             142.


        Defendant Kurtz's actions exhibited deliberate indifference to the safety and

well-being of Mr. Duncan and subjected him to the unnecessary and wanton infliction of severe

pain, which constituted cruel and unusual punishment.


           M. Flesha Myricks

                                             143.


        Defendant Flesha Myricks(hereinafter"Defendant Myricks")is a Licensed Practical Nurse

who, during the relevant time period, was an employee and/or agent of Bartow County, Sheriff

Clark Millsap, BCSO, and/or Correcthealth Bartow, LLC and was acting in the course and scope

of her employement and/or agency of Defendants Bartow County, Sheriff Clark Millsap, BCSO,

and/or Correcthealth Bartow, LLC. Defendant Myricks had a nurse-patient relationship with Mr.

Duncan and provided care and treatment to him during the relevant time period at Bartow County

Jail.




                                               37
   Case 4:24-cv-00012-WMR             Document 1-1      Filed 01/10/24      Page 38 of 141




                                             144.


       Defendant Myricks is a resident of Bartow County and is subject to the jurisdiction of this

Court. She may be served with process at Bartow County Sheriffs Office located at 104 Zena Dr,

Cartersville, GA 30121 or anywhere else she may be found.


                                             145.


       Defendant Myricks is subject to the jurisdiction ofthis Court and venue is proper.


                                             146.


        At all relevant times, Defendant Myricks acted under color of state law and pursuant to a

contract with the Jail. Defendant Myricks is being sued for damages in both her individual and

official capacities.


                                             147.


       Defendant Myricks personally examined Mr. Duncan under conditions in which it

would. be obvious to a medical professional that Mr. Duncan had serious medical needs and did

not respond reasonably to the risk.


                                         148.


        Defendant Myricks was aware that Mr. Duncan was experiencing chest pain with

increasing frequency and severity, shortness of breath, numbness in his arm, and other symptoms.

She had actual knowledge that Mr. Duncan was experiencing symptoms of a life-threatening

cardiac condition that would lead to serious injury such as heart attack, heart damage, and

shortened lifespan and quality oflife ifleft untreated. Despite having this knowledge and knowing

the risk of failing to provide proper medical care, such as cardiac intervention and treatment,

                                                38
   Case 4:24-cv-00012-WMR            Document 1-1        Filed 01/10/24      Page 39 of 141




Defendant Myricks failed to provide the proper medical care. Defendant Myricks failed to respond

reasonably to address Mr. Duncan's needs.


                                             149.


        Defendant Myricks's actions exhibited deliberate indifference to the safety and

well-being of Mr. Duncan and subjected him to the unnecessary and wanton infliction of severe

pain, which constituted cruel and unusual punishment.


           N. Jennifer Pulido

                                              150.


        Defendant Jennifer Pulido (hereinafter "Defendant Pulido") is a Licensed Practical Nurse

who, during the relevant time period, was an employee and/or agent of Bartow County, Sheriff

Clark Millsap, BCSO, and/or Correcthealth Bartow, LLC and was acting in the course and scope

of her employement and/or agency of Defendants Bartow County, Sheriff Clark Millsap, BCSO,

and/or Correcthealth Bartow, LLC. Defendant Pulido had a nurse-patient relationship with Mr.

Duncan and provided care and treatment to him during the relevant time period at Bartow County

Jail.


                                              151.


        Defendant Pulido is a resident of Bartow County and is subject to the jurisdiction of this

Court. She may be served with process at Bartow County Sheriff's Office located at 104 Zena Dr,

Cartersville, GA 30121 or anywhere else she may be found.


                                              152.


        Defendant Pulido is subject to the jurisdiction ofthis Court and venue is proper.


                                                39
  Case 4:24-cv-00012-WMR              Document 1-1      Filed 01/10/24      Page 40 of 141




                                             153.


        At all relevant times, Defendant Pulido acted under color of state law and pursuant to a

contract with the Jail. Defendant Pulido is being sued for damages in both her individual and

official capacities.


                                             154.


        Defendant Pulido personally examined Mr. Duncan under conditions in which it

would be obvious to a medical professional that Mr. Duncan had serious medical needs and did

not respond reasonably to the risk.


                                             155.


        Defendant Pulido was aware that Mr. Duncan was experiencing chest pain with increasing

frequency and severity, shortness of breath, numbness in his arm, and other symptoms. She had

actual knowledge that Mr. Duncan was experiencing symptoms of a life-threatening cardiac

condition that would lead to serious injury such as heart attack, heart damage, and shortened

lifespan and quality of life if left untreated. Despite having this knowledge and knowing the risk

of failing to provide proper medical care, such as cardiac intervention and treatment, Defendant

Pulido failed to provide the proper medical care. Defendant Pulido failed to respond reasonably

to address Mr. Duncan's needs.


                                             156.


        Defendant Pulido's actions exhibited deliberate indifference to the safety and

well-being of Mr. Duncan and subjected him to the unnecessary and wanton infliction of severe

pain, which constituted cruel and unusual punishment.



                                               40
  Case 4:24-cv-00012-WMR            Document 1-1        Filed 01/10/24      Page 41 of 141




           0. Chantal Dessources

                                             157.


       Defendant Chantal Dessources (hereinafter "Defendant Dessources") is a Licensed

Practical Nurse who, during the relevant time period, was an employee and/or agent of Bartow

County, Sheriff Clark Millsap, BCSO, and/or Correcthealth Bartow, LLC and was acting in the

course and scope of her employement and/or agency of Defendants Bartow County, Sheriff Clark

Millsap, BCSO, and/or Correcthealth Bartow, LLC. Defendant Dessources had a nurse-patient

relationship with Mr. Duncan and provided care and treatment to him during the relevant time

period at Bartow County Jail.


                                             158.


       Defendant Dessources is a resident of Bartow County and is subject to the jurisdiction of

this Court. She may be served with process at Bartow County Sheriff's Office located at 104 Zena

Dr, Cartersville, GA 30121 or anywhere else she may be found.


                                             159.


       Defendant Dessources is subject to the jurisdiction of this Court, and venue is proper.


                                             160.


       At all relevant times, Defendant Dessources acted under color of state law and pursuant to

a contract with the Jail. Defendant Dessources is being sued for damages in both her individual

and official capacities.




                                               41
  Case 4:24-cv-00012-WMR              Document 1-1      Filed 01/10/24     Page 42 of 141




                                            161.


       Defendant Dessources personally examined Mr. Duncan under conditions in which it

would be obvious to a medical professional that Mr. Duncan had serious medical needs and did

not respond reasonably to the risk.


                                            162.


       Defendant Dessources was aware that Mr. Duncan was experiencing chest pain with

increasing frequency and severity, shortness of breath, numbness in his arm, and other symptoms.

She had actual knowledge that Mr. Duncan was experiencing symptoms of a life-threatening

cardiac condition that would lead to serious injury such as heart attack, heart damage, and

shortened lifespan and quality oflife ifleft untreated. Despite having this knowledge and knowing

the risk of failing to provide proper medical care, such as cardiac intervention and treatment,

Defendant Dessources failed to provide the proper medical care. Defendant Dessources failed to

respond reasonably to address Mr. Duncan's needs.


                                             163.


       Defendant Dessources's actions exhibited deliberate indifference to the safety and

well-being of Mr. Duncan and subjected him to the unnecessary and wanton infliction of severe

pain, which constituted cruel and unusual punishment.


           P. Callie Evans

                                            164.


       Defendant Callie Evans (hereinafter "Defendant Evans") is a Licensed Practical Nurse

who, during the relevant time period, was an employee and/or agent of Bartow County, Sheriff



                                               42
   Case 4:24-cv-00012-WMR             Document 1-1       Filed 01/10/24      Page 43 of 141




Clark Millsap, BCSO, and/or Correcthealth Bartow, LLC and was acting in the course and scope

of her employement and/or agency of Defendants Bartow County, Sheriff Clark Millsap, BCSO,

and/or Correcthealth Bartow, LLC. Defendant Evans had a nurse-patient relationship with Mr.

Duncan and provided care and treatment to him during the relevant time period at Bartow County

Jail.


                                              165.


        Defendant Evans is a resident of Bartow County and is subject to the jurisdiction of this

Court. She may be served with process at Bartow County Sheriff's Office located at 104 Zena Dr,

Cartersville, GA 30121 or anywhere else she may be found.


                                              166.


        Defendant Evans is subject to the jurisdiction of this Court and venue is proper.


                                              167.


        At all relevant times, Defendant Evans acted under color of state law and pursuant to a

contract with the Jail. Defendant Evans is being sued for damages in both her individual and

official capacities.


                                              168.


        Defendant Evans personally examined Mr. Duncan under conditions in which it

would be obvious to a medical professional that Mr. Duncan had serious medical needs and did

not respond reasonably to the risk.


                                              169.




                                                43
  Case 4:24-cv-00012-WMR            Document 1-1        Filed 01/10/24      Page 44 of 141




        Defendant Evans was aware that Mr. Duncan was experiencing chest pain with increasing

frequency and severity, shortness of breath, numbness in his arm, and other symptoms. She had

actual knowledge that Mr. Duncan was experiencing symptoms of a life-threatening cardiac

condition that would lead to serious injury such as heart attack, heart damage, and shortened

lifespan and quality of life if left untreated. Despite having this knowledge and knowing the risk

of failing to provide proper medical care, such as cardiac intervention and treatment, Defendant

Evans failed to provide the proper medical care. Defendant Evans failed to respond reasonably to

address Mr. Duncan's needs.




                                             170.


        Defendant Evans's actions exhibited deliberate indifference to the safety and

well-being of Mr. Duncan and subjected him to the unnecessary and wanton infliction of severe

pain, which constituted cruel and unusual punishment.


           Q. First Name Unknown Shirley

                                             171.


        Defendant Nurse Shirley (hereinafter "Defendant Shirley") is a healthcare professional

who, during the relevant time period, was an employee and/or agent of Bartow County, Sheriff

Clark Millsap, BCSO, and/or Correcthealth Bartow, LLC and was acting in the course and scope

of her employement and/or agency of Defendants Bartow County, Sheriff Clark Millsap, BCSO,

and/or Correcthealth Bartow, LLC. Defendant Shirley had a nurse-patient relationship with Mr.

Duncan and provided care and treatment to him during the relevant time period at Bartow County

Jail.


                                               44
   Case 4:24-cv-00012-WMR             Document 1-1        Filed 01/10/24      Page 45 of 141




                                              172.


       Defendant Shirley's full name is not disclosed in the materials available to Plaintiff at this

time. Once her full name is known, the Complaint will be amended to reflect her full name. Mr.

Duncan's relevant medical records reflect that "Nurse Shirley" communicated with him many

times about the symptoms he was experiencing, yet Nurse Shirley failed to treat him for his

emerging cardiac condition.


                                              173.


       Defendant Shirley is a resident of Bartow County and is subject to the jurisdiction of this

Court. She may be served with process at Bartow County Sheriff's Office located at 104 Zena Dr,

Cartersville, GA 30121 or anywhere else she may be found.


                                              174.


       Defendant Shirley is subject to the jurisdiction of this Court and venue is proper.


                                              175.


        At all relevant times, Defendant Shirley acted under color of state law and pursuant to a

contract with the Jail. Defendant Shirley is being sued for damages in both her individual and

official capacities.


                                              176.


       Defendant Shirley personally examined Mr. Duncan under conditions in which it

would be obvious to a medical professional that Mr. Duncan had serious medical needs and did

not respond reasonably to the risk.




                                                45
  Case 4:24-cv-00012-WMR              Document 1-1         Filed 01/10/24         Page 46 of 141




                                               177.


       Defendant Shirley was aware that Mr.Duncan was experiencing chest pain with increasing

frequency and severity, shortness of breath, numbness in his arm, and other symptoms. She had

actual knowledge that Mr. Duncan was experiencing symptoms of a life-threatening cardiac

condition that would lead to serious injury such as heart attack, heart damage, and shortened

lifespan and quality of life if left untreated. Despite having this knowledge and knowing the risk

of failing to provide proper medical care, such as cardiac intervention and treatment, Defendant

Shirley failed to provide the proper medical care. Defendant Shirley failed to respond reasonably

to address Mr. Duncan's needs.


                                               178.


       Defendant Shirley's actions exhibited deliberate indifference to the safety and

well-being of Mr. Duncan and subjected him to the unnecessary and wanton infliction of severe

pain, which constituted cruel and unusual punishment.


                                               179.


        All Defendants are legally responsible,in whole or in part,for the operation and conditions

of the Jail, and for the health and safety of persons incarcerated in the Jail.


                                               180.


        At all relevant times, all Defendants or their predecessors in office have acted or failed to

act, as alleged herein, under color of state law.




                                                    46
  Case 4:24-cv-00012-WMR            Document 1-1           Filed 01/10/24   Page 47 of 141




                                             181.


       Through the acts and omissions alleged herein, Defendants have exhibited deliberate

indifference to the health and safety of Mr. Duncan, in violation of his rights, privileges, or

immunities as secured or protected by the Eighth Amendment and the Due Process Clause of the

Fourteenth Amendment ofthe U.S. Constitution.


                                    CAUSES OF ACTION


                                COUNT!
                          (ALL DEFENDANTS)
  42 U.S.C. 1983: VIOLATION OF EIGHTH AND FOURTEENTH AMENDMENTS

                                             182.


       Plaintiff realleges and incorporates herein the allegations contained in the preceding

paragraphs of this Complaint above as if fully restated.


                                             183.


       Defendants, acting under color of state law, were responsible for diagnosing, treating,

caring for, and maintaining custody of MI. Duncan.


                                             184.


       While in the custody and care of Defendants, Mr. Duncan had serious, life-threatening

medical needs that would have been obvious to any medical provider.


                                             185.


       Defendants had actual knowledge of Mr. Duncan serious medical needs.




                                                47
  Case 4:24-cv-00012-WMR            Document 1-1        Filed 01/10/24      Page 48 of 141




                                            186.


      Defendants were deliberately indifferent to Mr. Duncan serious medical needs in at least

the following ways:


              a. Defendants denied Mr. Duncan access to a medical facility appropriate for his

                 serious medical needs;

              b. Defendants denied Mr. Duncan access to medical personnel qualified to treat

                 his serious medical needs;

              c. Defendants failed to inquire into the essential facts that were necessary to make

                 a professional judgment about Mr. Duncan serious medical needs;

              d. Defendants caused factors unrelated to inmates' medical needs to interfere with

                 the exercise of medicaljudgment regarding Mr. Duncan serious medical needs;

                 and

              e. Defendants failed to diagnose Mr. Duncan as having an evolving cardiac

                 problem;

             f. Defendants failed to properly evaluate Mr. Duncan's changing condition;

              g. Defendants failed to properly assess and evaluate Mr. Duncan as having a heart

                 attack and/or being at increased risk of having a heart attack;

              h. Defendants failed to promptly report signs and symptoms of an emerging

                 cardiac condition to a cardiologist;

              i. Defendants failed to promptly, but no later than September 1, 2022 when Mr.

                 Duncan reported experiencing chest pain and shortness of breath, refer him to

                 a cardiologist for cardiac worlcup to properly evaluate his emerging cardiac

                 condition;

                                               48
  Case 4:24-cv-00012-WMR             Document 1-1        Filed 01/10/24      Page 49 of 141




               j. Defendants failed to seek and/or obtain timely review of Mr. Duncan's signs

                   and symptoms by a cardiologist;

               k. Defendants allowed Mr. Duncan's evolving cardiac condition to be untreated

                   for weeks without proper intervention and treatment;

               1. Defendants failed to provide timely and proper cardiac intervention to Mr.

                   Duncan;

               m. Defendants failed to immediately procure a Life Vest for Mr. Duncan upon his

                   return to Bartow County Jail from Cartersville Medical Center.

                                               187.


       Defendants' knowledge ofMr. Duncan's obvious, serious medical needs constitutes actual

knowledge of an objectively cruel condition.


                                               188.


       Defendants were aware of Mr. Duncan's symptoms and that they indicated he was in

cardiac distress, and further knew that the failure to provide proper cardiac treatment would result

in him experiencing a heart attack and resulting heart damage. Defendants failed to provide Mr.

Duncan with appropriate care despite being aware ofthese risks.


                                               189.


       Defendants' failure to provide medical care for Mr. Duncan obvious,serious medical needs

was an objectively unreasonable response to a known, substantial risk.




                                                 49
  Case 4:24-cv-00012-WMR            Document 1-1           Filed 01/10/24   Page 50 of 141




                                             190.


       Defendants' actions and inactions caused Mr. Duncan to be deprived of his right to

adequate medical care secured by the Eighth Amendment and the Due Process Clause of the

Fourteenth Amendment ofthe U.S. Constitution.


                                             191.


       As a direct and proximate result ofDefendants' violation ofhis rights, Mr. Duncan suffered

medical expenses, physical injuries, pain and suffering, and mental and emotional distress.


                                             192.


       Accordingly, the Defendants' deliberate indifference to Mr. Duncan's serious medical

needs constitutes the unnecessary and wanton infliction of pain proscribed by the Eighth

Amendment.


                                             193.


       As a direct and proximate result ofthe Defendants' deliberate indifference to Mr. Duncan's

serious medical needs, Mr. Duncan experienced conscious pain and suffering.


                                 COUNT II
(DEFENDANTS BARTOW COUNTY.MILLSAP,CORRECTHEALTH,NOWLIN AND
    JOSEPH)42 U.S.C. 4 1983: VIOLATION OF EIGHTH AND FOURTEENTH
                               AMENDMENTS

                                             194.


       Plaintiff realleges and incorporates herein the allegations contained in the preceding

paragraphs of this Complaint above as if fully restated.




                                                50
   Case 4:24-cv-00012-WMR             Document 1-1         Filed 01/10/24       Page 51 of 141




                                               195.


       Defendants Bartow County, Millsap, CorrectHealth, Nowlin, and Joseph (collectively the

"Count II Defendants"), acting under color of state law, were responsible for Mr. Duncan's care,

and were obligated to provide or obtain adequate and effective medical treatment for him.


                                               196.


       The Count II Defendants have a duty to establish and operate in accordance with the rights

guaranteed to citizens under the Constitution ofthe United States.


                                               197.


       The Count 11 Defendants have a duty to train its employees, staff, and agents and establish

policies that protect the rights guaranteed to citizens under the Constitution ofthe United States.


                                               198.


       The Count II Defendants were involved in directing, procuring, and providing medical care

for Mr. Duncan.


                                               199.


        The Count II Defendants were involved in promulgating and enforcing policies and

procedures regarding the medical care that Mr. Duncan received.


                                               200.


        The Count II Defendants promulgated and enforced policies and procedures that caused

the Jail to have grossly insufficient qualified staff, space, and resources to provide constitutionally

adequate medical care to Jail inmates including Mr. Duncan.


                                                  51
  Case 4:24-cv-00012-WMR                Document 1-1      Filed 01/10/24       Page 52 of 141




                                              201.


       The Count II Defendants promulgated and enforced policies and procedures that caused

more inmates to be transferred to the Jail than for whom the Jail could adequately care.


                                              202.


       The Count II Defendants had actual knowledge of the grossly inadequate medical care

provided to inmates at the Jail and did not attempt to remedy the problem.


                                              203.


       The Count II Defendants were responsible for training and supervising medical staff

involved in the medical care of Jail.


                                              204.


       The Count H Defendants knew that their subordinates were failing to provide adequate

medical care to Mr. Duncan and did not attempt to remedy the problem.


                                              205.


       The Count H Defendants knew that reasonable people in their positions would know that

their failure to train and supervise reflected deliberate indifference to serious medical needs.


                                              206.


       The Count II Defendants' response to their subordinates' failure to provide medical care

for Mr. Duncan's obvious, serious medical needs was an objectively unreasonable response to a

known, substantial risk.




                                                 52
  Case 4:24-cv-00012-WMR             Document 1-1        Filed 01/10/24      Page 53 of 141




                                             207.


        Accordingly, the Count 11 Defendants' deliberate indifference to Mr. Duncan's serious

medical needs constitutes the unnecessary and wanton infliction of pain proscribed by the Eighth

Amendment.


                                             208.


        Count II Defendants' failure to provide medical care for Mr. Duncan's obvious, serious

medical needs was an objectively unreasonable response to a known, substantial risk.


                                             209.


        Count H Defendants' actions and inactions caused Mr. Duncan to be deprived of his right

to adequate medical care secured by the Eighth Amendment and the Due Process Clause of the

Fourteenth Amendment ofthe U.S. Constitution.


                                             210.


        As a direct and proximate result of Count II Defendants' violation of his rights, Mr.Duncan

suffered medical expenses, physical injuries, pain and suffering, and mental and emotional

distress.


                                             211.


        Accordingly, the Count II Defendants' deliberate indifference to Mr. Duncan's serious

medical needs constitutes the unnecessary and wanton infliction of pain proscribed by the Eighth

Amendment.




                                                53
  Case 4:24-cv-00012-WMR            Document 1-1          Filed 01/10/24    Page 54 of 141




                                             212.


       As a direct and proximate result ofthe Count H Defendants' deliberate indifference to Mr.

Duncan's serious medical needs, Mr. Duncan experienced conscious pain and suffering.


                               COUNT ifi
                          (ALL DEFENDANTS)
                       CLAIM UNDER GEORGIA LAW
            FOR INADEQUATE MEDICAL CARE UNDER 0.C.G.A.§ 42-5-2

                                             213.


       Plaintiff realleges and incorporates herein the allegations contained in the preceding

paragraphs of this Complaint above as iffully restated.


                                             214.


       Defendants' actions caused Mr. Duncan to be deprived of his rights under 0.C.G.A. § 42-

5-2 to adequate medical care.


                                             215.


       As a direct and proximate result of Defendants actions, Mr. Duncan has suffered medical

expenses, physical injuries, pain and suffering, and mental and emotional distress.


                                             216.


       As a result of the Defendants' actions, Plaintiff is entitled to compensatory damages in an

amount to be proven at trial for medical expenses, pain and suffering, and loss earnings.




                                               54
  Case 4:24-cv-00012-WMR             Document 1-1         Filed 01/10/24      Page 55 of 141




                                              217.


       In causing Mr. Duncan's injuries, Defendants acted with callous and reckless indifference

to his constitutional rights. Defendants' actions were malicious, wanton and willful. As a result,

Plaintiff is entitled to punitive damages in an amount to be determined at trial.


                            COUNT IV
             (DEFENDANTS BARTOW COUNTY AND MILLSAP)
      CLAIM UNDER GEORGIA LAW FOR BREACH OF DUTIES OF SHERIFF,
                     PURSUANT TO 0.C.GA.§ 42-4-4

                                              218.


       Plaintiff realleges and incorporates herein the allegations contained in the preceding

paragraphs of this Complaint above as iffully restated.


                                              219.


       Defendant Millsap, by and through himself and his agents, owed Particular duties to jail

inmates as enumerated in 0.C.G.A. § 42-4-4. One such duty was to provide inmates, such as Mr.

Duncan, with medical aid.




       In his above-described actions and inactions, Defendants violated their duties as prescribed

by 0.C.G.A. § 42-4-4 by failing to provide Mr. Duncan with necessary medical aid.


                                              221.


       As a direct and proximate result of Defendants' violation of his rights and breach of the

bond,Mr.Duncan suffered physical injuries, pain and suffering and mental and emotional distress.




                                                 55
  Case 4:24-cv-00012-WMR             Document 1-1          Filed 01/10/24    Page 56 of 141




                                             222.


       Defendants are liable to Mr. Duncan in an amount to be proven at trial.


                               COUNT V
                          (ALL DEFENDANTS)
           CLAIM UNDER GEORGIA LAW FOR MEDICAL MALPRACTICE
                                223.


       Plaintiff realleges and incorporates herein the allegations contained in the preceding

paragraphs of this Complaint above as if fully restated.


                                             224.


       At all times relevant, the individual Defendants were employees/ agents ofBartow County,

Defendant Millsap, BCSO, and/or CorrectHealth, acting in the course and scope of their

employment/agency. As such, Defendants Bartow County, Defendant Millsap, BCSO, and

CorrectHealth are liable for their negligence under the doctrine ofRespondeat Superior.


                                             225.


       The injuries sustained by Mr. Duncan were a direct and proximate result of Defendants'

negligent conduct, specifically their failure to appropriately assess, monitor, diagnose, respond to

and manage Mr. Duncan's evolving cardiac problem. These Defendants were negligent in their

care and treatment of Mr. Duncan. Defendants' negligence includes at least the following:


   A. Failing to diagnose Mr. Duncan as having an evolving cardiac problem;

   B. Failing to properly evaluate Mr. Duncan's changing condition;

   C. Failing to properly assess and evaluate Mr. Duncan as having a heart attack and/or being

       at increased risk of having a heart attack;



                                                56
  Case 4:24-cv-00012-WMR             Document 1-1        Filed 01/10/24      Page 57 of 141




   D. Failing to promptly report signs and symptoms of an emerging cardiac condition to a

       cardiologist;

   E. Failing to promptly, but no later than September 1, 2022 when Mr. Duncan reported

       experiencing chest pain and shortness of breath, refer him to a cardiologist for cardiac

       workup to properly evaluate his emerging cardiac condition;

   F. Failing to seek and/or obtain timely review of Mr. Duncan's signs and symptoms by a

       cardiologist;

   G. Allowing Mr. Duncan's evolving cardiac condition to be untreated for weeks without

       proper intervention and treatment;

   H. Failing to provide timely and proper cardiac intervention to Mr. Duncan;

   I. Failing to immediately procure a Life Vest for Mr. Duncan upon his return to Bartow

       County Jail from Cartersville Medical Center.

                                              226.


     The standard of care required Bartow County, Sheriff Millsap, and Correct Health and their

nurses, nurses' aides, nurse practitioners, medical doctors and other staffand medical professionals

involved in the care of Mr. Duncan to:


   J. Diagnose Mr. Duncan as having an evolving cardiac problem;

   K. Properly evaluate Mr. Duncan's changing condition;

   L. Properly assess and evaluate Mr. Duncan as having a heart attack and/or being at increased

       risk of having a heart attack;

   M. Promptly report signs and symptoms ofan emerging cardiac condition to a cardiologist;




                                                57
  Case 4:24-cv-00012-WMR             Document 1-1        Filed 01/10/24       Page 58 of 141




   N. Promptly, but no later than September 1, 2022 when Mr. Duncan reported experiencing

       chest pain and shortness ofbreath,refer him to a cardiologist for cardiac workup to properly

       evaluate his emerging cardiac condition; and

   0. Immediately procure a Life Vest for Mr. Duncan upon his return to Bartow County Jail

       from Cartersville Medical Center.

                                              227.


       The failure of Defendants to adhere to the standard of care as outlined above resulted in

significant injuries and pain and suffering to Mr. Duncan.       As a direct result of Defendants'

negligence, Mr. Duncan suffered a heart attack and subsequent heart damage requiring lifelong

medical therapy and potentially a significant reduction in life expectancy and quality of life.


                                              228.


       Had Defendants adhered to the standard of care as outlined above, Mr. Duncan would not

have experienced his heart attacks and would not have suffered the severe heart damage that he

did.


                                              229.


       Defendants' Bartow County, Millsap, CorrectHealth, Nowlin, and Joseph were also

negligent in their supervision of their nurses, nurses' aides, nurse practitioners, medical doctors

and other staff and medical professionals involved in the care of Mr. Duncan's care (such as the

other Defendants), with whom they had delegated aspects oftheir inmates' care. Such negligence

includes but is not limited to the assignment ofpatient management without immediate supervision

of residents and staff lacking expertise to properly assess, diagnose, monitor and manager their

inmates/patients' condition. Mr. Duncan's injuries were proximately caused by both the active


                                                58
  Case 4:24-cv-00012-WMR            Document 1-1           Filed 01/10/24   Page 59 of 141




and passive negligence of Defendants Bartow County, Millsap, CorrectHealth, Nowlin, and

Joseph.


                                             230.


       The negligence ofDefendants included the failure to promptly and accurately communicate

their Mr. Duncan's clinical presentation to the appropriate decision makers.


                                             231.


       Pursuant to 0.C.G.A. § 9-11-9.1, Plaintiff attaches as Exhibit 2 and incorporates by

reference herein the affidavit of Emil A. Dameff, M.D., CCHP, a duly qualified physician

competent to testify in this matter, alleging at least one act of negligence by each medical

defendant, and thus fulfilling the requirements of0.C.G.A. § 9-11-9.1.


                                             232.


       Pursuant to 0.C.G.A.§ 9-11-9.1, Plaintifffurther attaches as Exhibit 3 and incorporates by

reference herein the affidavit of Joshua M Willis, MD,FACC,FSCAI, a duly qualified physician

competent to testify in this matter, alleging at least one act of negligence by each medical

defendant, and thus fulfilling the requirements of0.C.G.A. § 9-11-9.1.


                            COUNT VI
     (DEFENDANTS BARTOW COUNTY,1VIILLSAP, AND CORRECTILEALTH)
       CLAIM UNDER GEORGIA LAW FOR NEGLIGENT CREDENTIALING

                                             233.


       Plaintiff realleges and incorporates herein the allegations contained in the preceding

paragraphs of this Complaint above as if fully restated.


                                             234.

                                                59
  Case 4:24-cv-00012-WMR             Document 1-1          Filed 01/10/24     Page 60 of 141




       Defendants Bartow County, Millsap, and CorrectHealth were negligent in their

credentialing of various practitioners, physicians, agents and employees who provided care to Mr.

Duncan, and in their continued retention and failure to supervise such physicians, practitioners,

agents, and employees.


                                              235.


       Defendants Bartow County, Millsap, and CorrectHealth were negligent in failing to train

and/or otherwise establish that various practitioners responsible for and involved in the care of Mr.

Duncan had the requisite knowledge and expertise to attend, diagnose and treat such a

patient/inmate without hands-on supervision and in failing to have adequate and appropriate

safeguards to ensure that the treatment of life-threatening conditions and/or conditions being the

knowledge and expertise of their nurses, medical assistants and technicians and/or staff were

handled and addressed by a physician or other appropriate medical personnel, and in such other

and further acts of negligence as may be shown at trial.


                                              236.


       As a result of the negligence of Defendants Bartow County, Millsap, and CorrectHealth,

Mr. Duncan suffered medical expenses, physical injuries, pain and suffering, and mental and

emotional distress.


                                       COUNT VII
                                   (ALL DEFENDANTS)
                                  ORDINARY NEGLIGENCE

                                              237.


       Plaintiff realleges and incorporates herein the allegations contained in the preceding

paragraphs ofthis Complaint above as if fully restated.

                                                60
  Case 4:24-cv-00012-WMR            Document 1-1          Filed 01/10/24    Page 61 of 141




                                             238.


       Defendants, whether themselves or through their agents, employees, or personnel, had a

duty to exercise ordinary and reasonable care in their provision of services to Mr. Duncan.


                                            239.


       The Defendants failed to exercise ordinary and reasonable care in their provision of

services to Mr. Duncan.


                                             240.


       AS a direct and proximate result of the ordinary negligence committed by the Defendants,

whether themselves directly or through their agents,employees,or personnel, Mr.Duncan suffered

injuries, physical and mental pain and suffering, including, without limitation, the pain and

suffering caused by the events laid out above.


                                             241.


       Accordingly, Plaintiff is entitled to recover damages for the pain and suffering, medical

expenses, and loss past and future earnings incurred as a result of the ordinary negligence of the

Defendants.


                          COUNT VIII
    (DEFENDANTS BARTOW COUNTY,MILLSAP,AND CORRECTHEALTH)
                          NUISANCE

                                             242.


       Plaintiff realleges and incorporates herein the allegations contained in the preceding

paragraphs of this Complaint above as iffully restated.




                                                 61
  Case 4:24-cv-00012-WMR             Document 1-1        Filed 01/10/24      Page 62 of 141




                                              243.


       Defendants have continuously and knowingly provided inadequate medical care services

to its inmates.


                                              244.


       Defendants had knowledge that the failure to provide adequate medical services to inmates

constituted a dangerous condition that would cause imminent and likely harm to inmates.


                                              245.


        Despite such knowledge, Defendants failed to take any action to correct the conditions,

thereby maintaining conditions in which inadequate medical care continued to be provided.


                                              246.


        The Defendants failure to take corrective action, and thereby continuing to provide

inadequate medical, and with knowledge of imminent and likely harm to inmates, exceeds the

concept of mere negligence.


                                              247.


        Defendants actions, and failure to take corrective action constituted a continuing nuisance.


                                              248.


        As a direct and proximate result of the continuing nuisance created by Defendants, Mr.

Duncan suffered medical expenses, physical injuries, pain and suffering, and mental and emotional

distress.




                                                62
   Case 4:24-cv-00012-WMR            Document 1-1          Filed 01/10/24    Page 63 of 141




                                    •  COUNT IX
                                   (ALL DEFENDANTS)
                                   PUNITIVE DAMAGES

                                             249.


       Plaintiff realleges and incorporates herein the allegations contained in the preceding

paragraphs of this Complaint above as if fully restated.


                                             250.


       Defendants' conduct as described above was reckless, willful, and wanton, and

demonstrates a conscious indifference to the consequences of his actions and entitles Plaintiff to

an award of punitive damages.


                                COUNT X
                          (ALL DEFENDANTS)
RECOVERY OF EXPENSES OF LITIGATION PURSUANT TO 0.C.G.A.§ 13-6-11 and
            42 U.S.C. & 1988 AND OTHER APPLICABLE LAWS

                                             251.


       Plaintiff realleges and incorporates herein the allegations contained in the preceding

paragraphs of this Complaint above as iffully restated.


                                             252.


       Defendants have acted in bad faith, have been stubbornly litigious and have caused the

Plaintiff unnecessary trouble and expense in the defense of this action.


                                             253.


       Plaintiff is entitled to attorney's fees and costs pursuant to 42 U.S.C. § 1988 for having to
institute this proceeding.



                                                63
  Case 4:24-cv-00012-WMR             Document 1-1       Filed 01/10/24      Page 64 of 141




                                        JURY DEMAND


                                            254.


      Plaintiff hereby demands that all issues be tried by a jury oftwelve persons.




                                    RELIEF REQUESTED


       WHEREFORE, Plaintiff prays that this Court award the following relief from

Defendants:


   a) An award of compensatory damages in an amount to be proven at trial, including

      interest;

   b) An award of punitive damages in favor ofPlaintiffs against all Defendants;

   c) Reasonable costs and attorneys' fees pursuant to 42 U.S.C. § 1988 and Georgia law;

   d) All costs of court;

   e) Plaintiff have a trial by jury; and

       Such other and further relief as the Court may deem just and proper.



      This 13th day ofDecember,2023.


                                                     PAYNE & DU TOIT
                                                     /s/ Catherine Payne

2275 Marietta Blvd NW                              Catherine D. Payne
Ste. 270-245                                       Georgia Bar No. 463911
Atlanta, GA 30318-2019                             Anne Marie du Toit
404-850-5000                                       Georgia Bar No. 213320
cpayne@pdtfirm.com                                 Attorneysfor Plaintiff
adutoit@pdtfirm.com



                                              64
Case 4:24-cv-00012-WMR             Document 1-1   Filed 01/10/24   Page 65 of 141




        EXHIBIT 1
                    To Complaint
  Case 4:24-cv-00012-WMR           Document 1-1         Filed 01/10/24    Page 66 of 141

                             To PAYNE
                                & DU TOIT
                                   2275 Marietta Blvd NW
                                         Ste. 270-245
                                   Atlanta, GA 30318-2019
                                      www.pdtfirm.com
 Catherine D. Payne                 Phone: 404-850-5000                  cpayne@pdtfirm.com
                                     Fax: 404-777-5807


Via Certified Mail, Return Receipt Requested

                                        July 21, 2023
Bartow County                                  Steve Taylor
c/o Bartow County Board of Commissioners       Bartow County Commissioner
135 W Cherokee Ave                             135 W Cherokee Ave
Suite 251                                      Suite 251
Cartersville, GA 30120                         Cartersville, GA 30120


Kathy Gill                                     Peter Olson
Bartow County Clerk                            Bartow County Administrator
135 W Cherokee Ave                             135 W Cherokee Ave
Suite 251                                      Suite 251
Cartersville, GA 30120                         Cartersville, GA 30120


W. Clark Millsap, Sheriff                      Bartow County Sheriffs Office
Bartow County Sheriff's Office                 PO Box 476
104 Zena Drive                                 104 Zena Drive
Cartersville, GA 30121                         Cartersville, GA 30121


Bartow County Jail                             Georgia Department of Administrative Services
104 Zena Drive                                 Risk Management Division
Cartersville, GA 30121                         200 Piedmont Avenue SE
                                               Suite 1804, West Tower
                                               Atlanta, GA 30334
CorrectHealth Bartow, LLC
c/o CT Corporation System
106 Colony Park Drive Ste. 800-B
Cumming, GA,30040-2794
     Case 4:24-cv-00012-WMR             Document 1-1     Filed 01/10/24     Page 67 of 141

Ante Litem Pursuant to 0.C.G.A. § 36-11-1 and 50-21-26
July 21, 2023
Page 2

                         ANTE LITEM NOTICE(NOTICE OF CLAIM)
                         PURSUANT TO 0.C.G.A.44 36414,50-21-26

To Whom It May Concern:
        Please be advised that this firm represents James John Duncan, Jr. This letter shall serve
as notice of personal injury claims arising out of the events that occurred while Mr. Duncan was
in custody at the Bartow County Jail located at 104 Zena Dr, Cartersville, GA 30121 from
approximately August 15, 2022 through November 15, 2022. During the time my client was in
custody, Bartow County Jail employees, staff, and agents failed to provide him with proper
medical attention which resulted in my client suffering significant and permanent injuries as
described more fully below. Mr. Duncan repeatedly and continuously reported symptoms ofchest
pain, shortness of breath, arm numbness, and other symptoms. Despite being fully aware that he
was experiencing symptoms ofcardiac distress and that failure to provide proper medical attention
would lead to a heart attack and permanent heart damage, employees and staff at the Bartow
County Jail did nothing.
        After weeks ofno one listening to him while his symptoms were getting worse to the point
of being unbearable, Mr. Duncan had no choice but to call his longtime girlfriend at home to have
her send an ambulance. His attempt was shot down when a Bartow County Jail employee told the
911 dispatcher that he was "fine" and did not need an ambulance. Bartow County Jail finally
provided its own transport to Piedmont Cartersville Medical Center that same day where it was
confirmed that Mr. Duncan had suffered major heart attacks and sustained permanent, severe
cardiac damage. The heart attack, heart damage,shortened life span,and other injuries would have
been prevented had he received proper medical care while at Bartow County Jail.
       Pursuant to 0.C.G.A. § 36-11-1 and 50-21-26, this letter provides notice to the governing
authority of Bartow County, Bartow County Sheriff's office, Bartow County Sheriff W. Clark
Millsap and CorrectHealth Bartow LLC ofthe personal injury claims of Mr. Duncan.
I.      Timeline of Events
       The following is a timeline and description of some of the pertinent events out of which
Mr. Duncan's injuries arose:

       1. On August 15,2022, Mr. Duncan went through the intake process at Bartow County Jail.
          His initial blood pressure reading was 168/100 and a repeat reading was 162/98. It was
          documented that he was taking Norvasc 10mg for HTN.

       2. On August 18, 2022, Mr. Duncan submitted a written medical request informing the
          Bartow County Jail staff and medical team of his hypertension and need for blood
          pressure medication. Bartow County Jail Nurse Williams responded in writing on
          August 20, 2022 that "[he was] currently on hypertension medication...."




                                                     2
  Case 4:24-cv-00012-WMR                Document 1-1      Filed 01/10/24       Page 68 of 141

Ante Litem Pursuant to 0.C.G.A. § 36-11-1 and 50-21-26
July 21, 2023
Page 3

      3. On September 1, 2022, LPM Madison Bankston documented in Mr. Duncan's medical
         file that he reported to the infirmary complaining of chest pain and shortness of breath
         for the past two days.

      4. On September 1, 2022 Mr. Duncan submitted a written medical request informing the
         Bartow County Jail staff and medical team that he was experiencing chest pains and
         shortness of breath. Bartow County Jail Nurse Bankston responded in writing on
         September 1,2022 with:"Seen in medical today. 1 have you scheduled to follow up with
         our medical provider next week. Please continue taking medications as prescribed and
         notify staff if symptoms begin again."

      5. On September 8,2022, NP Charlotte Hall documented in Mr. Duncan's medical file that
         he complained of chest pain in the morning when he came to the medcart to get his
         medications and that it worsens when he breathes.

      6. On September 23, 2022 Mr. Duncan submitted a written medical request informing the
         Bartow County Jail staff and medical team that he was experiencing chest pain and
         numbness in his left arm, that he could not feel his hand, and that the pain awoke him
         from sleep. He further informed them that he had been told by Jail staff and medical that
         it was not a heart problem and he expressed concern about something happening,
         especially if it could be prevented. On September 23, 2022, Nurse Joseph responded in
         writing with: "you are on pain med and you have a chronic care clinic visit scheduled to
         see the doctor."

      7. On September 29, 2022, Mr. Duncan submitted a written medical grievance informing
         the Bartow County Jail staff and medical team that he had been having chest pains and
         that he did not know why the problem was not being addressed. He further apologized
         "for any inconvenience." Nurse Joseph responded on the same day in writing with "you
         have labs ordered and you have a chronic care visit scheduled with the doctor. Explain
         the chest pains in more detail. What is it you are wanting? If you feel it is a heart attack,
         then tell the tower. Do you need to be in medical? You have been caught hoarding meds.
         You are in your 40's and on a few meds, do not be laying down after eating. Get some
         activity in. Let the tower know if you are just hurting so ba[d1 that you cannot wait until
         the scheduled doctor's visit."

      8. On October 5, 2022, Mr. Duncan submitted a written medical request informing the
         Bartow County Jail staff and medical team that he thought perhaps his blood pressure
         medication might need to be changed and that was why his chest was hurting. Nurse
         Shirley responded on the same day in writing with "you only take it 42% of the time. I
         will place you on BP checks for a couple of days." LPN Christina Catron noted in his
         medical records that he had an elevated blood pressure reading at his vistal sign checks
         but that no new orders were entered at the time, and that med compliance was 37%.

      9. On October 7, 2022, Mr. Duncan submitted a written medical request informing the
         Bartow County Jail staff and medical team that he had blurry vision, and that his eyes

                                                     3
   Case 4:24-cv-00012-WMR               Document 1-1     Filed 01/10/24       Page 69 of 141

Ante Litem Pursuant to 0.C.G.A. § 36-11-1 and 50-21-26
July 21, 2023
Page 4

          were burning and he looked like he had busted blood vessels in them. Nurse Bankston
          responded on the same day in writing with "The medical provider started you on
          antibiotic eye drops. You can use them twice daily at the pill cart."

      10.On October 17, 2022, Mr. Duncan submitted a written medical request informing the
         Bartow County Jail staffand medical team that he believed his blood pressure medication
         was causing severe chest pains so he stopped taking it and then when he started taking it
         again, the severe chest pain returned. He said his pain was not as bad when he was not
         taking the blood pressure medication. He further informed them that he did need to take
         blood pressure medication but that he wanted to change medications because ofthis. He
         also asked when his provider appointment was to take place. Nurse Bankston responded
         on the same day in writing with "I've got you down for more vital sign checks this week,
         scheduled to see the medical provider and you have a chronic care appointment coming
         up as well."

      1 1. On October 18, 2022,LPN Rebecca Hamilton documented in Mr. Duncan's medical file
          that he returned to medical at 11:34 complaining of chest pain. His BP was noted to be
          209/124 with manual reading of 196/122. She wrote that he refused to take his Norvasc
           and stated that it made his chest hurt. She notified the provider and received orders to
           perform an EKG and that pt was on OBS in infirmary.

      12.On October 18,2022,LPN Rebecca Hamilton documented in Mr. Duncan's medical file
         that he returned to medical at 12:28 and had decreasing blood pressure, and reported no
         chest pain at the time. She indicated he wanted to go back to the dorm. She advised Mr.
         Duncan to notify medical if issues persist or worsen.

      13.On October 18, 2022, LPN Christina Catron documented in Mr. Duncan's medical file
         that he returned to medical at 22:00 with complaints of chest pain and that he was
         complaining about his medication. BP 186/122 103. She further noted that he "agreed
         to take the Norvasc 10MG x 1 dose and Pepcid 20MG x 1 dose" and that she performed
         an EKG and called the results into the on-call provider who informed her that he should
         go to the ER for evaluation.

      14.On October 19, 2022 at 21:39, LPN Sheila Williams documented the following in Mr.
         Duncan's medical file: Inmate came back to medical with do chest pain burning ,walked
         in steady gait no guarding of arm or clinching of chest V/S were assessed 196/125,18,
         97.4, 110,100 %, then, v/s were taken manually 200/110 and call placed to Mika NP
         informed her of inmates condition and complaint , New orders for Norvasc 10 mg po,
         and nitro si and inmate is noncompliant with medications and states that he don't take
         them because his chest hurts ifhe takes them and if he don't take them. We informed him
         that the Dr. has ordered him medications, he states that he is not taking them he wants to
         go to the hospital, and if we don't send him to the hospital he will call his wife and tell
         her to call 911 to take. Inmate continued to yell and holler at the officer, and nurses that
         we are going to let him die. Inmate stormed out of medical cursing that he will not take
         his medication and his wife will call 911 for him.

                                                     4
   Case 4:24-cv-00012-WMR                Document 1-1       Filed 01/10/24      Page 70 of 141

Ante Litem Pursuant to 0.C.G.A. § 36-11-1 and 50-21-26
July 21, 2023
Page 5



          Despite the progressing symptoms experienced by Mr. Duncan—of which everyone at
          Bartow County Jail was aware, no one provided Mr. Duncan with the treatment he
          needed. They repeatedly ignored him and told him to go back to his cell. Left with no
          other option, Mr. Duncan called his girlfriend of20 years and requested that she call 911
          to get him an ambulance.

          911 dispatch called Bartow County Jail around 9:45pm that evening and the following
          conversation ensued between the dispatcher and the Bartow County Jail staff that
          answered:

                Bartow County Jail: This is [inaudible]

                911 Dispatcher:          Hey,it's Erica in Dispatch

                Bartow:                  Yeah

                911: Hey.                We've got a lady, she's called in, Floyd patched her through.
                                         She says her husband is...

                Bartow:                  James Duncan

                911:                     Uh huh

                Bartow:                  He fine and he does not need an ambulance.

                911:                     Ok. She said he's having severe chest pains, his blood
                                         pressure is through the roof and nobody will help him.

                Bartow:                  No. It's already been checked by medical. It's slightly
                                         elevated. When they went to give him medications he
                                         refused them because he wants to ...[inaudible] ... go to the
                                         hospital.

          After additional pleas by Mr. Duncan, the Sheriffs office finally transported him to
          Piedmont Cartersville Hospital that night. He arrived at approximately 10:25pm and it
          was quickly determined by ER staffthat he was having a heart attack with 100% blockage
          in his left anterior descending artery. Emergency surgery was performed to place stents
          and during this surgery it was further determined that there was also blockage of his right
          coronary artery. A subsequent surgery was scheduled for a few days later to treat the
          second blockage but Mr. Duncan began experiencing a second heart attack which
          required the surgery to be completed sooner. His right coronary artery was treated by
          stent placement. Further evaluation revealed ischemic cardiomyopathy and an ejection
          fraction of20-34%.



                                                     5
   Case 4:24-cv-00012-WMR               Document 1-1        Filed 01/10/24      Page 71 of 141

Ante Litem Pursuant to 0.C.G.A. § 36-11-1 and 50-21-26
July 21,2023
Page 6

       15.On October 21, 2022, Mr. Duncan was discharged from the hospital. The hospital
          informed Bartow County Jail that he required a Life Vest. The Bartow County Jail never
          procured one for him.

       16.On November 12,2022, Mr. Duncan returned to the Emergency Department at Piedmont
          Cartersville Hospital to be evaluated for possible heart failure after experiencing episodes
          of syncope. He was discharged on November 15, 2022. His Ejection Fraction was 30-
          35%.


        Liability of Bartow County, Bartow County Sheriff's Office, Bartow County Sheriff
        W.Clark Millsap and CorrectHealth Bartow LLC
      Bartow County, Bartow County Sheriff's Office, Bartow County Sheriff W. Clark Millsap
 and CorrectHealth Bartow LLC, and their nurses, nurses' aides, nurse practitioners, medical
 doctors and other staff and medical professionals involved in the care of Mr. Duncan failed to:

    A. Diagnose Mr. Duncan as having an evolving cardiac problem and being in cardiac distress;
    B. Properly evaluate Mr. Duncan's changing condition;
    C. Properly assess and evaluate Mr. Duncan as having a heart attack and/or being at increased
       risk of having a heart attack;
    D. Promptly report signs and symptoms of an emerging cardiac condition to a cardiologist;
    E. Promptly, but no later than September 1, 2022 when Mr. Duncan reported experiencing
       chest pain and shortness ofbreath,refer him to a cardiologist for cardiac workup to properly
       evaluate his emerging cardiac condition; and
    F. Immediately procure a Life Vest for Mr. Duncan upon his return to Bartow County Jail
       from Cartersville Medical Center.

         The failure to adhere to the standard ofcare as outlined above resulted in significant injuries
 and pain and suffering to Mr. Duncan. Had they adhered to the standard ofcare as outlined above,
 Mr. Duncan would not have experienced his heart attacks and would not have suffered the severe
 heart damage that he did. He now has significant physical limitations due to his heart damage and
 his lifespan has been shortened. He is now at a high risk for sudden cardiac death and a 50% risk
 of dying in the next five years as a result of the acts and omissions of Bartow County, Bartow
 County Sheriff's office, Bartow County Sheriff W.Clark Millsap and CorrectHealth Bartow LLC,
 as wells as their employees, agents, and representatives.
         Additional information on pertinent events and the causal relationship between these events
 and Mr.Duncan's injuries can be found in the Affidavit ofEmil A. Dameff, M.D.,CCHP,attached
 hereto as Exhibit 1, and the Affidavit of Joshua M Willis, MD,FACC,FSCAI, attached hereto as
 Exhibit 2. Both Affidavits are incorporated as if stated fully herein.
        As evidenced by Mr. Duncan's records and the Affidavits attached hereto, all entities
(Bartow County, Bartow County Sheriff's office, Bartow County Sheriff W. Clark Millsap and
 CorrectHealth Bartow LLC and their agents and employees)were well aware that Mr. Duncan was
 experiencing symptoms ofcardiac distress and required swift medical intervention. And they were

                                                     6
   Case 4:24-cv-00012-WMR               Document 1-1        Filed 01/10/24    Page 72 of 141

Ante Litem Pursuant to 0.C.G.A. § 36-11-1 and 50-21-26
July 21, 2023
Page 7

further aware that failing to provide the necessary medical intervention in a situation like Mr.
Duncan's can — and did in his case—lead to heart attack, heart damage, and shortened life span.
        As explained above and in the affidavits attached hereto, the acts or omissions which
caused Mr. Duncan's loss include, but are not limited to:(1)failing to provide James Duncan, Jr.
prompt medical care,(2) delaying James Duncan, Jr.'s medical treatment during a known medical
emergency, and (3) providing James Duncan, Jr. medical care that deviated form that degree of
skill and care which, under similar conditions and like surrounding circumstances, is ordinarily
employed by medical doctors, nurses, medical assistants, and technicians. For a more thorough
explanation of the acts and omissions which caused the loss at issue, please see the Affidavit of
Emil A. Dameff, M.D., CCHP,attached hereto as Exhibit 1, and the Affidavit ofJoshua M Willis,
MD, FACC, FSCAI, attached hereto as Exhibit 2. Mr. Duncan further alleges that his injuries
were caused by the policies and procedures of Bartow County, Bartow County Sheriffs office,
Bartow County Sheriff W. Clark Millsap and CorrectHealth Bartow LLC, of:(1)failing to timely
respond to medical issues, (2) failing to timely respond to known medical emergencies, (3)
allowing overcrowding and understaffing at Bartow County Jail, (4) failing to properly retain,
train, and supervise medical personnel, (5) and failing to provide sufficient medical staff and
equipment at Bartow County Jail.
III.    Amount of Damages Sought
       As a result of the above injuries caused, Mr. Duncan is hereby demanding $15,000,000
from Bartow County, Bartow County Sheriffs Office, Bartow County Sheriff W. Clark Millsap
and CorrectHealth Bartow LLC.
IV.     Conclusion
       Pursuant to 0.C.G.A. § 36-11-1 and 50-21-26, this letter provides notice to the governing
authority of Bartow County, Bartow County Sheriff's office, Bartow County Sheriff W. Clark
Millsap and CorrectHealth Bartow LLC regarding the above-referenced claims and demands for
compensation, including attorneys' fees and litigation expenses, and punitive damages where
appropriate. Pursuant to 0.C.G.A. § 36-11-1 and 50-21-26, this notice shall constitute an offer of
compromise, which if not settled by Bartow County, Bartow County Sheriffs office, Bartow
County Sheriff W. Clark Millsap and CorrectHealth Bartow LLC within 30 days from its
presentation, will not be binding on our client, who has the right to seek additional and further
damages at trial.

                                 Respectfully submitted,
                                                  PAYNE & DU TOIT


                                                  Catherine D.Payne, Esq.

                                                  Attorneysfor Claimant James Duncan, Jr.


                                                     7
Case 4:24-cv-00012-WMR   Document 1-1   Filed 01/10/24   Page 73 of 141




                    EXHIBIT 1
 Case 4:24-cv-00012-WMR              Document 1-1        Filed 01/10/24      Page 74 of 141




STATE OF FLORIDA

COUNTY OF CHARLOTTE

                         AFFIDAVIT OF EMIL A.DAMEFF,M.D.,CCHP

     I, Emil A. Dameff, M.D., CCHP, personally appeared before the undersigned officer duly

authorized to administer oaths in the State of Florida, who having been duly sworn, depose and

state as follows:

                                                 1.

     My name is Emil A. Dameff, M.D.,CCHP. I am over the age of twenty-one years, I suffer

from no legal disabilities, and I make this Affidavit under oath based upon my own personal

knowledge and review of the medical records of James John Duncan ("Mr. Duncan"), as well as

my own professional knowledge,education, training, and experience outlined in my CV,attached

hereto and incorporated herein by reference as Exhibit A.I am competent in all respects to testify

regarding the matters set forth herein.

                                                2.

      After receiving my undergraduate degree from Southern College in Collegedale, Tennessee,

I graduated with a medical degree from the University of Miami in 1991 and completed my

internship in Internal Medicine at the University of Florida in 1992. I have been continuously

licensed by the appropriate regulatory agency as a physician to practice medicine in the state of

Florida since 1992 and have been continuously practicing medicine in Florida since that time. I

am actively engaged in private practice that includes rendering care and treatment to patients at

ShorePoint Health Punta Gorda (Formerly Riverside), where I have been regularly and actively

working full time since December 1999. I am on the ShorePoint Health Punta Gorda Hospital

Board ofTrustees and am currently serving as President
 Case 4:24-cv-00012-WMR              Document 1-1         Filed 01/10/24        Page 75 of 141




                                                  3.

     In February of 1993,I began my career in correctional medicine with the Florida Department

of Corrections, working as a Clinic Coordinator and institutional Chief Health Officer before

becoming a Regional Director of Health Care for the State of Florida. From 2001-2009 I was the

Regional Medical Director for Wexford Health Sources Inc, heading multiple projects for the

company, including development of the Computer-Assisted Reception Process(CARP)for the

Florida Department ofCorrections; a statewide Electronic Medical Record implementation for the

Mississippi Department of Corrections; and the ongoing expansion of telemedicine for the West

Virginia Division of Corrections. From 2009 to 2015 I served as the Corporate Medical Affairs

Director for Wexford Health, where I lead the team responsible for establishing the company's

medical protocols and directs the clinical decision making ofour field Regional Medical Directors

and staffs. Since 2015 I have been regularly serving as a consultant to correctional health care

companies and providing medical services to inmates. I spend approximately 32 hours per week

throughout the year directing medical care for and providing medical care directly to inmates. As

a part of my daily responsibilities, I supervise and oversee the clinical practice of nursing

professionals in jails and prisons, including but not limited to registered nurses, licensed practical

nurses, and nurse practitioners.



                                                  4.

     I have been licensed as a Certified Correctional Health Professional since 2011,and currently

maintain this license.




                                                  2
 Case 4:24-cv-00012-WMR                Document 1-1      Filed 01/10/24       Page 76 of 141




                                                 5.

     I have actual professional knowledge and experience in the area of practice in which my

opinions are given as a result of having been regularly engaged in the active practice of such area

ofspecialty of my profession since 1992 and have been specifically providing medical services to

inmates since 1993. Furthermore,for greater than three ofthe last five years prior to the negligence

described below, I have been engaged in the active practice of medicine in the correctional health

environment. I have been actively and regularly involved in diagnosing, assessing, planning for

care, and treating inmates in the correctional health environment who suffer from the same or

similar medical conditions as Mr. Duncan while an inmate in the Bartow County Jail.



                                                 6.

     From my background, training, and experience in the care and treatment of prisoners and

inmates, I am familiar with the standards of care applicable to prisons as well as jails similar to

Bartow County Jail. Additionally, as a member of the interdisciplinary care team, I regularly

supervised and instructed nursing professionals in jails and prisons, including but not limited to

registered nurses, licensed practical nurses, nurse practitioners, and others in providing care and

services to jail and prison inmates.



                                                  7.

      Based on my education, training and experience I am familiar with that degree of care and

skill ordinarily exercised by correctional facilities, nurses, nurses' aides, certified nursing

assistants, registered nurses, licensed practical nurses, nurse practitioners, medical doctors, and

others under similar conditions and like surrounding circumstances to those considered in this



                                                 3
 Case 4:24-cv-00012-WMR                 Document 1-1     Filed 01/10/24       Page 77 of 141




Affidavit. More specifically, I have actual professional knowledge and experience in connection

with caring for inmates in a correctional facility, including but not limited to residents with the

medical conditions and diagnoses experienced by Mr. Duncan with sufficient frequency to

establish an appropriate level of knowledge described in this Affidavit. I am competent to give the

opinions contained in this Affidavit.



                                                 8.

     In connection with providing my opinions in this Affidavit, I have reviewed the following

medical records of Mr. Duncan in formulating my opinion:

     A. Correct Health Records

     B. Piedmont Cartersville Hospital Medical Records

      C. Metro Atlanta Ambulance Service Records

     D. Harbin Clinic Records



                                                 9.

     Each of the opinions that I express herein are given to a reasonable degree of medical

probability.



                                                 10.

      As the factual basis for my opinions herein, based upon my review ofthe foregoing medical

records, I have assumed the following facts to be true and the following is a brief overview of

pertinent events that occurred in this matter:




                                                 4
Case 4:24-cv-00012-WMR          Document 1-1        Filed 01/10/24       Page 78 of 141




   A. On August 15, 2022, Mr. Duncan went through the intake process at Bartow County Jail

      in Georgia. His initial blood pressure reading was 168/100 and a repeat reading was

      162/98. It was documented that he takes Norvasc 10mg for HTN.

   B. On August 18, 2022, Mr. Duncan submitted a written medical request informing the

      Bartow County Jail staff and medical team of his hypertension and need for blood

      pressure medication. Bartow County Jail Nurse Williams responded in writing on

      August 20,2022 that "[he was] currently on hypertension medication...."

   C. On September 1, 2022, LPM Madison Bankston documented in Mr. Duncan's medical

      file that he reported to the infirmary complaining of chest pain and shortness of breath

      for the past two days. She further documented: EKG-states sinus rhythm; lung sounds

      clear; heart sounds normal; BP 141/80.

   D. On September 1, 2022 Mr. Duncan submitted a written medical request informing the

      Bartow County Jail staff and medical team that he was experiencing chest pains and

      shortness of breath. Bartow County Jail Nurse Bankston responded in writing on

      September 1,2022 with:"Seen in medical today. I have you scheduled to follow up with

      our medical provider next week. Please continue taking medications as prescribed and

      notify staff ifsymptoms begin again."

   E. On September 8,2022,NP Charlotte Hall documented in Mr. Duncan's medical file that

      he complained of chest pain in the morning when he came to the med-cart to get his

      medications and that it worsens when he breathes.

   F. On September 23,2022 Mr. Duncan submitted a written medical request informing the

      Bartow County Jail staff and medical team that he was experiencing chest pain and

      numbness in his left arm, that he could not feel his hand, and that the pain awoke him


                                              5
Case 4:24-cv-00012-WMR           Document 1-1          Filed 01/10/24       Page 79 of 141




     from sleep. He further informed them that he had been told by Jail staffand medical that

     it was not a heart problem and he expressed concern about something happening,

     especially if it could be prevented. On September 23,2022, Nurse Joseph responded in

     writing with:"you are on pain med and you have a chronic care clinic visit scheduled to

     see the doctor."

  G. On September 29, 2022, Mr. Duncan submitted a written medical grievance informing

     the Bartow County Jail staff and medical team that he had been having chest pains and

     that he did not know why the problem was not being addressed. He further apologized

    "for any inconvenience." Nurse Joseph responded on the same day in writing with "you

     have labs ordered and you have a chronic care visit scheduled with the doctor. Explain

     the chest pains in more detail. What is it you are wanting? If you feel it is a heart attack,

     then tell the tower. Do you need to be in medical? You have been caught hoarding meds.

     You are in your 40's and on a few meds, do not be laying down after eating. Get some

     activity in. Let the tower know if you are just hurting so back that you cannot wait until

     the scheduled doctor's visit."

  H. On October 5, 2022, Mr. Duncan submitted a written medical request informing the

     Bartow County Jail staff and medical team that he thought perhaps his blood pressure

     medication might need to be changed and that was why his chest was hurting. Nurse

     Shirley responded on the same day in writing with "you only take it 42% of the time. I

     Will place you on BP checks for a couple of days." LPN Christina Catron noted in his

     medical records that he had an elevated blood pressure reading at his vistal sign checks

     but that no new orders were entered at the time, and that med compliance was 37%.




                                              6
Case 4:24-cv-00012-WMR           Document 1-1         Filed 01/10/24      Page 80 of 141




   I. On October 7, 2022, Mr. Duncan submitted a written medical request informing the

      Bartow County Jail staff and medical team that he had blurry vision, and that his eyes

      were burning and he looked like he had busted blood vessels in them. Nurse Bankston

      responded on the same day in writing with "The medical provider started you on

      antibiotic eye drops. You can use them twice daily at the pill cart."

   J. On October 17, 2022, Mr. Duncan submitted a written medical request informing the

      Bartow County Jail staffand medical team that he believed his blood pressure medication

      was causing severe chest pains so he stopped taking it and then when he started taking it

      again, the severe chest pain returned. He said his pain was not as bad when he was not

      taking the blood pressure medication. He further informed them that he did need to take

      blood pressure medication but that he wanted to change medications because ofthis. He

      also asked when his provider appointment was to take place. Nurse Bankston responded

      on the same day in writing with "I've got you down for more vital sign checks this week,

      scheduled to see the medical provider and you have a chronic care appointment coming

      up as well."

   K. On October 18,2022,LPN Rebecca Hamilton documented in Mr. Duncan's medical file

      that he returned to medical at 11:34 complaining of chest pain. His BP was noted to be

      209/124 with manual reading of 196/122. She noted that he refused to take his Norvasc

      and stated that it made his chest hurt. She notified the provider and received orders to

      perform an EKG and that pt was on OBS in infirmary.

   L. On October 18,2022,LPN Rebecca Hamilton documented in Mr. Duncan's medical file

      that he returned to medical at 12:28 and had decreasing blood pressure, and reported no




                                              7
Case 4:24-cv-00012-WMR           Document 1-1         Filed 01/10/24       Page 81 of 141




      chest pain at the time. She indicated he wanted to go back to the dorm. She advised Mr.

      Duncan to notify medical if issues persist or worsen.

   M.On October 18, 2022, LPN Christina Catron documented in Mr. Duncan's medical file

      that he returned to medical at 22:00 with complaints of chest pain and that he was

      complaining about his medication. BP 186/122 103. She further noted that he "agreed

      to take the Norvasc 10MG x 1 dose and Pepcid 20MG x 1 dose" and that she performed

      an EKG and called the results into the on-call provider who informed her that he should

      go to the ER for evaluation.

   N. On October 19, 2022 at 21:39, LPN Sheila Williams documented the following in Mr.

      Duncan's medical file: Inmate came back to medical with do chest pain burning,walked

      in steady gait no guarding of arm or clinching of chest V/S were assessed 196/125,18,

      97.4, 110,100 %,then, v/s were taken manually 200/110 and call placed to Mika NP

      informed her of inmates condition and complaint,New orders for Norvasc 10 mg po,

      and nitro si and inmate is noncompliant with medications and states that he don't take

      them because his chest hurts if he takes them and if he don't take them. We informed him

      that the Dr. has ordered him medications, he states that he is not taking them he wants to

      go to the hospital, and if we don't send him to the hospital he will call his wife and tell

      her to call 911 to take. Inmate continued to yell and holler at the officer, and nurses that

      we are going to let him die. Inmate stormed out of medical cursing that he will not take

      his medication and his wife will call 911 for him.

   0. On October 19, 2022, Mr. Duncan was transported to Piedmont Cartersville Medical

      Center where he was diagnosed with acute ST elevation myocardial infarction (STEMI)

      due to 100% occlusion of mid portion of left anterior descending(LAD)coronary artery



                                              8
Case 4:24-cv-00012-WMR           Document 1-1        Filed 01/10/24       Page 82 of 141




     (11C). He received a stent and subsequently experienced a non-ST elevated myocardial

      infarction)(HC)(NSTEMI)on October 20,2022. Further evaluation revealed ischemic

      cardiomyopathy, Ejection Fraction of 20-34%. Medical therapy was initiated for

      treatment of coronary artery disease and ischemic cardiomyopathy. Orders were placed

      for Life Vest (external wearable defibrillator vest) but he did not receive one before he

      was discharged from Cartersville Medical Center on October 21,2022 and was ordered

      to report back to Bartow County Jail.

  P. On October 24, 2022 LPN Patricia Lee at the Bartow County Jail documented in Mr.

      Duncan's medical file that he had returned from the hospital and that he needed a Life

      Vest

  Q. On October 25, 2022 Mr. Duncan reported to the Bartow County Jail infirmary with

      shortness of breath. He was seen by Christina Catron, LPN. He informed her he was

      going to lay down and try to rest. He was returned to Med 4.

  R. On October 28, 2022, NP Kelly Kurtz documented: Infirmary pt s/p hospital visit MI

      with stent placement supposed to get a life vest. Nurse Kurtz further noted: Needs

      cardiology consult life vest in the works get all medical records from last hospital

      stay...s/p MI with stents, life vest and cardiology get records from hospital. Fu MD in

      14 week.

  S. On November 9, 2022, Phillip Nowlin, MD documented: CCC HTN MI, was in the

      hospital. He got out of the hospital 10-23-22. It was recommended that he have a life

      vest.

   T. On November 12,2022, Mr. Duncan was sent to the Emergency Department at Piedmont

      Cartersville Hospital. LPN Jennifer Pulido documented that his roommate notified her


                                              9
Case 4:24-cv-00012-WMR             Document 1-1         Filed 01/10/24      Page 83 of 141




         that Mr. Duncan had fallen when he stood up. When Nurse Pulido arrived in his room,

         he was sitting on the bed, diaphoretic and pale. BP 73/53, 54,95%,97.1. She notified

         security to contact EMS for transport to Piedmont Cartersville Hospital. She contacted

         S. Hatfield for orders.

     U. On November 13, 2022 at 8:00, LPN Jennifer Pulido documented that she contacted

         Piedmont Cartersville and spoke to a nurse in the ER who informed Nurse Pulido that

         Mr. Duncan was still I the ER but would be transferred to a room for admission as soon

         as one was available. The doctor had not seen him that morning.

     V. On November 13, 2022 at 8:00, LPN Patricia Lee documented that Mr. Duncan was to

         be admitted to Cartersville Medical Center for possible heart failure. He was readmitted

         to Piedmont Cartersville Medical Center for evaluation of syncope. He was discharged

         on November 15, 2022 with the following diagnoses: vasovagal syncope; transient

         hypotension; volume depletion; coronary disease status post stent; chronic combined

         systolic and diastolic heart failure with an Ejection Fraction of 30-35%.



                                                 1 1.

     Based on my education, training, experience and the facts contained in the records I

reviewed, it is my opinion that Bartow County and Correct Health and their nurses, nurses' aides,

nurse practitioners, medical doctors and other staff involved in the care of Mr. Duncan, violated

the standard of care and failed to exercise that degree of care and skill ordinarily exercised by

medical professionals in the correctional health environment generally under the same or similar

conditions and like surrounding circumstances in the care and treatment of Mr. Duncan.




                                                10
  Case 4:24-cv-00012-WMR                Document 1-1       Filed 01/10/24      Page 84 of 141




                                                  12.

     Based upon my review of the medical records and materials described above, and my

education, training, and expertise,it is my professional opinion that the applicable standard ofcare

required the Bartow County and Correct Health staff to monitor, supervise, and care for residents

ofthe correctional facility, including Mr. Duncan.



                                                  13.

      More specifically, it is my opinion that the standard of care required Bartow County and

Correct Health and their nurses, nurses' aides, nurse practitioners, medical doctors and other staff

and medical professionals involved in the care of Mr. Duncan to:

    A. Diagnose Mr. Duncan as having an evolving cardiac problem;

    B. Properly evaluate Mr. Duncan's changing condition;

   C. Properly assess and evaluate Mr. Duncan as having a heart attack and/or being at increased

       risk of having a heart attack;

    D. Promptly report signs and symptoms of an emerging cardiac condition to a cardiologist;

    E. Promptly, but no later than September 1, 2022 when Mr. Duncan reported experiencing

       chest pain and shortness of breath,refer him to a cardiologist for cardiac workup to properly

       evaluate his emerging cardiac condition; and

    F. Immediately procure a Life Vest for Mr. Duncan upon his return to Bartow County Jail

       from Cartersville Medical Center.



                                                  14.




                                                  I
 Case 4:24-cv-00012-WMR             Document 1-1        Filed 01/10/24       Page 85 of 141




     It is my opinion, based on my education, training, experience, and my review of the

aforementioned records, that Bartow County and Correct Health and their nurses, nurses' aides,

nurse practitioners, medical doctors and other staffand medical professionals involved in the care

ofMr. Duncan violated the standard ofcare for nurses, nurses' aides, nurse practitioners, medical

doctors and other staff involved in the care and treatment of Mr. Duncan in at least the following

manners:

   G. Failing to diagnose Mr. Duncan as having an evolving cardiac problem;

   H. Failing to properly evaluate Mr. Duncan's changing condition;

   I. Failing to properly assess and evaluate Mr. Duncan as having a heart attack and/or being

       at increased risk of having a heart attack;

   J. Failing to promptly report signs and symptoms of an emerging cardiac condition to a

       cardiologist;

   K. Failing to promptly, but no later than September 1, 2022 when Mr. Duncan reported

       experiencing chest pain and shortness of breath, refer him to a cardiologist for cardiac

       workup to properly evaluate his emerging cardiac condition;

   L. Failing to seek and/or obtain timely review of Mr. Duncan's signs and symptoms by a

       cardiologist;

   M. Allowing Mr. Duncan's evolving cardiac condition to be untreated for weeks without

       proper intervention and treatment;

   N. Failing to provide timely and proper cardiac intervention to Mr. Duncan;

   0. Failing to immediately procure a Life Vest for Mr. Duncan upon his return to Bartow

       County Jail from Cartersville Medical Center.




                                                 12
  Case 4:24-cv-00012-WMR             Document 1-1        Filed 01/10/24       Page 86 of 141




                                                  15.

     It is my opinion that the failure of Bartow County and Correct Health and their nurses,

nurses' aides, nurse practitioners, medical doctors and other staff and medical professionals

involved in the care of Mr. Duncan's care to adhere to the standard of care as outlined above

resulted in significant injuries and pain and suffering to Mr. Duncan. Had they adhered to the

standard of care as outlined above, Mr. Duncan would not have experienced his heart attacks and

would not have suffered the severe heart damage that he did.



                                                  16.

       This Affidavit is not intended to provide an exhaustive listing of all of the opinions which

I may have concerning the matters at issue in the case and I reserve the right to express additional

opinions based on any additional information which may come to my attention as the case

proceeds. The opinions expressed herein are not intended to and should not be construed to

foreclose or exclude opinions that other negligent acts or omissions and regulatory/statutory

violations may have also occurred or contributed to Mr. Duncan's outcome, but rather is given to

meet the limited requirements of0.C.G.A. §9-11-9.1 to set forth at least one act of negligence for

the Defendants in question.



FURTHER AFF1ANT SAYETH.NAUGHT.




                                                 13
  Case 4:24-cv-00012-WMR             Document 1-1          Filed 01/10/24                 Page 87 of 141




I certify under penalty of law that the foregoing is true and correct.

Signed, this .30        day of _j_       ,2023.



                                               EMIL A. DAMEFF,M.D., CC



SWORN TO AND SUBSCRIBED before me this50 day of                                                   ,2023.




                                                       Imahaimillial.allamd
                                                       ‘                          6a66.1"."6"1116"
                                                                             MINERVA    GONZALEZ         °
                                                                        Notary Public - State of Florida j
NO rARY PUBLIC                        [seal]
                                                           w
                                                         \qpr4
                                                                    if Commission # NH 035819 r
                                                                    / My Comm. Expires Dec 19, 2024
                                                       0   • '' '' Bonded through . National Notary Assn.
                                                            ----
                                                       amorriwwrw                ooamiwormimolwa.




                                                  14
Case 4:24-cv-00012-WMR   Document 1-1   Filed 01/10/24   Page 88 of 141




                    EXHIBIT 2
  Case 4:24-cv-00012-WMR             Document 1-1        Filed 01/10/24      Page 89 of 141




STATE OF GEORGIA

COUNTY OF FULTON

                    AFFIDAVIT OF JOSHUA M WILLIS,MD,FACC,FSCAI

     I, Joshua M Willis, MD,FACC,FSCAI, personally appeared before the undersigned officer

duly authorized to administer oaths in the State of Georgia, who having been duly sworn, depose

and state as follows:

                                                 1.

     My name is Joshua M Willis, MD,FACC,FSCAI. I am over the age of twenty-one years, I

suffer from no legal disabilities, and I make this Affidavit under oath based upon my own personal

knowledge and review of the medical records of James John Duncan ("Mr. Duncan"), as well as

my own professional knowledge, education, training, and experience outlined in my CV,attached

hereto and incorporated herein by reference as Exhibit A. I am competent in all respects to testify

regarding the matters set forth herein.




     I graduated with a medical degree from the Howard University College of Medicine in 2002.

I completed my Internal Medicine Residency at Tulane University in 2005, a Cleveland Clinic

General Cardiovascular Disease Fellowship in 2010, and a University of Florida Interventional

Cardiology Fellowship in 2011. I have been continuously board certified by the American Board

of Internal Medicine in the disciplines of General Cardiovascular Disease and Interventional

Cardiology since 2010 and 2011, respectively. I have been continuously licensed by the

appropriate regulatory agency as a physician to practice medicine since 2002 and have been

specifically licensed to practice medicine in Georgia since 2011 (License No. 66373). 1 am
  Case 4:24-cv-00012-WMR              Document 1-1        Filed 01/10/24      Page 90 of 141




actively engaged in private practice that includes rendering care and treatment to patients at

Wellstar Douglas Hospital, where I have been regularly and actively working full time as an

Interventional Cardiologist and the Medical Director since 2016. As a part of my regular daily

responsibilities, I not only spend approximately 90% of my time engaged in my own clinical

practice caring for cardiac patients, but I also supervise and oversee the clinical practice of other

doctors as well as nursing professionals, including but not limited to registered nurses, licensed

practical nurses, and nurse practitioners.



                                                  3.

     I have actual professional knowledge and experience in the area of practice in which my

opinions are given as a result of having been regularly engaged in the active practice of

interventional cardiology since beginning my General Cardiology Fellowship in 2007.

Furthermore,for greater than three ofthe last five years prior to the negligence described below,I

have been engaged in the active practice of interventional cardiology in Georgia. I have been

actively and regularly involved in diagnosing, assessing, planning for care, and treating cardiac

patients who suffer from the same or similar medical conditions as Mr. Duncan while an inmate

in the Bartow County Jail.



                                                  4.

      From my background, training, and experience in the care and treatment of patients, I am

familiar with the standards of care applicable to patients similar to Mr. Duncan. Additionally, as

a member of the interdisciplinary care team, I have regularly supervised and instructed other

doctors as well as nursing professionals, including but not limited to registered nurses, licensed



                                                  2
   Case 4:24-cv-00012-WMR               Document 1-1      Filed 01/10/24      Page 91 of 141




practical nurses, and nurse practitioners, in providing care and services to patients in need of

cardiac-related medical care and treatment.



                                                  5.

     Based on my education, training and experience I am familiar with that degree of care and

skill ordinarily exercised by nurses, nurses' aides, certified nursing assistants, registered nurses,

licensed practical nurses, nurse practitioners, medical doctors, and others under similar conditions

and like surrounding circumstances to those considered in this Affidavit. More specifically,I have

actual professional knowledge and experience in connection with caring for patients with the

medical conditions and diagnoses experienced by Mr. Duncan with sufficient frequency to

establish an appropriate level of knowledge described in this Affidavit. 1 am competent to give the

opinions contained in this Affidavit.



                                                  6.

     In forming my opinions rendered in this Affidavit, I have relied, in part, on the following

medical literature found in the PubMed search engine:

                       Blood pressure control and primary prevention ofstroke:Summary of
       Reference 1     the recent clinical trial data and meta- analyses Curr Hypertens Rep.
                       2013; 15(6): 559-574. Published online 2013 Oct 25. doi: 10.1007/
                       s11906-013-0401-0 Pub Med ID 24158454

                       Assessment ofCardiovascular Disease Risk:A 2022 Update
       Reference 2
                       Endocrinol Metab Clin North Am 2022 Sep;51 (3):483-509 PMID
                       35963625

                        Withdrawal ofpharmacological treatmentfor heartfailure in patients
       Reference 3      with recovered dilated cardiomyopathy(TRED-HF):an open-label,
                        pilot, randomised trial Lancet 2019 Jan 5;393(10166):61-73 PMID:
                        30429050



                                                 3
   Case 4:24-cv-00012-WMR            Document 1-1         Filed 01/10/24      Page 92 of 141




                       2013 ACCF/AHA guidelinefor the management ofheartfailure: a
       Reference 4     report ofthe
                       American College ofCardiology Foundation/American Heart
                       Association Task Force on Practice Guidelines PMID: 23747642


                                                  7.

     In connection with providing my opinions in this Affidavit, I have reviewed the following

medical records of Mr. Duncan in formulating my opinion:

     A. Correct Health Records(August through November 2022)

     B. Piedmont Cartersville Hospital Medical Records(August through November 2022)

     C. Metro Atlanta Ambulance Service Records

     D. Harbin Clinic Records



                                                  8.

     Each of the opinions that I express herein are given to a reasonable degree of medical

certainty.



                                                  9.

      As the factual basis for my opinions herein, based upon my review ofthe foregoing medical

records, I have assumed the facts contained in this Affidavit to be true.



                                                  10.

      The following is a brief overview of pertinent events that occurred in this matter:

      A. James Duncan is a 45 yr old gentleman with the following CAD risk factors:

             1. Hypertension-poorly controlled

                                                 4
    Case 4:24-cv-00012-WMR                 Document 1-1           Filed 01/10/24         Page 93 of 141




                2. Active tobacco abuse greater than 20 pack year history

                3. Premature Family Hx of Coronary Artery Disease(CAD)

                4. Father-CAD in his 50's

                5. Grandfather CAD in his 40's

                6. Dyslipidemia(bad cholesterol)-untreated

                7. Prior recreational Methamphetamine use

       B. James was in his usual state of health until August 31,2022 when he began complaining

           of chest pain and shortness of breath by way of written correspondence to the Bartow

           County Jail Nursing staff. He sent five messages in total, all with complaints of chest

           pain that was occurring with increasing frequency and severity. Despite his multiple

           CAD risk factors,the only work up that was performed was a 12 lead ECG on September

            1,2022. Unfortunately his chest pain continued to progress. On October 19th, when his

           chest pain was not being addressed he requested that his wife call 911. He was transported

           to Piedmont Cartersville Medical Center where he was diagnosed with an anterior

           STEMI and subsequent ischemic cardiomyopathy.

       C. Below are the nursing notes documenting his worsening chest pain and the timeline of

           response taken directly from the Correct Health Records:1



                1.

Issue ID: 29095688 LastStatus:

Last Assigned to:

Medical



'These portions have been copied and pasted verbatim (including misspellings) directly from the medical records.

                                                         5
  Case 4:24-cv-00012-WMR            Document 1-1        Filed 01/10/24      Page 94 of 141




For 291580: JAMES DUNCAN ZPASS PASS 01 on 8/31/2022 3:49:26 PM Dates and Times are

presented in Eastern Time(US &Canada)

Closed by Nurse Bankston on 9/1/2022 4:09:20 PM None on 9/1/2022 4:09:19 PM

been haveing chest pains short breth today

Submitted by291580: JAMES DUNCAN ZPASS PASS 01 on 8/31/2022 3:49:26PM

Seen in medical today. I have you scheduled to follow up with our medical provider next week.
Please continue taking medications as prescribed and notify staff fi symptoms begin again

Responded by Nurse Bankston on 9/1/2022 4:09:19 PM


             2.

Issue ID: 29338529 Last Status:

Last Assigned to:

Medical

For 291580: JAMES DUNCAN ZPASSPASS 01 on 9/22/2022 8:20:44 PM Dates and Times are
presented ni Eastern Time(US &Canada)

Closed by Nurse Joseph on 9/23/2022 11:18:01 AM None on 9/23/2022 11:17:59 AM

i've been getting random chest pain and numness in my left arm the pain woke me up out of my
sleep,and i couldnt feel my hand i have been to medical 2 times and have been asured that its not
a heart problem ether way i havent been told what the problem is amd it shouldnt be acurring i
dont want to have someting happen to me that could have been provented sincerly james Duncan


Submitted by291580: JAMES DUNCAN ZPASS PASS 01 on 9/22/2022 8:20:44 PM

you are on pain med and you have a chronic care clinic visit scheduled to see the doctor.
Responded by Nurse Josephon 9/23/2022 11:17:59 AM


             3.

Issue ID: 29415805 Last Status:

Last Assigned to:


                                                6
   Case 4:24-cv-00012-WMR            Document 1-1        Filed 01/10/24       Page 95 of 141




Grievance — Medical

For 291580:JAMES DUNCAN ZPASSPASSO1 on 9/29/2022 4:05:33 PM Dates and Times are

presented ni Eastern Time(US &Canada)Closed by Nurse Joseph on 9/29/2022 5:02:22 PM None

on 9/29/2022 5:02:20 PM

been having chest pains dont know why cant get this problum adressed sorry for any inconvenience

Submitted by 291580: JAMES DUNCAN ZPASS PASS 01 on 9/29/2022 4:05:33 PM

you have labs ordered and you have a chronic care visit scheduled with a doctor. explain the chest
pains more in detail, what is it that you are wanting? If you feel ti is heart attack, then tell the
tower. Do you need to be in medical? you have been caught hoarding meds. you are in your 40's
and on a few meds,do not be laying down after eating. get some activity in. Let the tower know fi
you are just hurting so bad that you cannot wait until the scheduled doctor's visit.

Rejected by Nurse Joseph on 9/29/2022 5:02:20 PM

Medical

For291580:JAMES DUNCAN ZPASS PASS 01 on 10/4/2022 2:50:10 PM Dates and Times are

presented in Eastern Time(US &Canada)



             4.

Issue ID: 29468838

Last Status: Closed by 291580: JAMES DUNCAN on 10/5/2022 2:30:22 PM

Last Assigned to: None on 10/5/2022 6:54:14 AM

i think we might need to change my bp med i think thats why my chest hens Submitted by 291580:

JAMES DUNCAN ZPASS PASS 01 on 10/4/2022 2:50:11 PM you only take it 42% of the time.

I wit place you on BP checks for a couple days Final Response by Nurse Shirley on 10/5/2022

6:54:14 AM




                                                 7
   Case 4:24-cv-00012-WMR             Document 1-1        Filed 01/10/24       Page 96 of 141




             5.

Nursing Progress Note

DOB: 5/24/1977(45y)Location:

Date: 10/19/2022 Type of Note: Progress Note

Progress Note

Notes:

Time :21:39

Inmate came back to medical with do chest pain burning ,walked insteady gait no guarding of arm
or clinching of chest V/S were assessed 196/125, 18.97.4, 110.100 %, then.v /s were taken
manually 200/110 and call olaced to MikaN P informed her of inmates condition and complaint.
New orders for Norvasc 10 mg po, and nitro sI and inmate is noncompliant with medications and
states that he don't take them because his crest hurts it he lakes them and it he don't take them. We
informed him that the Dr. has ordered him medications, he states that he is not taking them he
wants to go to the hospital, andif we don't send him to the hospital he wil call his wife and tell her
to call 911 to take. Inmate continued to yell and holler at the officer, and nurses that we are going
to let him die . Inmate stormed out of medical cursing that he will not take his medication and his
wife will call 911 for him.

Follow-up Needed:

NO ANSWER PROVIDED

User Name

WILLIAMS,SHEILA,LPN

Save Log

Nursing Progress Note Progress Note for use by nursing stat

Patient Name: DUNCAN,JAMES JOHN Patient Number. 291580

Location:

DOB: 5/24/1977

Facility. BARTOW COUNTY JAIL

Electronically Signed By WILLIAMS,SHEILA,L P on 10/19/2022 22:13:03


                                                  8
  Case 4:24-cv-00012-WMR              Document 1-1     Filed 01/10/24      Page 97 of 141




AuditDateAndTime 10/19/2022 22:13:03




    D. On October 19, 2022 his wife activated EMS for evaluation of his chest discomfort.

       Twelve lead ECG revealed: Normal Sinus Rhythm, normal QRS axis, ST segment

       elevation consistent with anterior ST segment elevation myocardial infarction.

    E. He was transported to Piedmont Cartersville Medical Center for Emergency Cardiac

       Catheterization and primary PCI(stent placement for heart attack treatment).

    F. Dr Chizner performed emergent left heart catheterization (LHC) via right radial

       approach. Culprit vessel was the LAD 100% occluded reduced to 0% following

        percutaneous coronary intervention (PCI-opening the artery with balloon and stents,

       entering the blood vessel system at the wrist). Overnight he developed more chest

       discomfort and ventricular tachycardia (abnormal heart rate from the bottom half of his

        heart that is potentially fatal).

    G. Initial cardiac catheterization revealed another flow limiting lesion in the RCA,

       scheduled to be treated in a couple of days. Given the unexpected chest pain and heart

        rhythm disturbance, angiography ofthe left system was performed. It confirmed patency

       ofthe stent in the LAD placed for treatment of his heart attack. The right coronary artery

      (RCA)was treated at that time with balloon pre dilatation followed by stent placement.

    H. Subsequent evaluation revealed ischemic cardiomyopathy, Ejection Fraction of 20-35%

      (severely weakened heart placing him at high risk of sudden cardiac death).

    I. Guideline directed medical therapy was initiated for treatment ofcoronary artery disease

       and ischemic cardiomyopathy. Orders were placed for Life Vest (external wearable


                                              9
  Case 4:24-cv-00012-WMR              Document 1-1       Filed 01/10/24       Page 98 of 141




         defibrillator vest) given his risk of sudden cardiac death. Unfortunately, he did not

         receive the LifeVest.

     J. He was re-admitted to the hospital on November 12,2022 for evaluation of syncope. No

         sinister etiology was discovered, i.e. no evidence of ventricular arrhythmia and aborted

         sudden cardiac death. He was managed conservatively. LifeVest was re-ordered but not

         fitted prior to discharge back to jail.



                            Discussion and Interpretation of Medial Records

                                                   11.

     James John Duncan suffered an acute anterior wall myocardial infarction(heart attack) after

complaining ofstuttering chest discomfortfrom August 31,2022 until his wife activated EMS and

had him picked up from the Bartow County Jail on October 19th.



                                                   12.

     James has several modifiable risk factors predisposing him to heart attack including:

             1. Poorly treated Hypertension

             2. Dyslipidemia

             3. Tobacco abuse



                                                   13.

     On several occasions he endorsed chest discomfort when taking Norvasc, however, this

medication was not transitioned to another class ofantihypertensive,e.g. diuretic, beta blocker etc.




                                                   10
   Case 4:24-cv-00012-WMR             Document 1-1         Filed 01/10/24      Page 99 of 141




His blood pressure is poorly controlled on several encounters, with the highest being 209/124 on

10/18/2022 at 11:34 PM. This is the day prior to his anterior wall myocardial infarction.



                                                   14.

     Hypertension has a strong causal relationship to major adverse cardiovascular events, i.e.

stroke, heart attack and cardiovascular related death. For every 20 point increase in systolic blood

pressure or 10 point increase in diastolic blood pressure above 115/75 mm Hg, heart attack and

stroke risk double.(Reference 1)The chest pain visit on 11/18/22, his blood pressure was 196/125

mm Hg, repeat measurement 200/110 mm Hg, consistent with increased risk of 16-32 times

normal.



                                                  15.

     Dyslipidemia was diagnosed during the time of his incarceration. Based on the ASCVD risk

calculator, his 10 year risk for heart disease or stroke was 11.7%. Optimal risk factor management

would reduce this risk to 1.2%.(Reference 2)The recommendation based on risk is for moderate

to high intensity statin for risk reduction of major adverse cardiovascular events. Statin medication

was never started.



                                                  16.

     Smoking cessation was not addressed in any clinical documentation.




                                                 11
 Case 4:24-cv-00012-WMR            Document 1-1       Filed 01/10/24      Page 100 of 141




                                               17.

     James had several visits with the medical staff spanning August to October with complaints

of chest pain. On September 1st, 2022 at 15:38 he endorsed substernal, intermittent chest pain,

characterized as aching, associated with dyspnea, sudden onset following climbing a flight of

stairs. ECG was obtained, interpreted as Normal Sinus Rhythm,physical examination documented

as normal heart and lung exam. No further evaluation was undertaken.



                                                18.

     He continued to complain of chest pain on 9/22/22,9/29/22 and 10/5/2022 going so far as to

relay that he knows something is wrong and he does not want anything to happen that is

preventable.



                                                19.

     Despite his complaints consistent with accelerating angina, no further evaluation was

performed. In alignment with recommendations of ACC, stress testing and transthoracic

echocardiography should have been performed for risk stratification and mitigation. Not only was

no further testing performed,he had to•have a family member activate emergency medical services

on his behalf when his continued complaints of chest discomfort were repeatedly ignored.



                                                20.

     On October 19th he was hospitalized for acute anterior wall myocardial infarction.

Multivessel coronary artery disease was discovered and appropriately managed by Dr Chizner -

PCI of the LAD and staged PCI ofthe RCA.Unfortunately, the damage was already done.



                                               12
  Case 4:24-cv-00012-WMR            Document 1-1        Filed 01/10/24     Page 101 of 141




                                                  21.

      His Ejection Fraction (EF) following primary PCI (heart attack treatment with stent

placement) was less than 35% (normal is 50-60%). This finding carries significant implications,

see below.

      A. Heart Failure carries a 5 year, 50% mortality penalty for all corners, i.e. he has a 50%

         risk of dying in the next five years.

      B. He is at high risk for sudden cardiac death-if his EF does not improve to >35% within 90

         days of his heart attack, he will be referred for Implantable Cardioverter Defibrillator

        (ICD)for primary prevention ofsudden cardiac death as per AHA guidelines, see below:

             Class I

             1. ICD therapy is recommended for primary prevention of SCD to reduce total
                mortality in selected patients with non- ischemic DCM or ischemic heart disease
                at least 40 days post-MI with LVEF of 35% or less and NYHA class II or III
                symptoms on chronic GDMT, who have reasonable expectation of meaningful
                survival for more than 1 year(355,593).(Level of Evidence: A)(Reference 4)

      C. He requires Guideline Directed Medical Therapy consisting of Beta Blocker,

         Mineralocorticoid antagonist, ACE/ARB or ARNI and SGLT 2 inhibitor with the goal

         of increasing his Ejection Fraction. These therapies will have to be continued

         indefinitely. We know from trial data that discontinuation of these meds results in

         recurrence of cardiomyopathy.



                                                 22.

       Many patients deemed to have recovered from dilated cardiomyopathy will relapse

following treatment withdrawal. Until robustpredictors ofrelapse are defined, treatmentshould

continue indefinitely. (Reference 3)



                                                 13
  Case 4:24-cv-00012-WMR             Document 1-1        Filed 01/10/24   Page 102 of 141




                                                  23.

       In short, James John Duncan had complaints of accelerating angina that went

unrecognized and untreated while he was incarcerated, despite his complaints on multiple

occasionsfrom Augustto October of2022. Despite being clearly indicated, riskfactor reduction

andfurther testing, i.e. stress testing, echocardiography, to establish his risk profile were not

performed Even on the day ofhis myocardial infarction, he had to have his wife call 911 to pick

him up from jail and transport him to Piedmont Cartersville Medical Center when his

complaints ofchest pain were ignored. The end result is that he suffered a heart attack that

severely damaged his heart, potentially shortening his lifespan and relegating him to taking

guideline directed medical therapyfor the rest ofhis life. Furthermore, he may have to undergo

an additional surgical procedure, i.e. ICD implantation for primary prevention of sudden

cardiac death.



                                                  24.

        With a reasonable degree ofmedical certainty,I can say that the standard ofcare was

breached and that the breach is causally related to his heart attack and subsequent ischemic

cardiomyopathy. These events could have been prevented had the standard of care not been

violated.



                                                  25,

FINAL OPINIONS:

    A. I am familiar with the standard of care for patients like this.



                                                 14
  Case 4:24-cv-00012-WMR               Document 1-1      Filed 01/10/24     Page 103 of 141




    B. Based on my education, training, experience and the facts contained in the records I

       reviewed, it is my opinion that the following medical providers fell below the applicable

       standard of care: Madison Bankston, LPN,Nurse Joseph, Nurse Shirley, Sheila Williams,

       LPN,Phillip Nolan, MD and other supervising physicians.

   C. The specific care that fell below the applicable standard of care is outlined above and

       herein.

     D. As a direct result of that medical negligence, Mr James John Duncan suffered a heart

         attack and subsequent heart damage requiring lifelong medical therapy and potentially a

         significant reduction in life expectancy and quality of life.

     E. It is more likely than not had Mr James John Duncan been provided care that met the

         applicable standard of care he would not have suffered a myocardial infarction and

         ischemic cardiom      *hy"!
                                • '
     F. All of my opinikmiliereip are*ith a reasonable degree of medical certainty



                                                 26.

     This Affidavit is not intended to provide an exhaustive listing of all of the opinions which I

may have concerning the matters at issue in the case and I reserve the right to express additional

opinions based on any additional information which may come to my attention as the case

proceeds. The opinions expressed herein are not intended to and should not be construed to

foreclose or exclude opinions that other negligent acts or omissions and regulatory/statutory

violations may have also occurred or contributed to Mr. Duncan's outcome, but rather is given to

meet the limited requirements of0.C.G.A. §9-11-9.1 to set forth at least one act of negligence for

the Defendants in question.



                                                 15
 Case 4:24-cv-00012-WMR             Document 1-1        Filed 01/10/24   Page 104 of 141




FURTHER AFFIANT SAYETH NAUGHT.



I certify under penalty oflaw that the foregoing is true and correct.

             - 2dday og;yLp_,2023.
Signed, this )




SWORN TO AND SUBSCRIBED before me this(
                                      22kiday of                            ,2023.



                                                      001‘‘
                                                  /  005-3AY.4'.,
                                                    et.-7000.E.to...-
NOTARY PUBLIC                         [seal]      1 i taPTARy •
                                                  -
                                                  1 :      Gimp CIalle

                                                  : AuB0C. cifI
                                                 \
                                                 V zitrin
                                                     .icro30,20344'
                                                   e ------ 6°S
                                                      cooism?.t*
                                                        imamituno*-




                                                 16
      U.S. Postal Case 4:24-cv-00012-WMR
                  Service"                                                                        Document 1-1
                                                                                                        U.S.     Filed
                                                                                                             Postal    01/10/24
                                                                                                                    Service"                                                 Page 105 of 141
      CERTIFIED MAIL® RECEIPT                                                                                       CERTIFIED MAIL® RECEIPT
      Domestic Mail Only                                                                                            Domestic Mail Only
      For delivery information, visit our website at MM.usps,com''.                                                 For delivery information, visit our website at www.usps.cone.
       CummingtzGA-30040t 4                                                                                           C               TI1        I 1GPC:301 212
                                                                                                                                                             .
             t„..) t
 Certified Mail Fee
                                     g                                    IS                                     Certified Mall Fee
                                                                                                                                                                                USE
                                                                              Altr6,68                                                                                                   0668
 S                                                                                                               s •                                         17 5                           07
  Extra Services & Fees(check box, add                                                                            Extra Services & Fees(check box,add feetu
  0Renee Receipt(hardcopy)                                                                                        0Return Receipt(Terdcopy)
  0Return Receipt(electronic)                                      0<le Postmark                                  0Return Receipt(electronic)           $    $U. 0
['Certified Mail Restricted Detivery
  °Adult Signature Required
                                               $0.
                                                  C
                                                                 .1.
                                                                     (  "1
                                                                        , /lere
                                                                          -                                       0Certified Mail Restricted Delivery
                                                                                                                  0Adult Signature Required            $
                                                                                                                                                        $    $0      0       JUL 213521
  °Adult Signature Restricted Delivery $                                                                          0Adult Signature Restricted Delivery S
  Postage                                                                                                        Postage
                        $3.03                                                                                                               .
  Total Postage                                                       7/21/2023                                   Total Postage and ties           .2
               "(M.93                                            Q4                                                                                    Ve—           / br
 Sent To Car
                                     %.4                                  8                                      Sent To
                  T—C#4   .
                          +Ckilt2All?
 Street and Apt. No., or P6 Box
                                     0.3.C.f                                                                                                            COonfy (1.)frUnI5S1.2rd
                                                                                                                 Street and Apt. No., or P6 Box No.
  1                                        Act..      br•                                                         day, state,.zip.46          I b5 V%1 Cry-                            kt---51t-asi
  PS Form 3800 Janua
                           rn I                                                                                                             otitis Itg
                                  202Z .itSN 7530-024100-9047    See Reverse for Instructions                     PS Form 3800, January 2023 PSN 7530-02.000-9047            See Reverse rorInstructIons


      U.S. Postal Service"                                                                                         U.S. Postal Service-
      CERTIFIED MAIL® RECEIPT                                                                       5              CERTIFIED MAIL® RECEIPT
      Domestic Mail Only                                                                                           Domestic Mail Only
                                                                                                        N-
      For delivery information, visit our website at wtvtv.usps.coMg-                                        ,     For delivery information, visit our website at www.uSps.como. -
  I CarVcirsvtlk# 10-      .30120.t.                                      g                             Cr             ar. - $4,1 , Gk=301211
  I         %.) r r           t                                                `0,t7P     ktzen
                                                                                                        -o                   Tr r    t.„,0
  Certified Mail Fee                                                                                             Certified Mail Fee
                     $4.35                                                         0668                                                                                                41668
                                                                                                        Er- $
  Extra Services & Fees(check bar, add tee                ate)                        07                ist)     Extra Services & Fees(check box,add tee
                                                                                                                                                             $3_55
                                                                                                                                                                op    ate              r- 07
                                                                                                                                                                                       :
                                                                                                                                                                                       c
    0Return Recoil)  ,lhardoolry)                   U                                                   C3        El Return Receipt(hardcrop))          $
   I0Return Receipt(electronic)                       0                       Postmark                           0Return Receipt(electronic)            $    $0 On                    postMak
   I       .                                                                                                     0Certified Mall Restricted Delivery    $                              Henr`
   1 u Cerbfied Mail Restricted Delivery
   0Adult Signature Required                                     JUL 2 1He                              ru
                                                                                                             ['Adult Signature Required
                                                                                                                                                   $         $0.00
   0Adult Signature Restricted Delivery $
  Postage
                                                                         2023                                ['Adult Signature Restricted Delivery $
                                                                                                                 Postage                                                                  CA
                                                                                                                                                                                           ,
                         $2.79                                                                                                        $3.03
  Total Postage and Fees                                          07/21/2023/                           r--1 Total Postage and triet
                                                                                                                                                                                    /21/2023
                        $10.69
  Sent To                                      KitKi4,14              04 GA .3CPCc16
                                                                                   -                          Sent To                          OVSOn
                                                                                                        0-                                 dj—'0"111-1--Atinifrit                     iCe
 r treat and Apt. No., or Po arm NaellailTh4                                                            r0 SVaet and„t. NO..!

        State, ZIP+4°
                                     05 lel -Of-MAL                             „Sit_15lI               U
                                                                                                                           •
                                                                                                         rC)- City, State,Zarr
                                                                                                                             .
                                                                                                                             4
                                                                                                                             5 :ittlai
                                                                                                                                      i-65---W,CrtiottL_Avt—bir.-415.
                                                      ILE CIA                 vac)                                                       11414N4           •                 JD
   PS Form 3800,Januar 2023 PSN 7530.02.000,9047                  See Reverse for Instructions                PS Form 3800, Januar 2023 POW 7530-02-000-0047 See Reverse for Instructions


       U.S. Postal Service"                                                                                        U.S. Postal Service'
      CERTIFIED MAIL® RECEIPT                                                                                      CERTIFIED MAIL® RECEIPT
       Domestic Mail Only                                                                                          Domestic Mail Only
                                                                                                                                                                         AMIN
      For delivery information, visit out vrJbsite at www.usps.com''- .                                           For delivery-information, visit our wthsite at ovv.r.v.usps.com,̀
                                                                                                                                                                                  .

       Cartersvi. -epige-130 2                                                                                                                 - I
             'f r- V                                                           S c:
                                                                                                                       at' -PSY-1
                                                                                                                                  r
                                                                                                                 Certified Mail Fee    $4.35
                                                                                                                                                        4„, 1                          SE
  Certified Mail Fee $4.35
                                                                       A-2         0668                                                                                                  0668
                                                                                      07                                                                     $.5                            07
   Extra Services & Fees(check hoz add                                                                           Extra Services & Fees (check hair, add fee           ate)
   0Return Receipt(itanicoPy)                                                                                     oReturn Receipt(tardcioPY)
   0Return Receipt(electronic)             $   SO.114A                        Pc          rk                      0Return Receipt(electronic)
    C.ertIrred Mail Restricted Delkery     $                                       Here                           0Certified Malt Restricted Delivery   $
  (JACO Signature Required                                                                                        CI Adult Signature Required
                                               $0.00             0
   0Adult Signature Restricted Delivery $
                                                                     68                                           0Adult Signature Restricted Delivery S
  Postage                                                                                                        Postage
                         $2.79                                                                                                   •     $3.03
                                                                  07/21/2023                                                           iTO.,3                                   0     1/2023
                                                                                                         071




  Total Postage and'rd                                                                                            Total Postage and
                                .69
  Sent To
                              \H.(oar-                           --       s                                      Sent To              TY:P.004               COl,1411 bill(415 CCU..

  Street and Apt. No., or PO Box Netati*C.X.4-6.Wriltt5t,                                                E ; :Street andApt. Ala, Or PO Sox Ala%
                                                                                                         D                                                           br...* Lrit.0
  City, State, 2115+4e
                                    1.0-4                             tot.                                        Cay,&ate,ZIP+44                 101-1-                     Ofitt
                                                  V di 14                                                                            CaliC151/
   PS Form 3800, January 2023 POW 7530.02-Q00.90c7 ' See Reverse for Instructions •                               PS Form 3800, Janus 2023 PSN 7533-02-000-9047              See Reverse for Instructions
              Case 4:24-cv-00012-WMR
  U.S. Postal Service'                                                              Document
                                                                                          U.S.1-1
                                                                                               PostalFiled 01/10/24
                                                                                                      Service'                                        Page 106 of 141
  CERTIFIED MAIL® RECEIPT                                                                   CERTIFIED MAIL® RECEIPT
  Domestic Mail Only                                                                        Domestic Mail Only
  For delivery information, visit our websitc:            uilwv).tisps.com°.                For delivery information, visit our website at www.usps.com°.
    ar :PSY4-                                                                                  Atka-raw             tr,3033*
          ki
Certified Mail Fee $435
                          r                                              eon-
                                                                                          Certified Mall Fee
                                                                                                            r                                          ti Ei ErE
                                                                    0668668                                                                                  066°
                                                       *j.e'z            07               S                                       t7
                                                                                                                                                                     117
Extra Services & Fees(check box, add                                                      Extra Services & Fees(cheek 00.,add fee W 15:ffllate)
 o Return Receipt(herdoopy)                                                               0Rattan Receipt(narticoPY)            S
 o Return Receipt (electronic)                                                             o
                                                                                           Return Receipt(electronic)           $    -0      deft         Postmark
 oCertified Mall Restricted Delivery                                                      0Certified Mail Restricted Delivery   $
                                                                                                                                       fin        4   20    Here
 O Adult Signature Required             $                        Pe(                      0Adult Signature Required
 o Adult Signature Restricted Delivery $                                                  0Adult Signature Restricted Delivery $
Postage                                                                                   Postage                                     4
                                                                                                                                      ;
                     $2.79                                                                                     $2.75
Total Postage anditt
                                                        3019121/21-                       Total Postage and Fees         .               c>,          07/2162,023
                               69                                                                              $10.69                    ;1:4
                                                                                          $
                                                                                          Sent To GI,Deffi
                                                                                                         . •ui
                                                                                                             •                  pitirri,n A f:.1
                                                   114,ft:1 —Tat                                         ToPtat    rat_li
                                                                                                                        A _ 1/412$01.60:14
:gtreet and                P etox No.
                                       net.
                                                                                          gtreet and Apt.
                                                                                                                   rb
                                                                                                                     °                  rn- fkvt. se,
City, State, ZI                                                                           Orly State, ZIP:aa.St/ VIVA NN,C,S#
                           4-AtM               ,   /
                                                   1
                                                   4                rre
 PS.Form 389,0, January 2023 PSN 7530a2.000.9041.        See Revercetor:.Instruetioris    PS Form 3800,January.2023 PSN 7530-02-000.9047. See Reverse for InstnictiOns




   U.S. Postal Service
   CERTIFIED MAIL® RECEIPT
   Domestic Mail Only
   Foe.              M!`r)Triution          cur website at www.usps.com°.


                                ,e C
 Certified Mail Fee                                                         8
                                                                             37
 Extra Services & Fees(check box, addle
 o Return Receipt(hardcopy)
 0Return Receipt (electronic)
  oCertified Mall Restricted Delivery
 0Adult Signature Required              $
     Artutt Signature Restaged Delivery $
 Postage                $2.79
 Total Postage and Ftd#769
                                                                    /2023

 S$ent
                   ZaitclA Cluny
 Street
           do ..g.t9si,144 Caught 64.a.c...Cgrov551
 City, stale,:l
                          •N tnsutut....hvt..,st.__a5.1
                                  O 3of            A
 P.4.Faini.3800,jarruary.2023..p:5N753002.000.40.47      see.R.eversp.lcir Instructions
 SENDER: COMPLETE THIS SECTION                           COMPLETE tri-74(3,ECTION ON DELIVERY
                                                    Case 4:24-cv-00012-WMR                Document 1-1   Filed 01/10/24 Page 107 of 141
                                                                                                     SENDER: COMPLETE THIS                                              SECTION              COMPLETE THIS SECTION ON DELIVERY
•Complete items 1,2,and 3.
•Print your name and address on the reverse                                 II                               O A.ent                M Complete items 1, 2, and 3.                            A. Signature
   so that we can return the card to you.                                                                       ddressee           11 Print your name and address on the reverse                                                                       0Agent
                                                                                                        C. Dat • •                    so that we can return the card to you.                 X
• Attach this card to the back of the mailpiece,                                                                                                                                                                                                       0 Addressee
   or on the front if space permits.                                                                                               •Attach this card to the back of the mailpiece,           B. Received by (Printed Name)                         C. Date of Delivery
1. Article Addressed to:                                   D. Is delivery address different from item 17 0 Yes                        or on the front if space permits.
                                                                                                                                                                                                                                                      of.
DCTM       \--rielent ot POMInStrUtIVe                        If YES,enter delivery address below: 0 No                            1. Article Addressed to:                                  D. Is delivery adckes$/lietki-glr9ryt Iterz1? 0 Yes

PAste-    t-loinarYlerit  SorlitceS                                                                                                                                                             If YES,enterdWery addressliel?Av:          13 No

200w 171toMein-t e-)Sit t2.20
         est -ro                                                                                                                   6cti                toN"
                                                                                                                                                          i Cled<
Art-1011(1AV, DA 35334                                                                                                                35              CI-Isatt
                                                         3. Service Type                           0 Priority Mall Express®
                                                         0Adult Signature                          0Registered Mar*                                                                       3. Service     pe                       0Frfority Man Express®
      111111111111111 1 III 1111 11111 11111 Ii I III    0 Adult Signature Restricted Delivery     0 Registered       Restrtcted
                                                                                                                                    Cct                                                  0 Adult Signattre
        9590 9402 6956 1104 0647 69
                                                         0Certified Mall®
                                                         0Certified Mall Restricted Delivery
                                                                                                     Deln
                                                                                                   0Sir „re Confirmation*"
                                                                                                                                      *    -
                                                                                                                                     1111111                                             0 Adult Signatu RStrict Dellyery,_--0
                                                                                                                                                                                         0 Certified Mall® .xS" •
                                                                                                                                                                                                                                  011egist:te Malin"
                                                                                                                                                                                                                                'Regist d Mail Restricter
                                                         0 Collect on Delivery                     o Si rature Confirmation !            9590 9402 8198 3030 9217 70                                                               ,,, DeliVelY
                                                                                                                                                                                                                                      A
                                                                                                                                                                                         0Certified Mall RestrIctid Deliveryin 7OSircirature Confirmation*.
 2. Article Number (Transfer from service label)         0 Collect on Delivery Restricted Delivery   Restricted Delivery
                                                                                                                                                                                         0Collect on Delivery              -'‘-' -0 Signature Confirmation
                                                                                                                                             P.1homl-mr /Panefar frnm PPrifina !Phan     0 Collect on Delivery Restricted
                                                                                                                                                                                                                      ' Delivery
       7021 0350 0000 2250 5686                                      all Restricted Delivery
                                                                                                                                     9589 0710 5270 0895 6907 27
                                                                                                                                                                                                                                       Restricted Delivery
                                                                                                                                                                                                  ad I6'vAlai
                                                                                                                                                                                                          aill Restricted Deliver)/
 PS Form 3811,July 2020 PSN 7530-02400-9053                                                      Domestic Return Receipt                                                                           50 )
                                                                                                                                   PS Form 3811,July 2020 PSN 7530-02-000-9053
                                                                    ,                                                                                                                                                                 Domestic Return Receipt

SENDER: COMPLETE THIS SECTION                             COMPLETE THIS SECTION ON DELIVERY
                                                                                                                                  SENDER: COMPLETE THIS SECTION                            COMPLETE THIS SECTION ON DELIVERY
•Complete items 1, 2,and 3.                               A. Signature
                                                                                                             0 Agent      •Complete items 1,2,and 3.
•Print your name and address on the reverse               X
   so that we can return the card to you.                                                                    ID Addressee •Print your name and address on the reverse
                                                           B. Received by(Printed Name)                C. Date of Delivery          so that we can return the card to you.
•Attach this card to the back of the mailpiece,                                                                                                                                                             by,MEd Nab)
   or on the front if space permits.
1. Article Addressed to:
                                                          brAAJoe.-->eszvv
                                                           D. Is delivery addresitfifferent fromIteriii? — Yes
                                                                                                                                  I Attach this card to the back of the mailpiece,
                                                                                                                                    or on the front if space permits.                                               eZei/            7;07Y.-
                                                                                                                                                                                                                                               C. Date of Delivery
                                                                                                                                                                                                                                                            013
                                                              If YES,e lkileliverraddress elok) 0 No                               1. Article Addressed to:                                D. Is de ediaddress differenftfbr Item       0 Yes
           Olsay-)                                                                              N1
                                                                                                                                                                                              If YES,.;I:tntei delivery address below:  1:3 No

tbad-kmi Counfti haninxice                                                                                                         16Cd+Ot/4 Cothifti
 165 \ri• ()matte_ \livt                                                                2                                         C13 bcti4uw (Wahl ePaid.



  cr4c11              i 1 1 1 16
      9590 9402 8198 3030 9217 87
 2. Article Number(Transfer from service label)
                                                        3. Service Type
                                                        0 Adult Signaturis,
                                                        0 Adult Signature Restricted Delivery
                                                        0 Certified Mail®
                                                        0 Certified Mail Restrictediaelivery
                                                        0 Collect on Delivery
                                                                 ton Delivery Restricted Delivery
                                                                 1 Mail
                                                                                                  0 Priority Mail Express®
                                                                                                  0 Registered MaliTM
                                                                                                  Cl Registered Mall Restricted
                                                                                                  '  Delivery
                                                                                                  0Signature Confirmation*"
                                                                                                  0 Signature Confirmation
                                                                                                     Restricted Delivery
                                                                                                                                  135
                                                                                                                                      Csmn fe155(690,
                                                                                                                                          CMGs/Km
                                                                                                                                       Ccd-tcy5 Vi(la
                                                                                                                                                      •
                                                                                                                                                            •1m
                                                                                                                                                          .ePo
                                                                                                                                                       3ola
                                                                                                                                        72191207121111121111129!112111
                                                                                                                                                                                       3. Service Ty
                                                                                                                                                                                       0 Adult Signature
                                                                                                                                                                                                                       _...

                                                                                                                                                                                       0 Adult Signature Rasttidted Delivery
                                                                                                                                                                                       0Certified Mail®
                                                                                                                                                                                       0 Certified Mail Restricted Delivery
                                                                                                                                                                                       0 Collect on Delivery
                                                                                                                                                                                                                               (‘         ISIS/f
                                                                                                                                                                                                                                         • Mall Express®
                                                                                                                                                                                                                                       only
                                                                                                                                                                                                                               >0 Registered Mall"
                                                                                                                                                                                                                                 0 Registered Mall Restrictec
                                                                                                                                                                                                                                    Delivery
                                                                                                                                                                                                                                 0Signature Confirmation,
                                                                                                                                                                                                                                 CI Signature Confirmation
                                                                                                                                                                                                                                                           *

                                    0895 690? 10                   Mail Restricted Delivery
                                                                                                                                   . Article Number(Taunter from service label)        0 Collect on Delivery Restricted Delivery
                                                                                                                                                                                       '' Insured Mall
                                                                                                                                                                                       '
                                                                                                                                                                                                                                    Restricted Delivery

   9589 07110 5270                                        (over $500
                                                                                                                        589 0710 5270 0895 6907 41                                        Insured Mall Restricted Delivery
                                                                                                Domestic Return Receipt                                                                  (over $500)
                           20 PSN 7530-02-000-9053
                                                                                                                    •   PS Form 3811,July 2020 PSN 7530-02-000-9053                                                                   Domestic Return Receipt
                        ,„pplit-sr

SENDER: COMPLETE THIS SECTION
                                                  Case COMPLETE
                                                       4:24-cv-00012-WMR              Document 1-1
                                                                THIS SECTION ON DELIVERY             Filed
                                                                                                SENDER:    01/10/24 Page 108 of 141
                                                                                                        COMPLETE THIS SECTION 6  COMPLETE THIS SECTION ON DELIVERY

III Complete items 1,2, and 3.                           A. Signature                                                                   • Complete items 1,2, and 3.                                A. Signature
▪ Print your name and address on the reverse                                                                 0 Agent                    • Print your name and address on the reverse                                                                 0 Agent
                                                                                                             0 Addressee                                                                            X                                                0 Addressee
    so that we can return the card to you.                                                                                                 so that we can return the card to you.
• Attach this card to the back of the mailpiece,         B. Re eived by (Printed Name)                   C. Date of Delivery            • Attach this card to the back of the mailpiece,                                                         C. Date of Delivery
    or on the front if space permits.                                                                    7c)y.                             or on the front if space permits.                                                                       •
                                                                                                                                                                                                                                                   I
1. Article Addressed to:                                 D. Is IrPadcless.diffe,rerifro                   1? DYes                     , 1. Article Addressed to:                                    D.      delivery a ress differe t fro tfem 1? • Yes
                                                                                                                                                                                                         If YES, enterdelivery addreis elow:
          '1"Qvi or
                                                            If YES eyrdelivery address                            CI No                                                                                                                           0 No
                                                                                                                                            &15-i-ot9 Cc:wink/To:II
                                                                                                                                                                                                                            r
Baf-VO4 twit/ Cornr0/55 King'                                                                                                               t og 2.enok . 1"‘Vt.
135 I/J. Cmiate- t.cvL S .a51                                          JUL 2                -
                                                                                                                                        cctiA-ctSv 1421                   30laI
  CeditistAlleIN 30 GO
                                                                                                                                                                    III
                                                       3. Servi e Typc:N'•.........____/               0 Alci-ity Mail Expresse                                                                 3. Service Type                            Priority Mall ExpressO)
                                                                                             ,,, \ O Registered MalITM                                                                          0 Adult Signature
      II !ll 11111111111111liiiMINI 11 11111
                                                       0 Adult Sehatrine,                                                                                                                                                             ,43 Registered MaltTM
                                                       0 Adult Signature-Reistricted Delivty  ... ;,../0 Registered Mall Restricted                                                             0 Adult SignaturdRestricted Delivery,0" Li Registered Mail Restricted
                                                       0 Certified Mailer             -1,4               Delivery                                                                               0 Certified Melte ''"."--------            Delivery
      9590 9402 8198 3030 9217 63                      0 Certified Mall Restricted Dellik—ry           0 Signature ConhirmatlonTM                                                               0 Certified Mail Restricted Delivery    a Signature Confirmation",
                                                       0 Collect on Delivery                           0 Signature Confirmation                                                                 —    fact on Delivery                       ID Signature Confirmation
2. Article Number (Transfer from service label)        0 Collect on Delivery Restricted Delivery         Restricted Delivery           2. Article Number (Transfer fmn..--- •        69[16 73         ect on Delivery Restricted Delivery     Restricted Delivery
                                                       ^ Insured Mail                                                                                                           95                     ad Mall
5 89 0710 5270 0895 6907 34                              Insured Mall Restricted Delivery                                                           710 5270 °B                                 0 Insured Mail Restricted Delivery
                                                         (over $500)                                                                    9 589 0                                                    over $500
PS Form 3811, July 2020 PSN 7530-02-000-9053                                                     Domestic Return Receipt                                , July 2020 PSN 7530-02-000-9053                                                 Domestic Return Receipt


SENDER: COMPLETE THIS SECTION                            COMPLETE THIS SECTION ON DELIVERY                                             SENDER: COMPLETE THIS SECTION                                COMPLETE THIS SECTION ON DELIVERY

                                                                                                                                                                                                    A. Sign ure
• Complete Items 1,2, and 3.
• Print your name and address on the reverse                                                                      3gent
                                                                                                                                       NI Complete items 1,2, and 3.
                                                                                                                                       • Print your name and address on the reverse
                                                                                                                                                                                                                   ,                                  0 Agent
    so that we can return the card to you.                                                                    MI
                                                                                                               P 'Addressee               so that we can return the card to you.                           .-errz (Jar:AA-yr                          0 Addressee
III Attach this card to the back of the mailpiece,                  ve by        ' ted Name)              C. Date of Dely3ry                                                                        B.       eived by (Printed Name)                  ate of Delivery
                                                                                                                                       • Attach this card to the back of the mailpiece,
    or on the front if space permits.                                                                                                     or on the front if space permits.
1. Article Addressed to:                                 D. Is delivery address different from item 1? 0 Yes                           1. Article Addressed to:                                     D. Is dè1ivy ad     s differrrt f 10111? 0 Yes
                                                            If YES, enter delivery address below:      0 No                                                                                            If YES, ente delivery addres beloCff
                                                                                                                                                                                                                                          ▪    No
CIA beiA.                            nthch           ujk6                                                                               A . CICtrK MLL5Qp,&th
     f314 McArctsernt4 t'dision
     '                                                                                                                                .15C.AfkovJ COunhL5huR's GC&                                                                   '
                                     I t.                                                                                                                                                                           I                                  •7



                                                                                                                                                      4("kicil
    QCO -?rearn Or*
 S4t. 1iSo4-1 fvvesk.
                                                                                                                                      =Zvi c
                                                                                                                                           v‘
                                                                                                                                           11110111111iummIti1 1 1 1 1 1
                                                       3. Service Type                              0 Priority Mall Expresse                                                                    3. Service lype                             qpriorit; VIExpress%)
                                                                                                                                                                                                                                   CAI
                                                       CI Adult Signature                           0 Registered MailTM                                                                         0 Adult Signatiki<                          El Regl    dMalITH
                                                       0 Adult Signature Restricted Delivery        0 Registered Mail Restricted                                                                0 Adult Signature estricted Delivery                bred Mail Restrictec
                                                       0 Certified Mae                                 Delivery                                                                                 0 Certified Malls                                 ery
    IIMIIIIII112118r01021t11:11j14III                  0 Certified Mall Restricted Delivery      0 Signature Confirmation",         9590 9402 8198 3030 9217 94                                 0 Certified mou "- • '   getz... y             ignature Confirmation",
                                                       0 Collect on Delivery                     0 Signature Confirmation                                                                                                                   0 Signature Confirmation
2. Article Number (Transfer from service label)        0 Collect on Delivery Restricted Delivery
                                                         '—ured Mail
                                                                                                   Restricted Delivery
                                                                                                                              2. Article Number (Transfer for--                            69 07              3         Restricted Delivery   Restricted Delivery

9 589 0710 5270 0895 6906 66                                ired Mail Restricted Delivery
                                                                                                                            I
                                                                                                                                           9 89
                                                                                                                                                                527° °895
                                                                                                                                                                  07110                         0 Insured Mail Restricted Delivery
                                                            ar $500)                                                                                                                               over $500               ;
PS Form 3811, July 2020 PSN 7530-02-000-9053                                                     Domestic Return Receipt               PS Form     811, July 2020 PSN 7530-02-000-9053                                                   Domestic ffetrit'tt Receipt
SENDER: COMPLETE THIS SECTION
                                                   Case 4:24-cv-00012-WMR             Document 1-1
                                                        COMPLETE THIS SECTION ON DELIVERY
                                                                                                                        Filed 01/10/24   Page 109 of 141
•Complete items 1,2,and 3.
•Print your name and address on the reverse
   so that we can return the card to you.
                                                             A. Signature

                                                            X G         Q
                                                                                  44)vvws._           0Agent
                                                                                                      0 Addressee
•Attach this ca‘rd to the back of the mailpiece,             B.                                   C. Date of Delivery
   or on the front if space permits.
1. Article Addressed to:                                     D. Is del    address dferenLfim item 1? 0Yes
                                                                If YES,enter delivekaSICIfeks         No
 pri.0-0.4(milt Sher4's difice.,                                                 •Vc''
                                                                                               w:



       P•0• bOX tr) to
       l oLl ana                                                                     25 )
                                                                                     2k)29cfp
     cot.k-c,e3u;I U,EIAOQJ 3. Service Type '---.4 30 i
                                                                                          a Priority Mail Expresse
                                                    0 Adult Signature                     0Registered Man"
    11111111111111111111111 1111111111111111111111 00Adult  Signature Restricted Delivery 0Registered Mall Restricted
                                                      Certified Maile                       Delivery
      9590 9402 8198 3030 9218 00               0 Certified Mail Restricted Delivery        0Signature Confirmation'
                                                0 Collect on Delivery                       0Signature Confirmation
2. Article Number (Transfer from service label) 0 Collect on  Delivery  Restricted Delivery  Restricted Delivery
      9589 0710 5270 0895 6906 97                             ill Restricted Delivery
PS Form 3811,July 2020 PSN 7530-02-000-9053                                                 Domestic Return Receipt
Case 4:24-cv-00012-WMR              Document 1-1   Filed 01/10/24   Page 110 of 141




         EXHIBIT 2
                     To Complaint
 Case 4:24-cv-00012-WMR              Document 1-1       Filed 01/10/24       Page 111 of 141




STATE OF FLORIDA

COUNTY OF CHARLOTTE

                         AFFIDAVIT OF EMIL A.DAMEFF,M.D.,CCHP

     I, Emil A. Dameff, M.D., CCHP, personally appeared before the undersigned officer duly

authorized to administer oaths in the State of Florida, who having been duly sworn, depose and

state as follows:

                                                 I.

     My name is Emil A. Dameff, M.D., CCHP. I am over the age of twenty-one years, I suffer

from no legal disabilities, and I make this Affidavit under oath based upon my own personal

knowledge and review of the medical records of James John Duncan ("Mr. Duncan"), as well as

my own professional knowledge,education, training, and experience outlined in my CV,attached

hereto and incorporated herein by reference as Exhibit A.I am competent in all respects to testify

regarding the matters set forth herein.

                                                2.

      After receiving my undergraduate degree from Southern College in Collegedale, Tennessee,

I graduated with a medical degree from the University of Miami in 1991 and completed my

internship in Internal Medicine at the University of Florida in 1992. I have been continuously

licensed by the appropriate regulatory agency as a physician to practice medicine in the state of

Florida since 1992 and have been continuously practicing medicine in Florida since that time. I

am actively engaged in private practice that includes rendering care and treatment to patients at

ShorePoint Health Punta Gorda (Formerly Riverside), where I have been regularly and actively

working full time since December 1999. 1 am on the ShorePoint Health Punta Gorda Hospital

Board ofTrustees and am currently serving as President.
Case 4:24-cv-00012-WMR              Document 1-1         Filed 01/10/24        Page 112 of 141




                                                  3.

     In February of 1993,1 began my career in correctional medicine with the Florida Department

of Corrections, working as a Clinic Coordinator and institutional Chief Health Officer before

becoming a Regional Director of Health Care for the State of Florida. From 2001-2009 I was the

Regional Medical Director for Wexford Health Sources Inc, heading multiple projects for the

company, including development of the Computer-Assisted Reception Process (CARP) for the

Florida Department ofCorrections; a statewide Electronic Medical Record implementation for the

Mississippi Department of Corrections; and the ongoing expansion of telemedicine for the West

Virginia Division of Corrections. From 2009 to 2015 I served as the Corporate Medical Affairs

Director for Wexford Health, where I lead the team responsible for establishing the company's

medical protocols and directs the clinical decision making ofour field Regional Medical Directors

and staffs. Since 2015 I have been regularly serving as a consultant to correctional health care

companies and providing medical services to inmates. I spend approximately 32 hours per week

throughout the year directing medical care for and providing medical care directly to inmates. As

a part of my daily responsibilities, I supervise and oversee the clinical practice of nursing

professionals in jails and prisons, including but not limited to registered nurses, licensed practical

nurses, and nurse practitioners.



                                                  4.

     I have been licensed as a Certified Correctional Health Professional since 2011,and currently

maintain this license.




                                                  2
Case 4:24-cv-00012-WMR                 Document 1-1     Filed 01/10/24       Page 113 of 141




                                                 5.

     I have actual professional knowledge and experience in the area of practice in which my

opinions are given as a result of having been regularly engaged in the active practice of such area

ofspecialty of my profession since 1992 and have been specifically providing medical services to

inmates since 1993. Furthermore,for greater than three ofthe last five years prior to the negligence

described below,I have been engaged in the active practice of medicine in the correctional health

environment. I have been actively and regularly involved in diagnosing, assessing, planning for

care, and treating inmates in the correctional health environment who suffer from the same or

similar medical conditions as Mr. Duncan while an inmate in the Bartow County Jail.



                                                 6.

     From my background, training, and experience in the care and treatment of prisoners and

inmates, I am familiar with the standards of care applicable to prisons as well as jails similar to

Bartow County Jail. Additionally, as a member of the interdisciplinary care team, I regularly

supervised and instructed nursing professionals in jails and prisons, including but not limited to

registered nurses, licensed practical nurses, nurse practitioners, and others in providing care and

services to jail and prison inmates.



                                                  7.

      Based on my education, training and experience I am familiar with that degree of care and

skill ordinarily exercised by correctional facilities, nurses, nurses' aides, certified nursing

assistants, registered nurses, licensed practical nurses, nurse practitioners, medical doctors, and

others under similar conditions and like surrounding circumstances to those considered in this



                                                 3
 Case 4:24-cv-00012-WMR             Document 1-1         Filed 01/10/24      Page 114 of 141




Affidavit. More specifically, I have actual professional knowledge and experience in connection

with caring for inmates in a correctional facility, including but not limited to residents with the

medical conditions and diagnoses experienced by Mr. Duncan with sufficient frequency to

establish an appropriate level of knowledge described in this Affidavit. I am competent to give the

opinions contained in this Affidavit.



                                                 8.

     In connection with providing my opinions in this Affidavit, I have reviewed the following

medical records of Mr. Duncan in formulating my opinion:

     A. Correct Health Records

     B. Piedmont Cartersville Hospital Medical Records

     C. Metro Atlanta Ambulance Service Records

     D. Harbin Clinic Records



                                                 9.

     Each of the opinions that I express herein are given to a reasonable degree of medical

probability.



                                                 10.

      As the factual basis for my opinions herein, based upon my review ofthe foregoing medical

records, I have assumed the following facts to be true and the following is a brief overview of

pertinent events that occurred in this matter:




                                                 4
Case 4:24-cv-00012-WMR          Document 1-1        Filed 01/10/24       Page 115 of 141




    A. On August 15,2022, Mr. Duncan went through the intake process at Bartow County Jail

       in Georgia. His initial blood pressure reading was 168/100 and a repeat reading was

       162/98. It was documented that he takes Norvasc 10mg for HTN.

   B. On August 18, 2022, Mr. Duncan submitted a written medical request informing the

       Bartow County Jail staff and medical team of his hypertension and need for blood

       pressure medication. Bartow County Jail Nurse Williams responded in writing on

       August 20,2022 that "[he was] currently on hypertension medication...."

    C. On September 1, 2022, LPM Madison Bankston documented in Mr. Duncan's medical

       file that he reported to the infirmary complaining of chest pain and shortness of breath

       for the past two days. She further documented: EKG-states sinus rhythm; lung sounds

       clear, heart sounds normal; BP 141/80.

   D. On September 1, 2022 Mr. Duncan submitted a written medical request informing the

       Bartow County Jail staff and medical team that he was experiencing chest pains and

       shortness of breath. Bartow County Jail Nurse Bankston responded in writing on

       September 1, 2022 with:"Seen in medical today. I have you scheduled to follow up with

       our medical provider next week. Please continue taking medications as prescribed and

       notify staff ifsymptoms begin again."

   E. On September 8,2022, NP Charlotte Hall documented in Mr. Duncan's medical file that

       he complained of chest pain in the morning when he came to the med-cart to get his

       medications and that it worsens when he breathes.

    F. On September 23, 2022 Mr. Duncan submitted a written medical request informing the

       Bartow County Jail staff and medical team that he was experiencing chest pain and

       numbness in his left arm, that he could not feel his hand, and that the pain awoke him



                                               5
Case 4:24-cv-00012-WMR           Document 1-1          Filed 01/10/24       Page 116 of 141




      from sleep. He further informed them that he had been told by Jail staffand medical that

      it was not a heart problem and he expressed concern about something happening,

      especially if it could be prevented. On September 23, 2022, Nurse Joseph responded in

      writing with:"you are on pain med and you have a chronic care clinic visit scheduled to

      see the doctor."

   G. On September 29, 2022, Mr. Duncan submitted a written medical grievance informing

      the Bartow County Jail staff and medical team that he had been having chest pains and

      that he did not know why the problem was not being addressed. He further apologized

     "for any inconvenience." Nurse Joseph responded on the same day in writing with "you

      have labs ordered and you have a chronic care visit scheduled with the doctor. Explain

      the chest pains in more detail. What is it you are wanting? If you feel it is a heart attack,

      then tell the tower.Do you need to be in medical? You have been caught hoarding meds.

      You are in your 40's and on a few meds, do not be laying down after eating. Get some

      activity in. Let the tower know if you are just hurting so back that you cannot wait until

      the scheduled doctor's visit."

   H. On October 5, 2022, Mr. Duncan submitted a written medical request informing the

      Bartow County Jail staff and medical team that he thought perhaps his blood pressure

      medication might need to be changed and that was why his chest was hurting. Nurse

      Shirley responded on the same day in writing with "you only take it 42% of the time. I

      will place you on BP checks for a couple of days." LPN Christina Catron noted in his

      medical records that he had an elevated blood pressure reading at his vistal sign checks

      but that no new orders were entered at the time, and that med compliance was 37%.




                                              6
Case 4:24-cv-00012-WMR          Document 1-1         Filed 01/10/24       Page 117 of 141




   I. On October 7, 2022, Mr. Duncan submitted a written medical request informing the

      Bartow County Jail staff and medical team that he had blurry vision, and that his eyes

      were burning and he looked like he had busted blood vessels in them. Nurse Bankston

      responded on the same day in writing with "The medical provider started you on

      antibiotic eye drops. You can use them twice daily at the pill cart."

   J. On October 17, 2022, Mr. Duncan submitted a written medical request informing the

      Bartow County Jail staffand medical team that he believed his blood pressure medication

      was causing severe chest pains so he stopped taking it and then when he started taking it

      again, the severe chest pain returned. He said his pain was not as bad when he was not

      taking the blood pressure medication. He further informed them that he did need to take

      blood pressure medication but that he wanted to change medications because ofthis. He

      also asked when his provider appointment was to take place. Nurse Bankston responded

      on the same day in writing with "I've got you down for more vital sign checks this week,

      scheduled to see the medical provider and you have a chronic care appointment coming

      up as well."

   K. On October 18,2022,LPN Rebecca Hamilton documented in Mr. Duncan's medical file

      that he returned to medical at 11:34 complaining of chest pain. His BP was noted to be

      209/124 with manual reading of 196/122. She noted that he refused to take his Norvasc

      and stated that it made his chest hurt. She notified the provider and received orders to

      perform an EKG and that pt was on OBS in infirmary.

   L. On October 18,2022,LPN Rebecca Hamilton documented in Mr. Duncan's medical file

      that he returned to medical at 12:28 and had decreasing blood pressure, and reported no




                                              7
Case 4:24-cv-00012-WMR           Document 1-1         Filed 01/10/24       Page 118 of 141




       chest pain at the time. She indicated he wanted to go back to the dorm. She advised Mr.

       Duncan to notify medical if issues persist or worsen.

    M. On October 18, 2022, LPN Christina Catron documented in Mr. Duncan's medical file

       that he returned to medical at 22:00 with complaints of chest pain and that he was

       complaining about his medication. BP 186/122 103. She further noted that he "agreed

       to take the Norvasc 10MG x 1 dose and Pepcid 20MG x 1 dose" and that she performed

       an EKG and called the results into the on-call provider who informed her that he should

       go to the ER for evaluation.

    N. On October 19, 2022 at 21:39, LPN Sheila Williams documented the following in Mr.

       Duncan's medical file: Inmate came back to medical with do chest pain burning, walked

       in steady gait no guarding of arm or clinching of chest V/S were assessed 196/125,18,

       97.4, 110,100 %, then, v/s were taken manually 200/110 and call placed to Mika NP

       informed her of inmates condition and complaint ,New orders for Norvasc 10 mg po,

       and nitro si and inmate is noncompliant with medications and states that he don't take

       them because his chest hurts if he takes them and ifhe don't take them. We informed him

       that the Dr. has ordered him medications, he states that he is not taking them he wants to

       go to the hospital, and if we don't send him to the hospital he will call his wife and tell

       her to call 911 to take. Inmate continued to yell and holler at the officer, and nurses that

       we are going to let him die. Inmate stormed out of medical cursing that he will not take

       his medication and his wife will call 911 for him.

   0. On October 19, 2022, Mr. Duncan was transported to Piedmont Cartersville Medical

       Center where he was diagnosed with acute ST elevation myocardial infarction(STEW)

       due to 100% occlusion of mid portion of left anterior descending(LAD)coronary artery



                                               8
Case 4:24-cv-00012-WMR          Document 1-1         Filed 01/10/24      Page 119 of 141




     (HC). He received a stent and subsequently experienced a non-ST elevated myocardial

      infarction)(HC)(NSTEMI)on October 20, 2022. Further evaluation revealed ischemic

      cardiomyopathy, Ejection Fraction of 20-34%. Medical therapy was initiated for

      treatment of coronary artery disease and ischemic cardiomyopathy. Orders were placed

      for Life Vest (external wearable defibrillator vest) but he did not receive one before he

      was discharged from Cartersville Medical Center on October 21, 2022 and was ordered

      to report back to Bartow County Jail.

   P. On October 24, 2022 LPN Patricia Lee at the Bartow County Jail documented in Mr.

      Duncan's medical file that he had returned from the hospital and that he needed a Life

      Vest.

   Q. On October 25, 2022 Mr. Duncan reported to the Bartow County Jail infirmary with

      shortness of breath. He was seen by Christina Catron, LPN. He informed her he was

      going to lay down and try to rest. He was returned to Med 4.

   R. On October 28, 2022, NP Kelly Kurtz documented: Infirmary pt s/p hospital visit MI

      with stent placement supposed to get a life vest. Nurse Kurtz further noted: Needs

      cardiology consult life vest in the works get all medical records from last hospital

      stay...s/p MI with stents, life vest and cardiology get records from hospital. Fu MD in

      14 week.

   S. On November 9, 2022, Phillip Nowlin, MD documented: CCC HTN MI, was in the

      hospital. He got out of the hospital 10-23-22. It was recommended that he have a life

      vest.

   T. On November 12,2022, Mr. Duncan was sent to the Emergency Department at Piedmont

      Cartersville Hospital. LPN Jennifer Pulido documented that his roommate notified her
Case 4:24-cv-00012-WMR             Document 1-1         Filed 01/10/24      Page 120 of 141




         that Mr. Duncan had fallen when he stood up. When Nurse Pulido arrived in his room,

         he was sitting on the bed, diaphoretic and pale. BP 73/53, 54, 95%,97.1. She notified

         security to contact EMS for transport to Piedmont Cartersville Hospital. She contacted

         S. Hatfield for orders.

     U. On November 13, 2022 at 8:00, LPN Jennifer Pulido documented that she contacted

         Piedmont Cartersville and spoke to a nurse in the ER who informed Nurse Pulido that

         Mr. Duncan was still I the ER but would be transferred to a room for admission as soon

         as one was available. The doctor had not seen him that morning.

     V. On November 13, 2022 at 8:00, LPN Patricia Lee documented that Mr. Duncan was to

         be admitted to Cartersville Medical Center for possible heart failure. He was readmitted

         to Piedmont Cartersville Medical Center for evaluation of syncope. He was discharged

         on November 15, 2022 with the following diagnoses: vasovagal syncope; transient

         hypotension; volume depletion; coronary disease status post stent; chronic combined

         systolic and diastolic heart failure with an Ejection Fraction of 30-35%.



                                                 1 1.

     Based on my education, training, experience and the facts contained in the records I

reviewed, it is my opinion that Bartow County and Correct Health and their nurses, nurses' aides,

nurse practitioners, medical doctors and other staff involved in the care of Mr. Duncan, violated

the standard of care and failed to exercise that degree of care and skill ordinarily exercised by

medical professionals in the correctional health environment generally under the same or similar

conditions and like surrounding circumstances in the care and treatment of Mr. Duncan.




                                                10
 Case 4:24-cv-00012-WMR              Document 1-1         Filed 01/10/24      Page 121 of 141




                                                  12.

     Based upon my review of the medical records and materials described above, and my

education,training, and expertise, it is my professional opinion that the applicable standard ofcare

required the Bartow County and Correct Health staff to monitor, supervise, and care for residents

ofthe correctional facility, including Mr. Duncan.



                                                  13.

      More specifically, it is my opinion that the standard of care required Bartow County and

Correct Health and their nurses, nurses' aides, nurse practitioners, medical doctors and other staff

and medical professionals involved in the care of Mr. Duncan to:

    A. Diagnose Mr."Duncan as having an evolving cardiac problem;

    B. Properly evaluate Mr. Duncan's changing condition;

   C. Properly assess and evaluate Mr. Duncan as having a heart attack and/or being at increased

       risk of having a heart attack;

    D. Promptly report signs and symptoms of an emerging cardiac condition to a cardiologist;

    E. Promptly, but no later than September 1, 2022 when Mr. Duncan reported experiencing

       chest pain and shortness of breath,refer him to a cardiologist for cardiac workup to properly

       evaluate his emerging cardiac condition; and

    F. Immediately procure a Life Vest for Mr. Duncan upon his return to Bartow County Jail

       from Cartersville Medical Center.



                                                  14.




                                                 ii
Case 4:24-cv-00012-WMR             Document 1-1        Filed 01/10/24      Page 122 of 141




     It is my opinion, based on my education, training, experience, and my review of the

aforementioned records, that Bartow County and Correct Health and their nurses, nurses' aides,

nurse practitioners, medical doctors and other staffand medical professionals involved in the care

of Mr. Duncan violated the standard ofcare for nurses, nurses' aides, nurse practitioners, medical

doctors and other staffinvolved in the care and treatment of Mr. Duncan in at least the following

manners:

   G. Failing to diagnose Mr. Duncan as having an evolving cardiac problem;

   H. Failing to properly evaluate Mr. Duncan's changing condition;

   I. Failing to properly assess and evaluate Mr. Duncan as having a heart attack and/or being

       at increased risk of having a heart attack;

    J. Failing to promptly report signs and symptoms of an emerging cardiac condition to a

       cardiologist;

    K. Failing to promptly, but no later than September 1, 2022 when Mr. Duncan reported

       experiencing chest pain and shortness of breath, refer him to a cardiologist for cardiac

       workup to properly evaluate his emerging cardiac condition;

    L. Failing to seek and/or obtain timely review of Mr. Duncan's signs and symptoms by a

       cardiologist;

    M. Allowing Mr. Duncan's evolving cardiac condition to be untreated for weeks without

       proper intervention and treatment;

    N. Failing to provide timely and proper cardiac intervention to Mr.Duncan;

   0. Failing to immediately procure a Life Vest for Mr. Duncan upon his return to Bartow

       County Jail from Cartersville Medical Center.




                                                 12
  Case 4:24-cv-00012-WMR            Document 1-1        Filed 01/10/24       Page 123 of 141




                                                 15.

     It is my opinion that the failure of Bartow County and Correct Health and their nurses,

nurses' aides, nurse practitioners, medical doctors and other staff and medical professionals

involved in the care of Mr. Duncan's care to adhere to the standard of care as outlined above

resulted in significant injuries and pain and suffering to Mr. Duncan. Had they adhered to the

standard of care as outlined above, Mr. Duncan would not have experienced his heart attacks and

would not have suffered the severe heart damage that he did.



                                                  16.

       This Affidavit is not intended to provide an exhaustive listing of all ofthe opinions which

I may have concerning the matters at issue in the case and I reserve the right to express additional

opinions based on any additional information which may come to my attention as the case

proceeds. The opinions expressed herein are not intended to and should not be construed to

foreclose or exclude opinions that other negligent acts or omissions and regulatory/statutory

violations may have also occurred or contributed to Mr. Duncan's outcome, but rather is given to

meet the limited requirements of0.C.G.A. §9-11-9.1 to set forth at least one act of negligence for

the Defendants in question.



FURTHER AFFIANT SAYETH NAUGHT.




                                                 13
 Case 4:24-cv-00012-WMR             Document 1-1           Filed 01/10/24           Page 124 of 141




I certify under penalty of law that the foregoing is true and correct.

Signed, this   . -t)    day of           ,2023.



                                                EMIL A. DAMEFF,M.D., CC



SWORN TO AND SUBSCRIBED before me this50 day of                            \__Q_            ,2023.



                                                                                           ,
                                                       11.01...lbAlholikamigh•abigh"4"-alwa"
                                                                         MINERVA GONZALEZ
                                                       I .4'.• V \ Notary Public - State of Florida
                                        seal}          1 ,a      .
                                                                 , Commission # HH 035819           k
                                                       4    or 4:" My Comm. Expires Dec 19, 2024 P
                                                           _ _ Bonded tilrofh_N_ationtNolary_Asr. !
                                                       1




                                                  14
Case 4:24-cv-00012-WMR              Document 1-1   Filed 01/10/24   Page 125 of 141




         EXHIBIT 3
                     To Complaint
  Case 4:24-cv-00012-WMR             Document 1-1       Filed 01/10/24      Page 126 of 141




STATE OF GEORGIA

COUNTY OF FULTON

                    AFFIDAVIT OF JOSHUA M WILLIS,MD,FACC,FSCAI

     I, Joshua M Willis, MD,FACC,FSCAI, personally appeared before the undersigned officer

duly authorized to administer oaths in the State of Georgia, who having been duly sworn, depose

and state as follows:

                                                 1.

     My name is Joshua M Willis, MD,FACC,FSCAI. I am over the age oftwenty-one years, I

suffer from no legal disabilities, and I make this Affidavit under oath based upon my own personal

knowledge and review of the medical records of James John Duncan ("Mr. Duncan"), as well as

my own professional knowledge, education, training, and experience outlined in my CV,attached

hereto and incorporated herein by reference as Exhibit A.I am competent in all respects to testify

regarding the matters set forth herein.



                                                 2.

     I graduated with a medical degree from the Howard University College of Medicine in 2002.

I completed my Internal Medicine Residency at Tulane University in 2005, a Cleveland Clinic

General Cardiovascular Disease Fellowship in 2010, and a University of Florida Interventional

Cardiology Fellowship in 2011. I have been continuously board certified by the American Board

of Internal Medicine in the disciplines of General Cardiovascular Disease and Interventional

Cardiology since 2010 and 2011, respectively. I have been continuously licensed by the

appropriate regulatory agency as a physician to practice medicine since 2002 and have been

specifically licensed to practice medicine in Georgia since 2011 (License No. 66373). I am
  Case 4:24-cv-00012-WMR             Document 1-1        Filed 01/10/24       Page 127 of 141




actively engaged in private practice that includes rendering care and treatment to patients at

Wellstar Douglas Hospital, where I have been regularly and actively working full time as an

Interventional Cardiologist and the Medical Director since 2016. As a part of my regular daily

responsibilities, I not only spend approximately 90% of my time engaged in my own clinical

practice caring for cardiac patients, but I also supervise and oversee the clinical practice of other

doctors as well as nursing professionals, including but not limited to registered nurses, licensed

practical nurses, and nurse practitioners.



                                                  3.

     I have actual professional knowledge and experience in the area of practice in which my

opinions are given as a result of having been regularly engaged in the active practice of

interventional cardiology since beginning my General Cardiology Fellowship in 2007.

Furthermore, for greater than three ofthe last five years prior to the negligence described below,I

have been engaged in the active practice of interventional cardiology in Georgia. I have been

actively and regularly involved in diagnosing, assessing, planning for care, and treating cardiac

patients who suffer from the same or similar medical conditions as Mr. Duncan while an inmate

in the Bartow County Jail.



                                                  4.

     From my background, training, and experience in the care and treatment of patients, I am

familiar with the standards of care applicable to patients similar to Mr. Duncan. Additionally, as

a member of the interdisciplinary care team, I have regularly supervised ,and instructed other

doctors as well as nursing professionals, including but not limited to registered nurses, licensed



                                                 2
  Case 4:24-cv-00012-WMR             Document 1-1        Filed 01/10/24      Page 128 of 141




practical nurses, and nurse practitioners, in providing care and services to patients in need of

cardiac-related medical care and treatment.



                                                  5.

     Based on my education, training and experience I am familiar with that degree of care and

skill ordinarily exercised by nurses, nurses' aides, certified nursing assistants, registered nurses,

licensed practical nurses, nurse practitioners, medical doctors, and others under similar conditions

and like surrounding circumstances to those considered in this Affidavit. More specifically, I have

actual professional knowledge and experience in connection with caring for patients with the

medical conditions and diagnoses experienced by Mr. Duncan with sufficient frequency to

establish an appropriate level of knowledge described in this Affidavit. I am competent to give the

opinions contained in this Affidavit.



                                                  6.

     In forming my opinions rendered in this Affidavit, I have relied, in part, on the following

medical literature found in the PubMed search engine:

                        Blood pressure control andprimary prevention ofstroke:Summary of
       Reference 1      the recent clinical trial data and meta- analyses Curr Hypertens Rep.
                        2013; 15(6): 559-574. Published online 2013 Oct 25. doi: 10.1007/
                        s11906-013-0401-0 Pub Med ID 24158454

                        Assessment ofCardiovascular Disease Risk:A 2022 Update
       Reference 2
                        Endocrinol Metab Clin North Am 2022 Sep;51 (3):483-509 PMID
                        35963625

                        Withdrawal ofpharmacological treatmentfor heartfailure in patients
       Reference 3      with recovered dilated cardiomyopathy(TRED-HF): an open-label,
                        pilot, randomised trial Lancet 2019 Jan 5;393(10166):61-73 PMID:
                        30429050



                                                 3
  Case 4:24-cv-00012-WMR            Document 1-1        Filed 01/10/24      Page 129 of 141




                       2013 ACCF/AHA guidelinefor the management ofheartfailure: a
       Reference 4     report ofthe
                       American College ofCardiology Foundation/American Heart
                       Association Task Force on Practice Guidelines PMID: 23747642


                                                 7.

     In connection with providing my opinions in this Affidavit, I have reviewed the following

medical records of Mr. Duncan in formulating my opinion:

     A. Correct Health Records(August through November 2022)

     B. Piedmont Cartersville Hospital Medical Records(August through November 2022)

     C. Metro Atlanta Ambulance Service Records

     D. Harbin Clinic Records



                                                 8.

     Each of the opinions that I express herein are given to a reasonable degree of medical

certainty.



                                                 9.

      As the factual basis for my opinions herein, based upon my review ofthe foregoing medical

records,I have assumed the facts contained in this Affidavit to be true.



                                                 10.

     The following is a brief overview of pertinent events that occurred in this matter:

      A. James Duncan is a 45 yr old gentleman with the following CAD risk factors:

             1. Hypertension-poorly controlled

                                                4
  Case 4:24-cv-00012-WMR                  Document 1-1           Filed 01/10/24          Page 130 of 141




               9. Active tobacco abuse greater than 20 pack year history

               3. Premature Family Hx of Coronary Artery Disease(CAD)

               4. Father-CAD in his 50's

               5. Grandfather CAD in his 40's

               6. Dyslipidemia(bad cholesterol)-untreated

               7. Prior recreational Methamphetamine use

      B. James was in his usual state of health until August 31,2022 when he began complaining

          of chest pain and shortness of breath by way of written correspondence to the Bartow

          County Jail Nursing staff. He sent five messages in total, all with complaints of chest

          pain that was occurring with increasing frequency and severity. Despite his multiple

          CAD risk factors,the only work up that was performed was a 12 lead ECG on September

           1, 2022. Unfortunately his chest pain continued to progress. On October 19th, when his

          chest pain was not being addressed he requested that his wife call 911. He was transported

          to Piedmont Cartersville Medical Center where he was diagnosed with an anterior

          STEMI and subsequent ischemic cardiomyopathy.

      C. Below are the nursing notes documenting his worsening chest pain and the timeline of

          response taken directly from the Correct Health Records:



               1.

Issue ID: 29095688 LastStatus:

Last Assigned to:

Medical



 These portions have been copied and pasted verbatim (including misspellings) directly from the medical records.

                                                        5
 Case 4:24-cv-00012-WMR            Document 1-1        Filed 01/10/24      Page 131 of 141




For 291580: JAMES DUNCAN ZPASS PASS 01 on 8/31/2022 3:49:26 PM Dates and Times are

presented in Eastern Time(US &Canada)

Closed by Nurse Bankston on 9/1/2022 4:09:20 PM None on 9/1/2022 4:09:19 PM

been haveing chest pains short breth today

Submitted by291580: JAMES DUNCAN ZPASS PASS 01 on 8/31/2022 3:49:26PM

Seen in medical today. I have you scheduled to follow up with our medical provider next week.
Please continue taking medications as prescribed and notify staff fi symptoms begin again

Responded by Nurse Bankston on 9/1/2022 4:09:19 PM


            2.

Issue ID: 29338529 Last Status:

Last Assigned to:

Medical

For 291580: JAMES DUNCAN ZPASSPASS 01 on 9/22/2022 8:20:44 PM Dates and Times are
presented ni Eastern Time(US &Canada)

Closed by Nurse Joseph on 9/23/2022 11:18:01 AM None on 9/23/2022 11:17:59 AM

i've been getting random chest pain and numness in my left arm the pain woke me up out of my
sleep,and i couldnt feel my hand i have been to medical 2 times and have been asured that its not
a heart problem ether way i havent been told what the problem is amd it shouldnt be acurring i
dont want to have someting happen to me that could have been provented sincerly james Duncan


Submitted by291580: JAMES DUNCAN ZPASS PASS 01 on 9/22/2022 8:20:44 PM

you are on pain med and you have a chronic care clinic visit scheduled to see the doctor.
Responded by Nurse Josephon 9/23/2022 11:17:59 AM


             3.

Issue ID: 29415805 Last Status:

Last Assigned to:


                                                6
  Case 4:24-cv-00012-WMR             Document 1-1        Filed 01/10/24      Page 132 of 141




Grievance — Medical

For 291580:JAMES DUNCAN ZPASSPASSO1 on 9/29/2022 4:05:33 PM Dates and Times are

presented ni Eastern Time(US &Canada)Closed by Nurse Joseph on 9/29/2022 5:02:22 PM None

on 9/29/2022 5:02:20 PM

been having chest pains dont know why cant get this problum adressed sorry for any inconvenience

Submitted by 291580: JAMES DUNCAN ZPASS PASS 01 on 9/29/2022 4:05:33 PM

you have labs ordered and you have a chronic care visit scheduled with a doctor. explain the chest
pains more in detail, what is it that you are wanting? If you feel ti is heart attack, then tell the
tower. Do you need to be in medical? you have been caught hoarding meds. you are in your 40's
and on a few meds,do not be laying down after eating. get some activity in. Let the tower know fi
you are just hurting so bad that you cannot wait until the scheduled doctor's visit.

Rejected by Nurse Joseph on 9/29/2022 5:02:20 PM

Medical

For291580:JAMES DUNCAN ZPASS PASS 01 on 10/4/2022 2:50:10 PM Dates and Times are

presented in Eastern Time(US &Canada)



             4.

Issue ID: 29468838

Last Status: Closed by 291580: JAMES DUNCAN on 10/5/2022 2:30:22 PM

Last Assigned to: None on 10/5/2022 6:54:14 AM

i think we might need to change my bp med i think thats why my chest herts Submitted by 291580:

JAMES DUNCAN ZPASS PASS 01 on 10/4/2022 2:50:11 PM you only take it 42 % ofthe time.

I wil place you on BP checks for a couple days Final Response by Nurse Shirley on 10/5/2022

6:54:14 AM




                                                 7
  Case 4:24-cv-00012-WMR             Document 1-1        Filed 01/10/24       Page 133 of 141




             5.

Nursing Progress Note

DOB:5/24/1977(45y) Location:

Date: 10/19/2022 Type of Note: Progress Note

Progress Note

Notes:

Time :21:39

Inmate came back to medical with do chest pain burning ,walked insteady gait no guarding ofarm
or clinching of chest V/S were assessed 196/125, 18.97.4, 110.100 %, then.v /s were taken
manually 200/110 and call olaced to MikaN P informed her of inmates condition and complaint.
New orders for Norvasc 10 mg po, and nitro sI and inmate is noncompliant with medications and
states that he don't take them because his crest hurts it he lakes them and it he don't take them. We
informed him that the Dr. has ordered him medications, he states that he is not taking them he
wants to go to the hospital, andif we don't send him to the hospital he wil call his wife and tell her
to call 911 to take. Inmate continued to yell and holler at the officer, and nurses that we are going
to let him die . Inmate stormed out of medical cursing that he will not take his medication and his
wife will call 911 for him.

Follow-up Needed:

NO ANSWER PROVIDED

User Name

WILLIAMS,SHEILA,LPN

Save Log

Nursing Progress Note Progress Note for use by nursing stat

Patient Name: DUNCAN,JAMES JOHN Patient Number. 291580

Location:

DOB: 5/24/1977

Facility. BARTOW COUNTY JAIL

Electronically Signed By WILLIAMS,SHEILA,L P on 10/19/2022 22:13:03


                                                  8
 Case 4:24-cv-00012-WMR              Document 1-1      Filed 01/10/24      Page 134 of 141




AuditDateAndTime 10/19/2022 22:13:03




    D. On October 19, 2022 his wife activated EMS for evaluation of his chest discomfort.

        Twelve lead ECG revealed: Normal Sinus Rhythm, normal QRS axis, ST segment

        elevation consistent with anterior ST segment elevation myocardial infarction.

    E. He was transported to Piedmont Cartersville Medical Center for Emergency Cardiac

        Catheterization and primary PCI(stent placement for heart attack treatment).

    F. Dr Chizner performed emergent left heart catheterization (LHC) via right radial

        approach. Culprit vessel was the LAD 100% occluded reduced to 0% following

        percutaneous coronary intervention (PCI-opening the artery with balloon and stents,

        entering the blood vessel system at the wrist). Overnight he developed more chest

        discomfort and ventricular tachycardia(abnormal heart rate from the bottom half of his

        heart that is potentially fatal).

    G. Initial cardiac catheterization revealed another flow limiting lesion in the RCA,

        scheduled to be treated in a couple of days. Given the unexpected chest pain and heart

        rhythm disturbance, angiography ofthe left system was performed. It confirmed patency

        ofthe stent in the LAD placed for treatment of his heart attack. The right coronary artery

      (RCA)was treated at that time with balloon pre dilatation followed by stent placement.

    H. Subsequent evaluation revealed ischemic cardiomyopathy, Ejection Fraction of 20-35%

       (severely weakened heart placing him at high risk of sudden cardiac death).

    I. Guideline directed medical therapy was initiated for treatment ofcoronary artery disease

        and ischemic cardiomyopathy. Orders were placed for Life Vest (external wearable


                                               9
 Case 4:24-cv-00012-WMR              Document 1-1         Filed 01/10/24     Page 135 of 141




         defibrillator vest) given his risk of sudden cardiac death. Unfortunately, he did not

         receive the LifeVest.

     J. He was re-admitted to the hospital on November 12,2022 for evaluation of syncope. No

         sinister etiology was discovered, i.e. no evidence of ventricular arrhythmia and aborted

         sudden cardiac death. He was managed conservatively. LifeVest was re-ordered but not

         fitted prior to discharge back to jail.



                            Discussion and Interpretation of Medial Records

                                                   11.

     James John Duncan suffered an acute anterior wall myocardial infarction(heart attack) after

complaining ofstuttering chest discomfort from August 31,2022 until his wife activated EMS and

had him picked up from the Bartow County Jail.on October 19th.



                                                   12.

     James has several modifiable risk factors predisposing him to heart attack including:

             1. Poorly treated Hypertension

             2. Dyslipidemia

             3. Tobacco abuse



                                                    13.

     On several occasions he endorsed chest discomfort when taking Norvasc, however, this

medication was not transitioned to another class ofantihypertensive,e.g. diuretic, beta blocker etc.




                                                   10
  Case 4:24-cv-00012-WMR             Document 1-1         Filed 01/10/24      Page 136 of 141




His blood pressure is poorly controlled on several encounters, with the highest being 209/124 on

10/18/2022 at 11:34 PM. This is the day prior to his anterior wall myocardial infarction.



                                                   14.

      Hypertension has a strong causal relationship to major adverse cardiovascular events, i.e.

stroke, heart attack and cardiovascular related death. For every 20 point increase in systolic blood.

pressure or 10 point increase in diastolic blood pressure above 115/75 mm Hg, heart attack and

stroke risk double.(Reference 1)The chest pain visit on 11/18/22, his blood pressure was 196/125

mm Hg, repeat measurement 200/110 mm Hg, consistent with increased risk of 16-32 times

normal.



                                                  15.

     Dyslipidemia was diagnosed during the time ofhis incarceration. Based on the ASCVD risk

calculator, his 10 year risk for heart disease or stroke was 11.7%. Optimal risk factor management

would reduce this risk to 1.2%.(Reference 2)The recommendation based on risk is for moderate

to high intensity statin for risk reduction of major adverse cardiovascular events. Statin medication

was never started.



                                                  16.

      Smoking cessation was not addressed in any clinical documentation.




                                                 11
 Case 4:24-cv-00012-WMR            Document 1-1       Filed 01/10/24      Page 137 of 141




                                                17.

     James had several visits with the medical staff spanning August to October with complaints

of chest pain. On September 1st, 2022 at 15:38 he endorsed substernal, intermittent chest pain,

characterized as aching, associated with dyspnea, sudden onset following climbing a flight of

stairs. ECG was obtained,interpreted as Normal Sinus Rhythm,physical examination documented

as normal heart and lung exam. No further evaluation was undertaken.



                                                18.

     He continued to complain of chest pain on 9/22/22,9/29/22 and 10/5/2022 going so far as to

relay that he knows ,something is wrong and he does not want anything to happen that is

preventable.



                                                19.

     Despite his complaints consistent with accelerating angina, no further evaluation was

performed. In alignment with recommendations of ACC, stress testing and transthoracic

echocardiography should have been performed for risk stratification and mitigation. Not only was

no further testing performed,he had to have a family member activate emergency medical services

on his behalf when his continued complaints of chest discomfort were repeatedly ignored.



                                               20.

     On October 19th he was hospitalized for acute anterior wall myocardial infarction.

Multivessel coronary artery disease was discovered and appropriately managed by Dr Chizner -

PCI ofthe LAD and staged PCI ofthe RCA.Unfortunately, the damage was already done.



                                               12
   Case 4:24-cv-00012-WMR            Document 1-1       Filed 01/10/24     Page 138 of 141




                                                  21.

      His Ejection Fraction (EF) following primary PCI (heart attack treatment with stent

placement) was less than 35% (normal is 50-60%). This finding carries significant implications,

see below.

      A. Heart Failure carries a 5 year, 50% mortality penalty for all corners, i.e. he has a 50%

         risk of dying in the next five years.

      B. He is at high risk for sudden cardiac death-if his EF does not improve to >35% within 90

         days of his heart attack, he will be referred for Implantable Cardioverter Defibrillator

        (ICD)for primary prevention ofsudden cardiac death as per Al-IA guidelines, see below:

             Class I

             1. ICD therapy is recommended for primary prevention of SCD to reduce total
                mortality in selected patients with non- ischemic DCM or ischemic heart disease
                at least 40 days post-MI with LVEF of 35% or less and NYHA class II or III
                symptoms on chronic GDMT, who have reasonable expectation of meaningful
                survival for more than 1 year(355,593).(Level of Evidence: A)(Reference 4)

      C. He requires Guideline Directed Medical Therapy consisting of Beta Blocker,

         Mineralocorticoid antagonist, ACE/ARB or ARNI and SGLT 2 inhibitor with the goal

         of increasing his Ejection Fraction. These therapies will have to be continued

         indefinitely. We know from trial data that discontinuation of these meds results in

         recurrence of cardiomyopathy.




        Many patients deemed to have recovered from dilated cardiomyopathy will relapse

following treatment withdrawal. Until robustpredictors ofrelapse are defined, treatment should

continue indefinitely.(Reference 3)



                                                 13
 Case 4:24-cv-00012-WMR            Document 1-1        Filed 01/10/24     Page 139 of 141




                                                23.

       In short, James John Duncan had complaints of accelerating angina that went

unrecognized and untreated while he was incarcerated, despite his complaints on multiple

occasionsfrom August to October of2022. Despite being clearly indicated, riskfactor reduction

andfurther testing, i.e. stress testing, echocardiography, to establish his risk profile were not

performed Even on the day ofhis myocardial infarction, he had to have his wife call 91110 pick

him up from jail and transport him to Piedmont Cartersville Medical Center when his

complaints ofchest pain were ignored The end result is that he suffered a heart attack that

severely damaged his heart, potentially shortening his lifespan and relegating him to taking

guideline directed medical therapyfor the rest ofhis life. Furthermore, he may have to undergo

an additional surgical procedure, i.e. ICD implantation for primary prevention of sudden

cardiac death.



                                                24.

        With a reasonable degree ofmedical certainty,I can say that the standard ofcare was

breached and that the breach is causally related to his heart attack and subsequent ischemic

cardiomyopathy. These events could have been prevented had the standard of care not been

violated.



                                                 25.

FINAL OPINIONS:

   A. I am familiar with the standard ofcare for patients like this.



                                                14
  Case 4:24-cv-00012-WMR             Document 1-1        Filed 01/10/24     Page 140 of 141




   B. Based on my education, training, experience and the facts contained in the records I

       reviewed, it is my opinion that the following medical providers fell below the applicable

       standard of care: Madison Bankston, LPN,Nurse Joseph, Nurse Shirley, Sheila Williams,

       LPN,Philip Nolan, MD and other supervising physicians.

   C. The specific care that fell below the applicable standard of care is outlined above and

       herein.

     D. As a direct result of that medical negligence, Mr James John Duncan suffered a heart

         attack and subsequent heart damage requiring lifelong medical therapy and potentially a

         significant reduction in life expectancy and quality of life.

     E. It is more likely than not had Mr James John Duncan been provided care that met the

         applicable standard of care he would not have suffered a myocardial infarction and

         ischemic cardiom    4thyt
                          '           •., •
     F. All of my opiniansliereii4 are'with a reasonable degree of medical certainty



                                                  26.

     This Affidavit is not intended to provide an exhaustive listing of all of the opinions which I

may have concerning the matters at issue in the case and I reserve the right to express additional

opinions based on any additional information which may come to my attention as the case

proceeds. The opinions expressed herein are not intended to and should not be construed to

foreclose or exclude opinions that other negligent acts or omissions and regulatory/statutory

violations may have also occurred or contributed to Mr. Duncan's outcome, but rather is given to

meet the lirnitpd requirements of0.C.G.A. §9-11-9.1 to set forth at least one act of negligence for

the Defendants in question.



                                                 15
  Case 4:24-cv-00012-WMR            Document 1-1         Filed 01/10/24          Page 141 of 141




FURTHER AFFIANT SAYETH NAUGHT.



I certify under penalty oflaw that the foregoing is true and correct.

Signed,this                    ,Le ,2023.
                       day ogi„)

                                               JO                 LIS, MD,PACC;f4
                                                                                3e-isil



                                          --x)ri
SWORN TO AND SUBSCRIBED before me this d #- day of                                  ,2023.


9                                                14biGOA.EXR ••:.%
NOTARY jtiiC                          [seal]    R4i OTAR,             11 •
                                                1 . : Itex.41.0
                                                1". .
                                                \     et III
                                                          AU80° •er
                                                    1
                                                   %:•..     Ap,030,21ny/Ar 4'
                                                     -RS.' '          49,ft•
                                                           iminfunitaVO




                                                 16
